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                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                  MDL No. 2804
 OPIATE LITIGATION
                                               Case No. 1:17-md-2804
 This document relates to:
                                               Judge Dan Aaron Polster
 County of Trumbull, Ohio v. Purdue Pharma,
 L.P. et al., Case No. 18-op-45079;

 The County of Lake, Ohio v. Purdue
 Pharma L.P., et al.,
 Case No. 18-op-45032



   CASE TRACK THREE PLAINTIFFS’ MOTION FOR LEAVE TO FILE AMENDED COMPLAINTS

                                      EXHIBIT B


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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of May, 2020, I electronically filed the
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counsel of record via email.

                                                /s/Linda Singer
                                                Linda Singer




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION               MDL No. 2804
 OPIATE LITIGATION
                                           Case No. 17-md-2804
 This document relates to:
 Case No. 18-op-45079                      Judge Dan Aaron Polster

 THE COUNTY OF LAKE,


                             Plaintiff,
                                        SUPPLEMENTAL AND AMENDED
                                        ALLEGATIONS TO BE ADDED TO
       vs.
                                        “SHORT FORM FOR
                                        SUPPLEMENTING COMPLAINT AND
 CVS HEALTH CORPORATION; CVS
                                        AMENDING DEFENDANTS AND JURY
 INDIANA L.L.C.; CVS RX SERVICES, INC.;
                                        DEMAND”
 CVS TN DISTRIBUTION, LLC; CVS
 PHARMACY, INC.; OMNICARE
 DISTRIBUTION CENTER LLC; OHIO CVS
 STORES, LLC; WALGREEN CO.;
 WALGREENS BOOTS ALLIANCE, INC.;
 WALGREEN EASTERN CO., INC.; RITE
 AID CORP.; RITE AID HDQTRS. CORP.;
 ECKERD CORPORATION D/B/A RITE AID
 LIVERPOOL DISTRIBUTION CENTER;
 RITE AID OF OHIO, INC.; RITE AID OF
 MARYLAND, INC.; HBC SERVICE
 COMPANY; GIANT EAGLE, INC.;
 WALMART INC. F/K/A WAL-MART
 STORES, INC.; WAL-MART STORES
 EAST, LP; WSE MANAGEMENT, LLC;
 WSE INVESTMENT LLC; AND WAL-
 MART STORES EAST, INC.,

                             Defendants.
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       1.      Plaintiff the County of Lake, Ohio (the “County” or “Plaintiff”) brings this action

to prevent future harm and to redress past wrongs, against Defendants: CVS Health Corporation;

CVS Indiana L.L.C.; CVS Rx Services, Inc.; CVS TN Distribution, LLC; CVS Pharmacy, Inc.;

Ohio CVS Stores, LLC; Walgreen Co.; Walgreens Boots Alliance, Inc.; Walgreen Eastern Co.,

Inc.; Rite Aid Corp.; Rite Aid Hdqtrs. Corp.; Rite Aid of Ohio, Inc.; Eckerd Corporation d/b/a Rite

Aid Liverpool Distribution Center; Rite Aid of Maryland, Inc.; HBC Service Company; Giant

Eagle, Inc.; Walmart Inc. f/k/a Wal-Mart Stores, Inc., and Management, LLC; WSE Investment

LLC; and Wal-Mart Stores East, Inc. (collectively, the “Chain Pharmacies” or “Defendants”).1

Plaintiff seeks to hold accountable the Chain Pharmacies that reaped enormous financial rewards

by refusing to monitor and restrict the improper sale and distribution of opioids and abate the

opioid epidemic in the County.2

[IN ADDITION TO THE ALLEGATIONS SET FORTH HEREIN, THE COUNTY

EXPRESSLY ADOPTS AND INCORPORATES BY REFERENCE THE ALLEGATIONS AND

CLAIMS SET FORTH IN ITS COMPLAINT AND “SHORT FORM FOR SUPPLEMENTING

COMPLAINT AND AMENDING DEFENDANTS AND JURY DEMAND,” (“SHORT FORM

COMPLAINT”) INCLUDING ALL CLAIMS AND ALLEGATIONS AGAINST OTHER

DEFENDANTS NAMED IN THAT SHORT FORM COMPLAINT.]



1
  Consistent with this Court’s direction in the Order Regarding Track Three (Doc. 3282), the
County understands that only claims against pharmacy defendants for public nuisance will proceed
in Track Three and is not adding any allegations against other defendants at this time. The County
reserves the right to amend such allegations in the future if the stay of claims against other parties
is lifted.
2
  The following are newly added Defendants: CVS Indiana L.L.C.; CVS Rx Services, Inc.; CVS
TN Distribution, LLC; CVS Pharmacy, Inc.; Ohio CVS Stores, LLC; Rite Aid Corp.; Rite Aid
Hdqtrs. Corp.; Rite Aid of Ohio, Inc.; Eckerd Corporation d/b/a Rite Aid Liverpool Distribution
Center; Rite Aid of Maryland, Inc.; Giant Eagle, Inc.; Walmart Inc. f/k/a Wal-Mart Stores, Inc.,
and Management, LLC; WSE Investment LLC; and Wal-Mart Stores East, Inc.


                                                  1
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                                       INTRODUCTION

       2.      This case arises from the worst man-made epidemic in modern medical history—

the misuse, abuse, and over-prescription of opioids.

       3.      By now, most Americans have been affected, either directly or indirectly, by the

opioid disaster. This crisis arose not only from the opioid manufacturers’ deliberate marketing

strategy, but from distributors’ and pharmacies’ equally deliberate efforts to evade restrictions on

opioid distribution and dispensing. These distributors and pharmacies acted without regard for the

lives that would be trammeled in pursuit of profit.

       4.      Since the push to expand prescription opioid use began in the late 1990s, the death

toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the United

States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015. In the twelve

months that ended in September 2017, opioid overdoses claimed 45,000 lives.

       5.      From 1999 through 2016, more than 350,000 people died from an overdose

involving any opioids. Well over half of those deaths—over 200,000 people—involved opioids

prescribed by doctors to treat pain. These opioids include brand-name prescription medications

like OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.

       6.      Most of the overdoses from non-prescription opioids are also directly related to

prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

painkillers—which, at the molecular level and in their effect, closely resemble heroin. In fact,

people who are addicted to prescription painkillers are 40 times more likely to become addicted to



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heroin, and the CDC identified addiction to prescription pain medication as the strongest risk factor

for heroin addiction.

       7.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded history.

Drug overdoses are now the leading cause of death for Americans under 50.

       8.      In the words of Robert Anderson, who oversees death statistics at the Centers for

Disease Control and Prevention, “I don’t think we’ve ever seen anything like this. Certainly not

in modern times.” On October 27, 2017, the President declared the opioid epidemic a public health

emergency.

       9.      This suit takes aim at a primary cause of the opioid crisis: a supply chain scheme,

pursuant to which distributors and pharmacies failed to design and operate systems to identify

suspicious orders of prescription opioids, maintain effective controls against diversion, and halt

suspicious orders when they were identified, and instead actively contributed to the oversupply of

such drugs and fueled an illegal secondary market.

       10.     Defendants have contributed substantially to the opioid crisis by selling and

distributing far greater quantities of prescription opioids than they know could be necessary for

legitimate medical uses, while failing to report, and to take steps to halt suspicious orders and

sales, thereby exacerbating the oversupply of such drugs and fueling an illegal secondary market.

       11.     In 2014, almost two million Americas were addicted to prescription opioids and

another 600,000 to heroin. From 1999 to 2015, more than 183,000 people died in the U.S. from

overdoses related to prescription opioids—more than the number of Americans who died in the

Vietnam War. From 1999 to 2016, more than 200,000 people died in the U.S. from overdoses




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related to prescription opioids. Overdose deaths involving prescription opioids were five times

higher in 2017 than 1999.

        12.     As millions became addicted to opioids, “pill mills,” often styled as “pain clinics,”

sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-medical use.

These pill mills, typically under the auspices of licensed medical professionals, issue high volumes

of opioid prescriptions under the guise of medical treatment. Prescription opioid pill mills and

rogue prescribers cannot channel opioids for illicit use without at least the tacit support and willful

blindness of the Defendants, if not their knowing support.

        13.     As a direct and foreseeable result of Defendants’ conduct, cities and counties across

the nation, including Plaintiffs, are now swept up in what the Centers for Disease Control (“CDC”)

has called a “public health epidemic” and what the U.S. Surgeon General has deemed an “urgent

health crisis.”3 The increased volume of opioid prescribing, not all of which is for legitimate use,

correlates directly to skyrocketing addiction, overdose and death; black markets for diverted

prescriptions opioids; and a concomitant rise in heroin and fentanyl abuse by individuals who

could no longer legally acquire or simply could not afford prescription opioids.

        14.     This explosion in opioid use and Defendants’ profits has come at the expense of

patients and residents and has caused ongoing harm and damages to Lake County. As the then

CDC director concluded: “We know of no other medication routinely used for a nonfatal condition

that kills patients so frequently.”4




3
  Examining the Growing Problems of Prescription Drug and Heroin Abuse, Ctrs. For Disease
Control and Prevention (Apr. 29, 2014),
http://www,cdc,give.washington/testimony/2014/t20140429.htm; see also, Letter from Vivek H.
Murthy, Surgeon General, Tide RX (Aug. 2016), http://turnthetiderx.org.
4
  Id.

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       15.     Defendants’ conduct in promoting opioid use, addiction, abuse, overdose and death

has had severe and far-reaching public health, social services, and criminal justice consequences,

including the fueling of addiction and overdose from illicit drugs such as heroin. The costs are

borne by Plaintiff and other governmental entities. These necessary and costly responses to the

opioid crisis include the handling of emergency responses to overdoses, providing addiction

treatment, handling opioid-related investigations, arrests, adjudications, and incarceration, treating

opioid-addicted newborns in neonatal intensive care units, burying the dead, and placing thousands

of children in foster care placements, among others.

       16.     The burdens imposed on Plaintiff are not the normal or typical burdens of

government programs and services. Rather, these are extraordinary costs and losses that are related

directly to Defendants’ illegal actions. The Defendants’ conduct has created a public nuisance and

a blight. Governmental entities, and the services they provide their citizens, have been strained to

the breaking point by this public health crisis.

       17.     Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis and perpetuate the public nuisance.

       18.     Within the next hour, six Americans will die from opioid overdoses; two babies

will be born addicted to opioids and begin to go through withdrawal.

       19.     Plaintiff brings this suit to bring the devastating march of this epidemic to a halt

and to hold Defendants responsible for the crisis they caused.

                                 JURISDICTION AND VENUE

       20.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

this action includes claims under the Racketeer Influenced and Corrupt Organizations Act

(“RICO”), 18 U.S.C. § 1961 et seq., which raise a federal question. This Court has supplemental



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     jurisdiction over the County’s state-law claims under 28 U.S.C. § 1367 because those claims are

     so related to the RICO claim as to form part of the same case or controversy.

             21.     This Court has personal jurisdiction over all Defendants under R.C. 2307.382

     because the causes of action alleged in this Complaint arise out of each Defendants’ transacting

     business in Ohio, contracting to supply services or goods in this state, causing tortious injury by

     an act or omission in this state, and because the Defendants regularly do or solicit business or

     engage in a persistent course of conduct or deriving substantial revenue from goods used or

     consumed or services rendered in this state. Defendants have purposefully directed their actions

     towards Ohio and/or have the requisite minimum contacts with Ohio to satisfy any statutory or

     constitutional requirements for personal jurisdiction.

             22.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) in that a

     substantial part of the events or omissions giving rise to the claim occurred in the Northern District

     of Ohio. Venue is also proper under 18 U.S.C. § 1965(a) because Defendants reside, are found,

     have agents, or transact their affairs in this district.

                                                    PARTIES

I.           PLAINTIFF

             23.     The County of Lake, Ohio (“the County”) is a County organized under the laws of

     the State of Ohio with a population of approximately 230,000. Plaintiff provides a wide range of

     services on behalf of its residents, including services for families and children, public health, public

     assistance, law enforcement, and emergency care.




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II.          DEFENDANTS5

                              CVS.

             24.      Defendant CVS Health Corporation (“CVS Health”) is a Delaware corporation with

      its principal place of business in Rhode Island. CVS Health, through its various DEA registered

      subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor and also

      operates retail stores, including in and around Plaintiff’s geographical area, that sell prescription

      medicines, including opioids.

             25.      Defendant CVS Indiana L.L.C. is an Indiana limited liability company with its

      principal place of business in Indianapolis, Indiana. Defendant CVS Rx Services, Inc. is a New

      York corporation with its principal place of business in Chemung, NY. Defendant CVS TN

      Distribution, LLC is a Tennessee corporation with its principal place of business in Knoxville, TN.

             26.      Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its principal

      place of business in Woonsocket, Rhode Island. CVS Pharmacy, Inc. is a wholly owned subsidiary

      of CVS Health. Defendant CVS Pharmacy, Inc. is both a DEA registered “distributor”6 and a DEA

      registered “dispenser”7 of prescription opioids and is registered to do business in Ohio. Defendant

      Ohio CVS Stores, LLC is an Ohio corporation with its principal place of business in Woonsocket,

      Rhode Island, and is registered to do business in Ohio.




      5
        The County has made its best efforts, based on the information available, to identify all of the
      corporate entities with responsibilities related to the sale and distribution of opioids in or affecting
      the County. If information that becomes available to the County alters its understanding or
      discloses additional entities, the County reserves the right to seek to join any such entities as
      defendants. Furthermore, the County recognizes that corporate entities affiliated with the
      Defendants may possess discoverable information relevant to the County’s claims, even though
      those entities have not been named as defendants. The County reserves the right to seek all
      information relevant to these claims.
      6
        21 U.S.C. §802(11) and §822(a)(1).
      7
        21 U.S.C. §802(10) and §822(a)(2).

                                                         7
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       27.     Defendant Omnicare Distribution Center LLC is a Delaware corporation with its

principal place of business in Ohio. Omnicare Distribution Center LLC, a CVS Health company,

portrays itself as an industry leading long-term care pharmacy services provider focused on

supporting community residents

       28.     Defendants CVS Health Corporation, CVS Indiana L.L.C., CVS Rx Services, Inc.,

CVS TN Distribution, LLC, CVS Pharmacy, Inc., Omnicare Distribution Center LLC, and Ohio

CVS Stores, LLC are collectively referred to as “CVS.” CVS conducts business as a licensed

wholesale distributor and dispenser. At all times relevant to this Complaint, CVS distributed

and/or dispensed prescription opioids throughout the United States, including in Ohio and Lake

County specifically.

                       Walgreens.

       29.     Defendant Walgreen Co. acted as a retail pharmacy in the United States, until

Walgreen Co. completed the acquisition of Alliance Boots, a British pharmacy giant, in 2014.

After this acquisition, the company simply became Walgreens Boots Alliance, Inc. traded on

NASDAQ under the symbol WBA.

       30.     Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation that describes

itself as the successor of Walgreen Co., an Illinois corporation. Both Walgreens Boots Alliance,

Inc. and Walgreen Co. are have their principal place of business Illinois.

       31.     Walgreen Co. is portrayed as a subsidiary of Walgreens Boots Alliance, Inc. and

does business under the trade name Walgreens.

       32.     During the relevant time period, Walgreens self-distributed opioids and cocktail

drugs to its own pharmacies from distribution centers which it owned and operated. At least

between 2006 and 2014, Walgreens distributed opioids and cocktail drugs from its distribution



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centers, including those in Jupiter, Florida, Perrysburg, Ohio, and Mount Vernon, Illinois to

Walgreens retail pharmacies located in Ohio, including in Lake County.

       33.     Defendant Walgreen Eastern Co., Inc. is a New York corporation with its principal

place of business in Deerfield, Illinois. Walgreen Eastern Co., Inc. is a subsidiary of Walgreens

Boots Alliance, Inc.

       34.     Defendants Walgreens Boots Alliance, Inc., Walgreen Co., and Walgreen Eastern

Co., Inc. are collectively referred to as “Walgreens.”

       35.     Walgreens conducted business as a licensed wholesale distributor, as described

above. Throughout the relevant time period, and as further alleged below, Walgreens entities also

owned and operated pharmacies in the County. At all times relevant to this Complaint, Walgreens

distributed and/or sold prescription opioids throughout the United States, including in Ohio and

Lake County specifically.

       36.     The DEA distribution registrations for Walgreens’s controlled substances

distribution centers that distributed opioids and cocktail drugs into Lake County were held by

Walgreens Co. and/or Walgreens Eastern Co.

       37.     Walgreens Co. created, implemented, and had the power to enforce policies,

practices, and training regarding distribution and sales in all Walgreens distribution and pharmacy

sales operations.

       38.     The DEA dispensing registrations for Walgreens’s pharmacies in Lake County

were held by Walgreens Co., which operated each pharmacy as a “d/b/a/” entity.

       39.     Expanding its chain pharmacy operations, Walgreens also acquired a number of

former Rite Aid stores, including in the County. Walgreens is liable as a successor for these stores’

prior conduct, as well as for its own operations.



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                       Rite Aid.

       40.     Defendant Rite Aid Corporation is a Delaware corporation with its principal office

located in Camp Hill, Pennsylvania.

       41.     Defendant Rite Aid Hdqtrs. Corp. is a Delaware corporation with its principal office

located in Camp Hill, Pennsylvania. Defendant Rite Aid Hdqtrs. Corp. and Defendant Rite Aid

Corporation, by and through their various DEA registered subsidiaries and affiliated entities,

conduct business as licensed wholesale distributors and pharmacy operators.

       42.     Defendant Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer

Support Center, Inc. is a subsidiary of Rite Aid Corporation and is itself a Maryland corporation

with its principal office located in Camp Hill, Pennsylvania.

       43.     Defendant Eckerd Corporation d/b/a Rite Aid Liverpool Distribution Center is a

subsidiary of Rite Aid Corporation and is itself a Delaware corporation with its principal office

located in Camp Hill, Pennsylvania. At all times relevant to this Complaint, Rite Aid of Maryland,

Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc. and Eckerd Corporation d/b/a

Rite Aid Liverpool Distribution Center distributed prescription opioids throughout the United

States, including in Ohio and Lake County specifically.

       44.     During the relevant time period, and as further alleged below, Rite Aid entities also

owned and operated pharmacies in the County through Defendant Rite Aid of Ohio, Inc. Defendant

Rite Aid of Ohio, Inc. is an Ohio corporation with its principal place of business in Ohio. Rite Aid

of Ohio, Inc. was in the business of holding and operating retail pharmacies in Ohio, including in

Lake County, on behalf of its parent company Rite Aid Corporation. Rite Aid of Ohio, Inc. orders

of controlled substances came from Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic

Customer Support Center, Inc. and Eckerd Corporation d/b/a Rite Aid Liverpool Distribution

Center and other wholesalers. These controlled substances are distributed and dispensed according

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to practices and procedures established by Rite Aid Corporation and Rite Aid Headquarters

Corporation.

        45.    Defendants Rite Aid Corporation, Rite Aid Hdqtrs. Corp., Rite Aid of Maryland,

Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc., Eckerd Corporation d/b/a Rite

Aid Liverpool Distribution Center, and Rite Aid of Ohio, Inc. are collectively referred to as “Rite

Aid.”

        46.    Rite Aid, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. Rite Aid also operates retail stores, including

in and around Plaintiff’s geographical area that sell prescription medicines, including opioids.

        47.    At all times relevant to this Complaint, Rite Aid of Maryland, Inc., d/b/a Rite Aid

Mid-Atlantic Customer Support Center, Inc. distributed prescription opioids throughout the United

States, including in Ohio and Lake County specifically.

                       Walmart.

        48.    Defendant Walmart Inc., formerly known as Wal-Mart Stores, Inc., is a Delaware

corporation with its principal place of business in Bentonville, Arkansas.

        49.    Defendant Wal-Mart Stores East, LP is a Delaware limited partnership with its

principle place of business in Arkansas.

        50.    Defendant WSE Management, LLC, is a Delaware limited liability company, and

owns one percent of Wal-Mart Stores East, LP.

        51.    Defendant WSE Investment, LLC, is a Delaware limited liability company, and a

ninety-nine percent of Wal-Mart Stores East, LP.

        52.    The sole owner of both WSE Management, LLC and WSE Investment, LLC is

Walmart-Stores East Inc., an Arkansas corporation.



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       53.     The sole shareholder of Wal-Mart Stores East, Inc. is Walmart Inc., f/k/a Wal-Mart

Stores, Inc.

       54.     Defendants Walmart Inc., f/k/a Wal-Mart Stores, Inc., Wal-Mart Stores East, LP,

WSE Management, LLC, WSE Investment LLC, Wal-Mart Stores East, Inc. are collectively

referred to as “Walmart.”

       55.     Walmart, through its various DEA registrant subsidiaries and affiliated entities,

conducts business as a registered wholesale distributor and as a pharmacy.

       56.     At all times relevant to this Complaint, Walmart distributed and sold prescription

opioids throughout the United States, including in Ohio and Lake County specifically.

               5.      Giant Eagle.

       57.     Defendant HBC Service Company (“HBC”) is an operating division of Defendant

Giant Eagle, Inc. HBC operated as a licensed wholesale distributor wholesaler in Ohio, licensed

by the State of Ohio Board of Pharmacy. Giant Eagle, Inc. is a Pennsylvania corporation with its

principal place of business in Washington, Pennsylvania. At all times relevant to this Complaint,

HBC distributed and Giant Eagle, Inc. sold prescription opioids in Ohio and Lake County

specifically. HBC, Giant Eagle, and related entities are collectively referred to as “Giant Eagle.”

From 2016 to the present, Giant Eagle also distributed prescription opioids through its GERXDC

distribution center, which it then sold in Giant Eagle pharmacies.

       58.     Collectively, Defendants CVS, Rite Aid, Walgreens, Walmart, and Giant Eagle are

referred to as “Chain Pharmacies.”

       59.     Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale, and/or dispensing of opioids.



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      A. Agency and Authority

         60.   All of the actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management of

Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

         61.   Plaintiff alleges that the corporate parents named as defendants in this Complaint

are liable as a result of their own actions and obligations in distributing and selling opioids, and

not solely because of their vicarious responsibility for the actions of their pharmacy stores.

                                  FACTUAL ALLEGATIONS

 I.      FACTS COMMON TO ALL CLAIMS8

         A.    Opioids and Their Effects

         62.   The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived from

the opium poppy. Generally used to treat pain, opioids produce multiple effects on the human

body, the most significant of which are analgesia, euphoria, and respiratory depression.

         63.   The medicinal properties of opioids have been recognized for millennia—as well

as their potential for abuse and addiction. The opium poppy contains various opium alkaloids,

three of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine.

Early use of opium in Western medicine was with a tincture of opium and alcohol called laudanum,



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  The allegations in this complaint are made upon information and belief, including upon
information immediately available to plaintiffs from the ARCOS database upon their initial and
intensive review. Plaintiff reserves the right to seek leave to amend or correct this Complaint
based upon further analysis of the ARCOS, IMS Health, and other data and upon further
investigation and discovery.

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which contains all of the opium alkaloids and is still available by prescription today. Chemists first

isolated the morphine and codeine alkaloids in the early 1800s.

       64.     In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly used

morphine, laudanum, and opium pills to treat the wounded, and many veterans were left with

morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the United

States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows . . . it has become one of the most fertile causes of unhappiness

and sin in the United States.”9

       65.     In 1898, Bayer Pharmaceutical Company began marketing diacetylmorphine

(obtained from acetylation of morphine) under the trade name “Heroin.” Bayer advertised heroin

as a non-addictive cough and cold remedy suitable for children, but as its addictive nature became

clear, heroin distribution in the U.S. was limited to prescription only in 1914 and then banned

altogether a decade later.

       66.     Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the




9
  Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid Crisis
a        Century      Ago,       The       Wash.       Post     (Oct.       17,       2017),
https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-
the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.

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same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

       67.     Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

       68.     Medical professionals describe the strength of various opioids in terms of morphine

milligram equivalents (“MME”). According to the CDC, doses at or above 50 MME/day double

the risk of overdose compared to 20 MME/day, and one study found that patients who died of

opioid overdose were prescribed an average of 98 MME/day.

       69.     Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       70.     Discontinuing opioids after more than just a few weeks will cause most patients to

experience withdrawal symptoms. These withdrawal symptoms include: severe anxiety, nausea,

vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain, and other serious

symptoms, which may persist for months after a complete withdrawal from opioids, depending on

how long the opioids were used.

       B.      Defendants’ Conduct Created an Abatable Public Nuisance

       71.     As alleged throughout this Complaint, Defendants’ conduct created a public health

crisis and a public nuisance.



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       72.     The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated by, inter alia, (a) providing addiction treatment to patients who are already addicted

to opioids; and (b) making naloxone widely available so that overdoses are less frequently fatal.

       73.     Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. All companies in the supply chain of a

controlled substance are primarily responsible for ensuring that such drugs are only distributed and

sold to appropriate patients and not diverted. These responsibilities exist independent of any Food

and Drug Administration (“FDA”) or Drug Enforcement Administration (“DEA”) regulation, to

ensure that their products and practices meet both federal and state laws and regulations. As

registered distributors and dispensers of controlled substances, Defendants are placed in a position

of special trust and responsibility and are uniquely positioned, based on their knowledge of

prescribers and orders, to act as a key line of defense. Defendants, however, instead abused their

position of special trust and responsibility within the closed system of opioid distribution and

dispensing and fostered a black market for prescription opioids.

       C.      Defendants Deliberately Disregarded Their Duties to Maintain Effective
               Controls Against Diversion.

               1. The Chain Pharmacies Were on Notice of and Contributed to Illegal
                  Diversion of Prescription Opioids.

       74.     Retail pharmacy chains earned enormous profits by flooding the country with

prescription opioids. They were keenly aware of the oversupply of prescription opioids through

the extensive data and information they developed and maintained as both distributors and retail

sellers of opioids. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.



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       75.     Each of the Chain Pharmacies does substantial business across the United States.

This business includes the distribution and sale of prescription opioids.

       76.     Statewide ARCOS data confirms that the Chain Pharmacies distributed and

dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone, and

oxycodone in the County. In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to the

County. The Chain Pharmacies failed to take meaningful action to stop this diversion despite their

knowledge of it, and thus contributed substantially to the diversion problem.

        77.    The Chain Pharmacies developed and maintained extensive data on opioids they

 distributed and dispensed. Through this data, Chain Pharmacies had direct knowledge of patterns

 and instances of improper distribution, prescribing, sale, and use of prescription opioids in

 communities throughout the country, and in the County in particular. They used the data to

 evaluate their own sales activities and workforce. The Chain Pharmacies also provided data

 regarding, inter alia, individual doctors to drug companies, which targeted those prescribers with

 their marketing, in exchange for rebates or other forms of consideration. The Chain Pharmacies’

 data is a valuable resource that they could and should have used to help stop diversion, but they

 failed to do so. Defendants facilitated the supply of far more opioids that could have been justified

 to serve a legitimate market. The failure of the Defendants to maintain effective controls, and to

 investigate, report, and take steps to halt orders that they knew or should have known were

 suspicious, as well as to maintain effective policies and procedures to guard against diversion

 from their retail stores, breached both their statutory and common law duties.

       78.     For over a decade, Defendants aggressively sought to bolster their revenue, increase

profit, and grow their share of the prescription painkiller market by unlawfully and surreptitiously



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increasing the volume of opioids they sold. However, Defendants are not permitted to engage in

a limitless expansion of their sales through the unlawful sales of regulated painkillers.

       79.     Defendants are all required to register as distributors or dispensers pursuant to 21

U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

       80.     Each participant in the supply chain of opioid distribution, including the Chain

Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal market

by, among other things, monitoring, and reporting suspicious activity.

       81.     According to the CDC, opioid prescriptions, as measured by number of

prescriptions and MME per person, tripled from 1999 to 2015. In 2015, on an average day, more

than 650,000 opioid prescriptions were dispensed in the U.S. Not all of these prescriptions were

legitimate. Yet, Defendants systemically ignored red flags that they were fueling a black market,

and failed to maintain effective controls against diversion at both the wholesale and pharmacy

level. Instead, they put profits over the public health and safety. Despite their legal obligations as

registrants under the CSA, the Chain Pharmacies allowed widespread diversion to occur—and they

did so knowingly.

       82.     Upon information and belief, this problem was compounded by the Chain

Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians on how to

properly and adequately handle prescriptions for opioid painkillers, including what constitutes a

proper inquiry into whether a prescription is legitimate and what measures and/or actions to take

when a prescription is identified as potentially illegitimate.

       83.     Upon information and belief, the Chain Pharmacies also failed to put in place

effective policies and procedures to prevent their stores from facilitating diversion and selling into

a black market, and to conduct adequate internal or external reviews of their opioid sales to identify



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patterns regarding prescriptions that should not have been filled, or if they conducted such reviews,

they failed to take any meaningful action as a result.

       84.     Upon information and belief, even where Chain Pharmacies enacted policies and

procedures to prevent stores from facilitating diversion and selling into a black market, such

policies were merely window-dressing and were not employed in any meaningful way.

       85.     Upon information and belief, the Chain Pharmacies also failed to effectively

respond to concerns raised by their own employees regarding inadequate policies and procedures

regarding the filling of opioid prescriptions. Instead, Chain Pharmacies put in place policies that

required and rewarded speed and volume over the safety and care necessary to ensure that narcotics

were distributed and sold lawfully. Defendants consistently put profits over safety in their

distribution and sale of prescription opioids.

       86.     The Chain Pharmacies were, or should have been, fully aware that the quantity of

opioids being distributed and dispensed by them was untenable, and in many areas patently absurd;

yet, they did not take meaningful action to investigate or to ensure that they were complying with

their duties and obligations under the law with regard to controlled substances.

               2. Defendants Have a Duty to Report Suspicious Orders and Not to Ship
                  Those Orders Unless Due Diligence Disproves Their Suspicions.

       87.     Multiple sources impose duties on the Defendants to report suspicious orders and

further to not ship those orders unless due diligence disproves those suspicions.

       88.     First, under the common law, Defendants had a duty to exercise reasonable care in

delivering dangerous narcotic substances. By flooding Ohio, and the County, with more opioids

than could be used for legitimate medical purposes, by filling and failing to report orders that they

knew or should have realized were likely being diverted for illicit uses, and by failing to maintain




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effective controls against diversion from their retail stores, Defendants breached that duty and both

created and failed to prevent a foreseeable risk of harm.

       89.     Second, each of the Defendants assumed a duty, when speaking publicly about

opioids and their efforts to combat diversion, to speak accurately and truthfully.

       90.     Third, distributors and chains pharmacies are required to register with the DEA to

distribute and/or dispense controlled substances. See 21 U.S.C. § 823(a)-(b), (e); 28 C.F.R. §

0.100; 28 C.F.R. § 1301.71. As registrants, Defendants were required to “maint[ain] . . . effective

controls against diversion” and to “design and operate a system to disclose . . . suspicious orders

of controlled substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74. Defendants were further

required to take steps to halt suspicious orders. Defendants violated their obligations under federal

law.

       91.     Under the federal Controlled Substances Act (“CSA”) and Ohio controlled-

substances laws, they likewise were required to design and operate effective systems to guard

against diversion. See, e.g., 21 U.S.C. § 823; 28 C.F.R. § 1301.71. Federal regulations issued

under the CSA also mandate that all registrants “design and operate a system to disclose to the

registrant suspicious orders of controlled substances.” 21 C.F.R. § 1301.74(b). Defendants also

have independent duties under Ohio law. The Ohio Administrative Code imposes obligations and

duties upon “licensees” and “registrants,” to “provide effective and approved controls and

procedures to deter and detect theft and diversion of dangerous drugs.” O.A.C. § 4729-9-

05(A). These duties extend to Defendants as distributors and pharmacies. The Chain Pharmacies,

like other distributors, are registrants under the CSA. 21 C.F.R. § 1301.11.

       92.     Further, under the CSA, pharmacy registrants are required to “provide effective

controls and procedures to guard against theft and diversion of controlled substances.” See 21



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C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states, “[t]he responsibility for the proper

prescribing and dispensing of controlled substances is upon the prescribing practitioner, but a

corresponding responsibility rests with the pharmacist who fills the prescription.” Thus, regardless

of whether they are registrants, all dispensers must ensure that prescriptions of controlled

substances are “issued for a legitimate medical purpose by an individual practitioner acting in the

usual course of his professional practice.” 21 C.F.R. § 1306.04(a). The DEA has recognized that

“as dispensers of controlled substances, pharmacists and pharmacy employees are often the last

line of defense in preventing diversion.”10

       93.     Under the CSA, the duty to prevent diversion lies with the Chain Pharmacies, not

the individual pharmacist. As such, although it acts through its agents, the pharmacy is ultimately

responsible to prevent diversion, as described above.11         Further, the obligations under the

controlled-substances laws extend to any entity selling prescription opioids, whether it is the

registration-holder or not.

       94.     Thus, in addition to their duties as distributors, the Chain Pharmacies also had a

duty to design and implement systems to prevent diversion of controlled substances in their retail

pharmacy operations. The Chain Pharmacies had the ability, and the obligation, to look for these



 10
  2012               Dear           Registrant         letter                 to            pharmacy
registrants, http://ppsconline.com/articles/2012/FL_PDAC.pdf
11
  The Medicine Shoppe; Decision and Order, 79 FR 59504, 59515 (DEA Oct. 2, 2014) (emphasis
added); see also Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195; Decision and
Order, 77 FR 62316-01 (“When considering whether a pharmacy has violated its corresponding
responsibility, the Agency considers whether the entity, not the pharmacist, can be charged with
the requisite knowledge.”); Top RX Pharmacy; Decision and Order, 78 FR 26069, 62341 (DEA
Oct. 12, 2012) (same); cf. Jones Total Health Care Pharmacy LLC and SND Health Care LLC v.
Drug Enforcement Administration, 881 F.3d 82 (11th Cir. 2018) (revoking pharmacy registration
for, inter alia, dispensing prescriptions that prescriptions presented various red flags, i.e., indicia
that the prescriptions were not issued for a legitimate medical purpose without resolving red flags).


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red flags on a patient, prescriber, and store level, and to refuse to fill and to report prescriptions

suggestive of potential diversion.

       95.      Fourth, as described below, Defendants also had duties under applicable state laws.

       96.      Recognizing a need for greater scrutiny over controlled substances due to their

potential for abuse and danger to public health and safety, the United States Congress enacted the

Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals. Congress specifically

designed the closed chain of distribution to prevent the diversion of controlled substances into the

illicit market. Congress was concerned with the diversion of drugs out of legitimate channels of

distribution and acted to halt the “widespread diversion of [controlled substances] out of legitimate

channels into the illegal market.” Moreover, the closed-system was specifically designed to ensure

that there are multiple ways of identifying and preventing diversion through active participation

by registrants within the drug delivery chain. All registrants—which should include all distributors

of controlled substances and pharmacies dispensing controlled substances—must adhere to the

specific security, recordkeeping, monitoring and reporting requirements that are designed to

identify or prevent diversion. When the supply chain participants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. The result is the scourge of addiction that

has occurred.

       97.      The CSA requires distributors and pharmacies, along with other participants in the

supply chain of controlled substances like opioids to: (a) limit sales within a quota set by the DEA

for the overall production of controlled substances like opioids; (b) register to distribute opioids;

(c) maintain effective controls against diversion of the controlled substances that they manufacture

or distribute; and (d) identify suspicious orders of controlled substances and halt such sales.



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          98.    To ensure that even drugs produced within quota are not diverted, federal

regulations issued under the CSA mandate that all registrants “design and operate a system to

disclose to the registrant suspicious orders of controlled substances.” 21 C.F.R. § 1301.74(b).

Registrants are not entitled to be passive (but profitable) observers, but rather “shall inform the

Field Division Office of the Administration in his area of suspicious orders when discovered by

the registrant.” Id. Suspicious orders include orders of unusual size, orders deviating substantially

from a normal pattern, and orders of unusual frequency. Id. Other red flags may include, for

example, “[o]rdering the same controlled substance from multiple distributors.”

          99.    These criteria are disjunctive and are not all inclusive. For example, if an order

deviates substantially from a normal pattern, the size of the order does not matter and the order

should be reported as suspicious. Likewise, a distributor need not wait for a normal pattern to

develop over time before determining whether a particular order is suspicious. The size of an order

alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

responsibility to report the order as suspicious. The determination of whether an order is

suspicious depends not only on the ordering patterns of the particular customer but also on the

patterns of the entirety of the customer base and the patterns throughout the relevant segment of

the industry. For this reason, identification of suspicious orders serves also to identify excessive

volume of the controlled substance being shipped to a particular region.

          100.   The DEA has testified in this MDL that:

                        a.      DEA registrants are required to block all suspicious orders of
                        prescription opioids.12

                        b.     Shipping a suspicious order is a per se violation of federal law.13


12
     See Prevoznik Dep. Vol II, 770:6 to 771:20, April 18, 2019 (DEA 30(b)(6) designee).
13
     Id. at 632:7 to 633:2.


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                       c.      If a wholesale distributor blocks a suspicious order, they should
                       terminate all future sales to that same customer until they can rule out that
                       diversion is occurring.14

                       d.     After the fact reporting of suspicious orders has never been in
                       compliance with federal law.15

       101.    Of course, due diligence efforts must be thorough: “the investigation must dispel

all red flags indicative that a customer is engaged in diversion to render the order non-suspicious

and exempt it from the requirement that the distributor ‘inform’ the [DEA} about the order. Put

another way, if, even after investigating the order, there is any remaining basis to suspect that a

customer is engaged in diversion, the order must be deemed suspicious and the Agency must be

informed.”16 Indeed, the DEA may revoke a distributor’s certificate of registration as a vendor of

controlled substances if the distributor identifies orders as suspicious and then ships them “without

performing adequate due diligence.”17

       102.    To comply with the law, wholesale distributors, including Defendants, must know

their customers and the communities they serve. Each distributor must “perform due diligence on

its customers” on an “ongoing [basis] throughout the course of a distributor’s relationship with its

customer.” Masters Pharms., Inc., 80 Fed. Reg. 55,418, 55,477 (DEA Sept. 15, 2015), petition

for review denied, 861 F.3d 206 (D.C. Cir. 2017).




14
   Id. at 628:24 to 629:15.
15
   Id. at 673:7 to 674:13 , 679:20 to 680:8.
16
   Masters Pharmaceuticals, Inc., Decision and Order, 80 Fed. Reg. 55418-01 at *55477 (DEA
Sept. 15, 2015).
17
    Masters Pharmaceuticals, 861 F.3d at 212. The Decision and Order was a final order entered
by the DEA revoking Masters Pharmaceutical’s certificate of registration, without which Masters
Pharmaceutical could not sell controlled substances. In Masters Pharmaceutical, the D.C. Circuit
Court of Appeals denied a petition for review, leaving intact the DEA’s analysis and conclusion
in the Decision and Order.

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       103.    Pharmacy order data provides detailed insight into the volume, frequency, dose,

and type of controlled and non-controlled substances a pharmacy typically orders. This includes

non-controlled substances and Schedule IV controlled substances (such as benzodiazepines),

which are not reported to the DEA, but whose use with opioids can be a red flag of diversion.

       104.    In addition to their duties as distributors, Defendants also had a duty to design and

implement systems to prevent diversion of controlled substances in their retail pharmacy

operations. Defendants had the ability, and the obligation, to look for these red flags on a patient,

prescriber, and store level, and to refuse to fill and to report prescriptions that suggested potential

diversion.

       105.    As acknowledged in an article CVS published in the New England Journal of

Medicine, “[p]harmacies have a role to play in the oversight of prescriptions for controlled

substances, and opioid analgesics in particular.” Mitch Betses, R.Ph., and Troyen Brennan, M.D.,

M.P.H., Abusive Prescribing of Controlled Substances - A Pharmacy View, N. ENGL. J. MED.

369;11, Sept. 12., 2013, at 989-991. The DEA has identified “both pharmaceutical distributors and

chain pharmacies as part of the problem” contributing to opioid abuse and related deaths. Id.

       106.    The National Retail Pharmacies have a particular “advantage” in meeting their

obligations under the CSA because these entities can use “aggregated information on all

prescriptions filled at the chain” in order to examine “patterns” of opioids and other “high-risk

drugs” and target “inappropriate prescribing.” Id. at 990. For example, a chain pharmacy should

properly use its chainwide dispensing data to identify “high risk prescribers” by “benchmarking”

prescription data based on “several parameters,” including “volume of prescriptions for high-risk

drugs,” “the proportion of the prescriber’s prescriptions that were for such [high-risk] drugs, as

compared with the volume and proportion for others in the same specialty and region,” cash



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payment, ages of patients, and the prescriber’s ratio of “prescriptions for noncontrolled substances

with prescriptions for controlled substances.” Id. This “[a]nalysis of aggregated data” from chain

pharmacies can “target patterns of abuse,” in the face of “the growing use of controlled substances

and resulting illnesses and deaths.” Id. Accordingly, as CVS touts, “innovative use of transparent

data is only prudent.” Id.

       107.    As CVS counseled, Defendants may not ignore red flags of illegal conduct and must

use the information available to them to identify, report, and not fill prescriptions that seem

indicative of diversion. That would include reviewing their own data, relying on their observations

of prescribers, pharmacies, and customers, and following up on reports or concerns of potential

diversion.

       108.    All suspicious conduct must be reported to relevant enforcement authorities.

Further, Defendants must not fill or ship any suspicious prescription or order unless they have

conducted an adequate investigation and determined that the prescription or order is not likely to

be diverted into illegal channels.18 Reasonably prudent distributors would not fall below this

standard of care, and their failure to exercise appropriate controls foreseeably harms the public

health and welfare.

       109.    In addition to their duties as a distributors, Defendants also had a duty to design

and implement systems to prevent diversion of controlled substances and to monitor and report

suspicious activity in their retail pharmacy operations. Specifically, Defendants had a duty to

analyze data and store-level information for known red flags such as (a) multiple prescriptions to

the same patient using the same doctor; (b) multiple prescriptions by the same patient using



18
   See Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007)
(applying federal requirements no less stringent than those of Ohio); Masters Pharmaceutical, Inc.
v. Drug Enforcement Administration, 861 F.3d 206 (D.C. Cir. 2017) (same).

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different doctors; (c) prescriptions of unusual size and frequency for the same patient; (d) orders

from out-of-state patients or prescribers; (e) an unusual or disproportionate number of

prescriptions paid for in cash; (f) prescriptions paired with other drugs frequently abused with

opioids, like benzodiazepines, or prescription “cocktails”; (g) volumes, doses, or combinations

that suggested that the prescriptions were likely being diverted or were not issued for a legitimate

medical purpose.

        110.    According to law and industry standards, if a pharmacy finds evidence of

prescription diversion, the Board of Pharmacy and DEA must be contacted.

        111.    As distributors and as pharmacies, Defendants have a duty, and are expected, to be

vigilant in ensuring that controlled substances are delivered only for lawful purposes.

        112.    State and federal statutes and regulations reflect a standard of conduct and care

below which reasonably prudent distributors and pharmacies would not fall. Together, these laws

and industry guidelines make clear that Defendants possess and are expected to possess,

specialized and sophisticated knowledge, skill, information, and understanding of both the market

for scheduled prescription opioids and of the risks and dangers of the diversion of prescription

opioids when the supply chain is not properly controlled.

        113.    Further, these laws and industry guidelines make clear that Defendants have a

responsibility to exercise their specialized and sophisticated knowledge, information, skill, and

understanding to prevent the oversupply of prescription opioids and minimize the risk of their

diversion into an illicit market.

        114.    Reasonably prudent distributors and pharmacies would not fall below this standard

of care, and their failure to exercise appropriate controls foreseeably harms the public health and

welfare.



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               3. Defendants Were Aware of and Have Acknowledged Their Obligations to
                  Prevent Diversion and to Report and Take Steps to Halt Suspicious
                  Orders.

       115.    The regulations aim to create a “closed” system in order to control the supply and

reduce the diversion of these drugs out of legitimate channels into the illicit market, while at the

same time providing the legitimate drug industry with a unified approach to narcotic and dangerous

drug control. Both because distributors handle such large volumes of controlled substances, and

because they are uniquely positioned, based on their knowledge of their customers and orders, as

the first line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, distributors’ obligation to maintain effective controls to

prevent diversion of controlled substances is critical. Should a distributor deviate from these

checks and balances, the closed system of distribution, designed to prevent diversion, collapses.

       116.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.

       117.    Indeed, the DEA has repeatedly informed Defendants about their legal obligations,

including obligations that were so obvious that they simply should not have required additional

clarification. As former DEA agent Joseph Rannazzisi recently explained during a deposition in

this MDL:

               Q. Someone says "Don't steal," do you have to put in there "from a
               supermarket"?

               A. No.

               Q. Someone says "Don't trespass on the property," do you have to
               put "wearing tennis shoes"?

               A. No.




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                 Q. Next, you got asked: "Well, you never instructed the companies
                 to keep their files." Do you remember that?

                 A. Yes, sir.

                 Q. Would old files be important in monitoring -- in your ongoing
                 monitoring? Would it be important that a company keep their files
                 so that they can look back at them?

                 A: Absolutely. That's the -- the whole idea behind maintaining a due
                 diligence file is you have a history of purchases. That way you could
                 see what they're doing and where they're going with their
                 purchases.19

         118.    For example, it is not an effective control against diversion to identify a suspicious

order, ship it, and wait as long as weeks to report it to law enforcement, potentially allowing those

pills to be diverted and abused in the meantime.

         119.    During a 30(b)(6) deposition in this MDL, the DEA’s Unit Chief of Liaison was

asked whether the DEA made it “clear to industry that the failure to prevent diversion was a threat

to public safety and the public interest.” In response, he testified:

                 Yes, I think it's established in 823 [the Controlled Substances Act]
                 where it's part of our -- part of the registrant that is applying to be a
                 registrant understands that they have to maintain effective
                 controls . . . . they also know that these drugs themselves are
                 scheduled controlled substances for a particular reason, because
                 they're addictive, psychologically and physically they're addictive,
                 so they know that these drugs have these properties within
                 themselves. So they would understand that these drugs are
                 categorized or scheduled in that manner because they have the
                 potential to hurt.20

         120.    And Defendants did understand. As described below, at least Walgreens has itself

acknowledged (internally) its understanding of the potential consequences of its failure to report

and cease shipping suspicious orders.



19
     Rannazzisi Dep. at 646:20-647:19.
20
     Prevoznik Dep. Vol III at 942:3-8; 942:11-943:3 (emphasis added).

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       121.    In fact, trade organizations in which Defendants have actively participated have

acknowledged that distributors have been responsible for reporting suspicious orders for more than

40 years. The National Association of Chain Drug Stores (“NACDS”) is a national trade

association that represents traditional drug stores, supermarkets, and mass merchants with

pharmacies—from regional chains with four stores to national companies. Its members and/or

affiliate members also include stakeholders such as manufacturers, other distributors and other

trade organizations as well. Most of the Defendants serve on the Board of Directors of NACDS.

Chain Pharmacies have repeatedly chaired NACDS’s Board of Directors, which determines the

“strategic plan and positions” of the organization. During the last 12 years, representatives of

CVS, Rite Aid, and Walgreens have always held Board of Directors or officer seats. Giant Eagle

was also a member of the NACDS.

       122.    The Healthcare Distribution Management Association (“HDMA,” now known as

the Healthcare Distribution Alliance (“HDA”), and prior to 2000, known as the National

Wholesale Druggists’ Association (“NWDA”)), is a national trade association representing

distributors that has partnered with NACDS. The two groups viewed their relationship as a

strategic “alliance.” CVS also has been a member of the HDA.

       123.    In 2006, the NACDS issued a “Model Compliance Manual” intended to “assist

NACDS members” in developing their own compliance programs. The Model Compliance

Manual notes that a retail pharmacy may:

       “[G]enerate and review reports for its own purposes” and refers to the assessment
       tools identified by CMS in its Prescription Drug Benefit Manual chapter on fraud,
       waste and abuse, including:

              Drug Utilization Reports, which identify the number of prescriptions filled
               for a particular customer and, in particular, numbers for suspect classes of
               drugs such as narcotics to identify possible therapeutic abuse or illegal
               activity by a customer. A customer with an abnormal number of
               prescriptions or prescription patterns for certain drugs should be identified

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                in reports, and the customer and his or her prescribing providers can be
                contacted and explanations for use can be received.

               Prescribing Patterns by Physician Reports, which identify the number of
                prescriptions written by a particular provider and focus on a class or
                particular type of drug such as narcotics. These reports can be generated to
                identify possible prescriber or other fraud.

               Geographic Zip Reports, which identify possible “doctor shopping”
                schemes or “script mills” by comparing the geographic location (zip code)
                of the patient to the location of the provider who wrote the prescription and
                should include the location of the dispensing pharmacy.


       124.     In 2007 and 2008, the HDA, began developing “Industry Compliance Guidelines”

(“ICG”) that aimed to outline certain “best practices” for distributors of controlled substances. As

part of its development of the ICG, the HDA met with the DEA on at least three occasions. The

HDMA also sought extensive input from its membership, as well as other groups such as the Pain

Care Forum (mentioned infra). Internal discussions concerning the ICG further demonstrate the

industry’s knowledge of what was expected of them. For example, when deciding whether or not

the guidelines should permit a distributor to still ship a part of an order identified as suspicious,

the HDMA noted that one potential downside of this approach was that “DEA

correspondence/interpretation do not support this practice.”

       125.     The HDA released the ICG in 2008 and, in doing so, it emphasized that distributors

were “[a]t the center of a sophisticated supply chain” and “uniquely situated to perform due

diligence in order to help support the security of the controlled substances they deliver to their

customers.”21




21
  Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines:
Reporting Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal
Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B at 1).

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       126.    More recently, in in the appeal that arose from DEA’s enforcement action against

wholesaler Masters Pharmaceuticals, Inc. for its distribution of opioids, the HDA and NACDS

submitted a joint amicus brief regarding the legal duty of distributors that acknowledged that

“HDMA and NACDS members” had a duty to prevent diversion. See Masters Pharmaceuticals,

Inc. v. U.S. Drug Enforcement Admin., 2016 WL 1321983 (D.C. Cir. April 4, 2016). As described

below, both the HDA and NACDS have both long taken the position that distributors have

responsibilities to “prevent diversion of controlled prescription drugs” not only because they have

statutory and regulatory obligations do so, but “as responsible members of society.”

       127.    The requirement to report suspicious orders at the time (not after the fact) has

always been clear and Defendants themselves have acknowledged as much through their various

trade groups and associations. As described above, correspondence between the NWDA and the

DEA, as early as 1984, illustrates that the DEA provided clear guidance well before the opioid

crisis was unleashed. For example, in one letter to the NWDA, DEA Section Chief Thomas

Gitchel emphasized that “the submission of a monthly printout of after-the-fact sales will not

relieve a registrant from the responsibility of reporting excessive or suspicious orders,” noting

“DEA has interpreted ‘orders’ to mean prior to shipment.” Consistent with that understanding,

the NWDA’s 1984 Guidelines repeated the same directive.

       128.    In addition, the DEA, for example, in April 1987, sponsored a three-day

“Controlled Substances Manufacturers and Wholesalers Seminar” that was attended by “over fifty

security and regulatory compliance professionals representing forty-three major pharmaceutical

manufacturers and wholesalers.”22 According to the executive summary of the event, Ronald

Buzzeo held a session on “excessive order monitoring programs,” wherein he explained:



22
       US-DEA-00025657.

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       [A]ny system must be capable of both detecting individual orders which are
       suspicious, or orders which become suspicious over time due to frequency,
       quantity, or pattern. The NWDA system, for example, provides an excellent
       lookback, or trend system, but the ability to identify one time suspicious orders
       should not be overlooked as an element of the program.” Another area at issue was
       whether DEA would take action against a registrant which reported an order and
       then shipped it. DEA pointed out that the company is still responsible under their
       registrations for acting in the public interest. Reporting the order does not in any
       way relieve the firm from the responsibility for the shipment.

       129.    The DEA also repeatedly reminded Defendants of their obligations to report and

decline to fill suspicious orders. Responding to the proliferation of internet pharmacies that

arranged illicit sales of enormous volumes of opioids, the DEA began a major push to remind

distributors of their obligations to prevent these kinds of abuses and educate them on how to meet

these obligations.

       130.    Specifically, in August 2005, the DEA's Office of Diversion Control launched the

“Distributor Initiative.” The Distributor Initiative did not impose any new duties on distributors,

but simply reminded them of their duties under existing law. The stated purpose of the program

was to “[e]ducate and inform distributors/manufacturers of their due diligence responsibilities

under the CSA by discussing their Suspicious Order Monitoring System, reviewing their

[Automation of Reports and Consolidated Orders System (“ARCOS”)] data for sales and

purchases of Schedules II and III controlled substances, and discussing national trends involving

the abuse of prescription controlled substances.”23 The CSA requires that distributors (and

manufacturers) report all transactions involving controlled substances to the United States

Attorney General. This data is captured in ARCOS, the “automated, comprehensive drug reporting

system which monitors the flow of DEA controlled substances from their point of manufacture



23
  Thomas W. Prevoznik, Office of Diversion Control, Distributor Initiative presentation (Oct. 22,
2013), https://www.deadiversion.usdoj.gov/mtgs/distributor/conf_2013/prevoznik.pdf.


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through commercial distribution channels to point of sale or distribution at the dispensing/retail

level—hospitals, retail pharmacies, practitioners, mid-level practitioners, and teaching

institutions,”24 described above, from which certain data was recently made public.

              131.   As part of the Distributor Initiative, the DEA gave several presentations to

     distributors both individually and through presentations and discussions at Defendants’ trade

 groups meetings directly targeted at some of the red flags of diversion that the Defendants were

            obligated to consider and monitor as part of their requirements under the law.




          132.   The DEA has hosted many different conferences throughout the years, including

Pharmacy Diversion Awareness Conferences, to provide registrants with updated information

about diversion trends and their regulatory obligations. The DEA also frequently presented at

various other conferences for registrants at the national, state, or local level.




24
   U.S. Dept. of Justice, Drug Diversion Administration, Diversion Control Division website,
https://www.deadiversion.usdoj.gov/arcos/index.html.


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       133.    Through presentations at industry conferences and on its website, the DEA

provided detailed guidance to distributors on what to look for in assessing their customers’

trustworthiness. As an example, the DEA published “Suggested Questions a Distributor Should

Ask Prior to Shipping Controlled Substances”25

       134.    In addition, the DEA sent a series of letters, beginning on September 27, 2006, to

every commercial entity registered to distribute controlled substances, including chain pharmacy

distributors. The 2006 letter emphasized that distributors are:

               one of the key components of the distribution chain. If the closed
               system is to function properly . . . distributors must be vigilant in
               deciding whether a prospective customer can be trusted to deliver
               controlled substances only for lawful purposes. This responsibility
               is critical, as . . . the illegal distribution of controlled substances has
               a substantial and detrimental effect on the health and general welfare
               of the American people.26

       135.    The letter also warned that “even just one distributor that uses its DEA registration

to facilitate diversion can cause enormous harm.”27

       136.    The DEA sent a second letter to distributors on December 27, 2007. Again, the

letter instructed that, as registered distributors of controlled substances, they must each abide by

statutory and regulatory duties to “maintain effective controls against diversion” and “design and



25
    U.S. Dept. of Justice DEA, Diversion Control Division website, Pharmaceutical Industry
Conference (Oct 14 & 15, 2009), Suggested Questions a Distributor should ask prior to shipping
controlled     substances,       Drug      Enforcement       Administration        available     at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard
Widup, Jr., Kathleen H. Dooley, Esq., Pharmaceutical Production Diversion: Beyond the PDMA,
Purdue Pharma and McGuireWoods LLC, available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.
26
   Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Off. of Diversion Control, Drug
Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006), filed in Cardinal Health,
Inc. Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51 (“2006
Rannazzisi Letter”).
27
   Id.


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operate a system to disclose to the registrant suspicious orders of controlled substances.”28 DEA’s

letter reiterated the obligation to detect, report, and not fill suspicious orders and provided detailed

guidance on what constitutes a suspicious order and how to report (e.g., by specifically identifying

an order as suspicious, not merely transmitting ARCOS data to the DEA).

        137.    In September 2007, the NACDS on behalf of its members, the Defendants,

among others, also attended a DEA conference at which the DEA reminded registrants that not

only were they required to report suspicious orders, but also to halt shipments of suspicious orders.

Walgreens, specifically, registered for the conference.

        138.    The DEA’s regulatory actions against the three largest wholesale distributors

further underscore the fact that distributors such as Defendants were well aware of their legal

obligations. There is a long history of enforcement actions against registrants for their compliance

failures. For example, in 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against three of Cardinal Health’s distribution centers and on December 23,

2016, Cardinal Health agreed to pay the United States $44 million to resolve allegations that it

violated the CSA in Maryland, Florida, and New York. Similarly, on May 2, 2008, McKesson

entered into an Administrative Memorandum of Agreement (“AMA”) with the DEA related to its

failures in maintaining an adequate compliance program.             Subsequently, in January 2017,

McKesson entered into an Administrative Memorandum Agreement (“AMA”) with the DEA

wherein it agreed to pay a $150 million civil penalty for, inter alia, failure to identify and report

suspicious orders at several of its facilities.


28
  Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug.
Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8 (“2007 Rannazzisi
Letter”);see also CVS-MDLT1000091513; WAGMDL00757797.



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        139.    The DEA has also repeatedly affirmed the obligations of pharmacies to maintain

effective controls against diversion in regulatory action after regulatory action.29 The DEA, among

others, also has provided extensive guidance to pharmacies on how to identify suspicious orders

and other evidence of diversion.

        140.    DEA has repeatedly emphasized that retail pharmacies, such as Defendants, are

required to implement systems that detect and prevent diversion and must monitor for and report

red flags of diversion. When red flags appear, the pharmacy's “corresponding responsibility”

under 21 C.F.R. § 1306.04(a) requires it either to take steps (and document those steps) to resolve

the issues or else to refuse to fill prescriptions with unresolvable red flags.30

        141.    DEA has identified several types of “unresolvable red flags” which, when present

in prescriptions presented to a pharmacist, may never be filled by the overseeing pharmacist.

These unresolvable red flags include: a prescription issued by a practitioner lacking valid licensure

or registration to prescribe the controlled substances; multiple prescriptions presented by the same

practitioner to patients from the same address, prescribing the same controlled substances in each

presented prescription; a high volume of patients presenting prescriptions and paying with cash;

and, a prescription presented to by a customer who has traveled significant and unreasonable

distances from their home to see a doctor and/or to fill the prescription at the pharmacy.




29
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195; 77 Fed. Reg. 62,316
(DEA Oct. 12, 2012) (decision and order); East Main Street Pharmacy, 75 Fed. Reg. 66,149
(DEAOct. 27, 2010) (affirmance of suspension order); Holiday CVS, L.L.C. v. Holder, 839
F.Supp.2d 145 (D.D.C. 2012); Townwood Pharmacy; 63 Fed. Reg. 8,477 (DEA Feb. 19, 1998)
(revocation of registration); Grider Drug 1 & Grider Drug 2; 77 Fed. Reg. 44,069 (DEA July 26,
2012) (decision and order); The Medicine Dropper; 76 Fed. Reg. 20,039 (DEA April 11, 2011)
(revocation of registration); Medicine Shoppe-Jonesborough; 73 Fed. Reg. 363 (DEA Jan. 2, 2008)
(revocation of registration).
30
   Pharmacy Doctors Enterprises, Inc. v. Drug Enf't Admin., No. 18-11168, 2019 WL 4565481, at
*5 (11th Cir. Sept. 20, 2019).

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       142.    DEA guidance also instructs pharmacies to monitor for red flags that include: (1)

prescriptions written by a doctor who writes significantly more prescriptions (or in larger quantities

or higher doses) for controlled substances as compared to other practitioners in the area, and (2)

prescriptions for antagonistic drugs, such as depressants and stimulants, at the same time. Most

of the time, these attributes are not difficult to detect and should be easily recognizable by

Defendants’ diversion control systems.

       143.    The DEA has also explained these red flags in individual meetings with Defendants.

For example, in December 2010, DEA hosted a meeting with CVS’s representatives and counsel

and advised CVS of the “red flags . . . that a pharmacy should be familiar with in order to carry

out its corresponding responsibility to ensure that the controlled substances are dispensed for a

legitimate medical purpose.”31

       144.    Examples of red flags that the DEA identified during its meeting with CVS include:

                   a. many customers receiving the same combination of prescriptions (i.e.,
                      oxycodone and alprazolam);

                   b. many customers receiving the same strength of controlled substances (i.e.,
                      30 milligrams of oxycodone with 15 milligrams of oxycodone and 2
                      milligrams of alprazolam);

                   c. many customers paying cash for their prescriptions;

                   d. many customers with the same diagnosis codes written on their
                      prescriptions (i.e., back pain, lower lumbar, neck pain, or knee pain); and

                   e. individuals driving long distances to visit physicians and/or to fill
                      prescriptions.32




31
   Declaration of Joe Rannazzisi in Holiday CVS, L.L.C. v. Holder, 839 F. Supp.2d 145 (D.D.C.
2012).
32
   Id.

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       145.    Similarly, in 2011, the DEA took Walgreens “to the woodshed” over its dispensing

cocktail drugs and opioids to questionable out of state customers, customers with the duplicate

diagnoses, young people, and customers only paying cash. Many of these same red flags were

highlighted in the 2009 Walgreens Order to Show Cause and resulting 2011 Memorandum of

Agreement (“MOA”).

       146.    A more fulsome discussion of the various settlement agreements and enforcement

actions against CVS, Walgreens, Rite Aid and Walmart is below.

       147.    As another example, in a 2016 presentation to the American Pharmacists

Association, the DEA reiterated that retail pharmacies must watch for red flags such as: large

numbers of customers who: receive the same combination of prescriptions, receive the same

strength of controlled substance prescription (often for the strongest dose), have prescriptions from

the same prescriber, and have the same diagnosis code.

       148.    Many of these red flags are acknowledged in a “Stakeholders” memorandum

created by many of the Chain Pharmacies, including CVS, Rite Aid, and Walgreens, others in the

business of selling controlled substances for profit, like Purdue Pharma and Cardinal Health, and

their trade organizations, including the HDMA and the NACDS.

               4. Defendants Were Uniquely Positioned to Guard Against Diversion.

       149.    Not only do Chain Pharmacies often have firsthand knowledge of dispensing red

flags – such as distant geographic location of doctors from the pharmacy or customer, lines of

seemingly healthy patients, cash transactions, and other significant information – but they also

have the ability to analyze data relating to drug utilization and prescribing patterns across multiple

retail stores. As with other distributors, these data points give the Chain Pharmacies insight into

prescribing and dispensing conduct that enables them to prevent diversion and fulfil their

obligations under the CSA.

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       150.    Indeed, CVS Health president and CEO Larry Merlo has described the company as

“America’s front door to health care with a presence in nearly 10,000 communities across the

country,” which allowed it to “see firsthand the impact of the alarming and rapidly growing

epidemic of opioid addiction and misuse.”33

       151.    As explained above, in addition to their duties as distributors, the Chain Pharmacies

also had a duty to design and implement systems to prevent diversion of controlled substances in

their retail pharmacy operations. Specifically, the Chain Pharmacies had a duty to analyze data

and the personal observations of their employees for known red flags such as (a) multiple

prescriptions to the same patient using the same doctor; (b) multiple prescriptions by the same

patient using different doctors; (c) prescriptions of unusual size and frequency for the same patient;

(d) orders from out-of-state or distant patients or prescribers; (e) an unusual or disproportionate

number of prescriptions paid for in cash; (f) prescriptions paired with other drugs frequently

abused with opioids, like benzodiazepines, or prescription “cocktails”; (g) volumes, doses, or

combinations that suggested that the prescriptions were likely being diverted or were not issued

for a legitimate medical purpose. The Chain Pharmacies had the ability, and the obligation, to

look for these red flags on a patient, prescriber, store, and chain level, and to refuse to fill and to

report prescriptions that suggested potential diversion.

       152.    As described above and further below, the Chain Pharmacies also possessed

sufficiently detailed and valuable information that other companies were willing to pay them for

it. In 2010, for example, Walgreen’s fiscal year 2010 SEC Form 10-K disclosed that it recognizes




33
  See, e.g., David Salazar, CVS Health Unveils New PBM, Pharmacy Efforts to Curb Opioid
Abuse, (Sept. 21, 2017), https://drugstorenews.com/pharmacy/cvs-health-unveils-new-pbm-
pharmacy-efforts-curb-opioid-abuse


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“purchased prescription files” as “intangible assets” valued at $749,000,000.34 In addition,

Walgreens’s own advertising has acknowledged that Walgreens has centralized data such that

customers’ “complete prescription records” from Walgreens’s “thousands of locations

nationwide” are “instantly available.”

       153.    Similarly, CVS’s Director of Managed Care Operations, Scott Tierney, testified

that CVS’s data vendors included IMS Health, Verispan, and Walters Kluwers and that CVS used

the vendors for “analysis and aggregation of data” and “some consulting services.” He also

testified that CVS would provide the vendors with “prescriber level data, drug level data, plan

level data, [and] de-identified patient data.”35

       154.    Each of the Chain Pharmacies had complete access to all prescription opioid

dispensing data related to its pharmacies in the County, complete access to information revealing

the doctors who prescribed the opioids dispensed in its pharmacies in and around the County, and

complete access to information revealing the customers who filled or sought to fill prescriptions

for opioids in its pharmacies in and around the County. Each of the Chain Pharmacies likewise

had complete access to information revealing the customers who filled or sought to fill

prescriptions for opioids in its pharmacies in and around the County, complete access to

information revealing the opioids prescriptions dispensed by its pharmacies in and around the

County, and complete access to information revealing the opioids prescriptions dispensed by its

pharmacies in and around the County. Further, each of the Chain Pharmacies had complete access

to information revealing the geographic location of out-of-state doctors whose prescriptions for

opioids were being filled by its pharmacies in and around the County and complete access to



34
  https://www.sec.gov/Archives/edgar/data/104207/000010420710000098/exhibit_13.htm
35
  Joint Appendix in Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 687134 (U.S.) *245-46
(Feb. 22, 2011).

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information revealing the size and frequency of prescriptions written by specific doctors across its

pharmacies in and around the County.

       155.    Defendants, until March 2020, resisted producing their dispensing data in this

MDL, and now seek to claw it back. Thus, while Defendants had access to data that would have

demonstrated their knowledge of red flags and potential diversion, plaintiffs have not been able to

access that data to fully analyze both what Defendants knew, or should have known, and the impact

that they could have had in preventing diversion in the County.

               5. Defendants Failed to Maintain Effective Controls Against Diversion.

       156.    As described further below, the Chain Pharmacies failed to fulfill their legal duties

and instead, routinely distributed and/or dispensed controlled substances while ignoring red flags

of diversion and abuse. The unlawful conduct by these Defendants is a substantial cause for the

volume of prescription opioids and the public nuisance plaguing the County.

                       i. CVS

                          a.    CVS Failed to Maintain An Effective Suspicious Order
                               Monitoring System or to Complete Necessary Due Diligence.

                               1. CVS Lacked A Genuine Suspicious Order Monitoring
                                  System for Much of the Relevant Time.

       157.    CVS distribution centers, in tandem with outside wholesalers, such as Cardinal,

supplied opioids to CVS pharmacy stores until October 2014. CVS self-distributed hydrocodone

and hydrocodone combination products to its own stores, of which CVS had approximately 6,000

by 2006 and 9,700 by 2014. Hydrocodone (HCP) was previously a Schedule 2 opioid, but

rescheduled to FDA Schedule 2 status October 6, 2014. CVS ceased self-distributing hydrocodone

the same day the rescheduling took effect.

       158.    CVS pharmacies nationwide placed orders with CVS distribution centers through

CVS’s central mainframe computer ordering system.

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       159.    Before 2009, CVS, which stocked and sold opioids at more than 9,000 stores across

the country, lacked any meaningful suspicious order monitoring (“SOM”). Instead, CVS relied on

the gut instincts of pickers and packers of the drugs in the distribution center – workers responsible

for pulling items off distribution shelves for delivery to pharmacy stores -- to identify “really big”

orders that they believed were simply too large. This, of course, was not an effective SOM system.

       160.    Moreover, CVS lacked a training program to train its Pickers and Packers how to

identify unusual orders of size, frequency, or pattern. CVS also did not have any written policies,

procedures, or protocols with respect to the Pickers’ and Packers’ obligations until August, 2013.

And, there were no formal job requirements to be employed as a Picker and Packer.

       161.    In 2007, with the help of an outside consultant, CVS began work on a Standard

Operating Procedure Manual (“SOP”) that was intended to cover all facets of DEA controlled

substances compliance, including suspicious order monitoring. However, by the Summer of 2010,

neither the final manual nor the SOM section was complete: Internal documents from that time

acknowledge that CVS was “still in the process of writing the suspicious order monitoring section

of this standard operating procedure.” In fact, the section of the Standard Operating procedures

for Suspicious Order Monitoring states “BEING DEVELOPED AND WRITTEN.”

       162.    Drafts of the SOP Manual, meanwhile, show CVS understood, or should have

understood, that this was unacceptable. The draft manual provides that: “CVS is responsible for

ensuring compliance with DEA regulatory requirements, and that responsibility cannot be

abdicated or transferred to anyone else.” Despite this acknowledgement, when the first version of

the SOP Manual was issued in December 2007 and for multiple revisions thereafter, the SOM

section still remained incomplete. It was not completed until August of 2010. Completion of the

Manual in 2010 did not equate to compliance, however.



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       163.    As John Mortelliti, CVS’s Director of Loss Prevention, wrote in November 2009,

this had become “a big issue with CVS and the DEA,” and he was “trying to get a rough draft

SOM SOP” before a DEA meeting. CVS only incorporated the final missing SOMS section

because of the need to fulfill an apparent promise to provide it to the DEA.

       164.    CVS Indiana was audited and investigated by the DEA for its distribution practices

on August 24, 2010. The day after the DEA’s audit of CVS’s distribution practices began, on

August 25, 2010, CVS Pharmacy, Inc. sent a new Standard Operating Procedure, which included

for the very first time a policy on SOM. CVS Pharmacy, Inc. internally posted the SOP be posted

at 1:35 pm on August 26, 2010. The document was hastily put together. The SOM section was

actually cut and pasted into the SOP twice.

       165.    On September 1, 2010, John Mortelliti sent an e-mail to Terrance Dugger who was

present during the DEA audit. The subject of the e-mail and the attachment is “DEA Speaking

Points”, the importance was listed as high. He writes: “Terrence, This is for the DEA. The

corrections listed below have been updated. It is ok to review this with the agents.”

       166.    Mr. Mortelitti then sent the same presentation on the same day to another group of

CVS employees writing: “These are the final approved speaking points for the DEA agents if they

come to one of your facilities and question suspicious monitoring. It is ok to share this document.

Please be sure your team understands it before presenting so it doesn’t look like a prop instead

of a tool.” The presentation sent by Mr. Mortelitti to be shared with the DEA was not correct and

was not the procedure being used by CVS.

       167.    CVS had a “CVS DEA compliance coordinator” in name only. A CVS employee

who held the position from 2008 to 2014 said that her title was only “for reference in SOPs,” and

not her real job. For “personnel purposes,” she was never considered the CVS DEA compliance



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coordinator. Moreover, she had nothing to do with suspicious order monitoring, other than

“updating the SOP with what was provided for the program.”36 This, according to CVS’s “DEA

Compliance Coordinator.”

                      2. CVS Failed to Remedy Fatal Flaws in the System it Slowly
                         Developed.
       168.    It was only in 2009 that CVS began using a computer algorithm that flagged

potentially suspicious orders needing additional investigation.      The automated program was

delivered by an outside vendor to CVS in December of 2008.

       169.    CVS called the output of the flagged orders an Item Review Report (“IRR”).

       170.    The SOM algorithm delivered in December 2008 was designed to “pend” (or

identify) an order with a score of 0.15 or higher as potentially suspicious. The higher the score the

more likely the order was potentially suspicious. In July, 2009 CVS reported to the algorithm

designer that the SOM model was pending a large number of orders that CVS believed were “not

suspicious on their face” and it requested that the model be changed. As a result, revised co-

efficients for the algorithm were delivered to CVS on August 27, 2009 and the pend score of .15

remained the same. Between June, 2010 and August, 2010 Mortelliti adjusted the IRR pend score

from .15 to .65. The higher the score, the less sensitive the model, flagging fewer potentially

suspicious orders for investigation. On February 8, 2011 a completely retuned SOM algorithm

with another set of co-efficients was again delivered to CVS by the algorithm designer. The

February, 2011 changes returned the pend score to .15. CVS again changed the pend score to .65.

       171.    IRRs were the primary SOM process. A CVS corporate representative explained,

on behalf of the company, “for the most part,” if an order was not flagged as suspicious under the




36
  Deposition testimony of CVS employee Amy Propatier (Nov. 29, 2018) at 79:20-80:7; 80:21-
81:2; 82:19-22; 138:21-140:1.

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IRR system, there would be no due diligence of that order. Yet, CVS neglected to provide written

instructions to its employees for how to perform that critical review until February 29, 2012.

       172.     CVS’s IRR system was deficient and failed in many respects to meet CVS’s

obligations.as a distributor.

       173.     CVS also learned in 2010 that its SOM algorithm was not working properly because

it monitored by drug, not active ingredient, meaning that changes in a drug’s description or name

caused historical data to be lost. Thus, the system was unable to determine that orders for these

drugs exceeded or diverged from prior volumes or patterns.

       174.     CVS’s SOMS algorithm also failed to consider outside vendors orders. In other

words, CVS’s SOM system would not track how many opioids CVS was ordering from third party

distributors such as Cardinal when evaluating whether to distribute opioids to one of its

pharmacies. CVS knew this was a problem, as a “[s]tore may order a little from both the OV

[outside vendor] and DC [CVS distribution center] to stay under the radar.” It also knew that

excluding outside vendor data meant CVS “may ship a potentially reportable suspicious order from

[its] DC.” Stores, including one that had a “68,000 hydrocodone pill loss,” could also place

telephone orders to outside vendors, into which there was “no visibility . . . until a later time.”

This deficiency is particularly glaring because, at a corporate level, CVS had full access to the

orders its pharmacies placed to outside vendors.

       175.     Acknowledging the ineffectiveness and deficiencies within its SOM system, CVS

hired new consultants in 2012 to troubleshoot its existing SOM systems for the purpose of either

fixing the deficient system or developing a new SOM system so as to attempt to become compliant

with the law.




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       176.    Still, as late as July 2013, internal e-mail reflects that CVS’s primary tool for

investigating suspicious orders relied on data that was months or even years old and made any

analysis, “for the most part, irrelevant and pointless.”

       177.    Not until mid to late 2014 did CVS fully implement anew SOM system. Even still,

CVS encountered problems in evaluating suspicious orders for opioids and its SOMS was entirely

lacking. More specifically, CVS implemented a new SOM system in the Indianapolis distribution

system in March of 2014. The deployment was further delayed due to system data feed issues that

created inaccuracies in the SOM historical data. A risk analysis of the new system was conducted

in June of 2014. The risk level was determined to be high for the SOM system in the following

categories covering seemingly every aspect of its operation: inconsistent due diligence in SOM

analysts reaching out to stores to investigate suspicious orders; inconsistency in documenting due

diligence investigations of suspicious orders; lack of engagement by the Management Team; lack

of communication between the SOM Management Team and SOM Analysts; lack of resources to

handle the rollout of the new SOM system to all distribution centers; lack of clarity in how the new

SOM system is identifying suspicious orders. Essentially, the key components of a compliant and

effective SOMS system. That same year, CVS stopped distributing opioids at the wholesale level

       178.    Meanwhile, on August 5, 2013 the DEA began another audit and investigation of

the CVS distribution center in Indiana. CVS’s own documents acknowledge that the DEA’s

investigation was focused on its failure to maintain a SOM program for controlled substances.

       179.    In response to queries from the DEA, CVS wrote a letter to the DEA revealing that

it had only stopped seven suspicious orders across the entire country. Right before sending the

letter the author, Mark Nicastro, head of the CVS distribution center in Indiana, conceded

internally that “I wish I had more stopped orders that went back further.” Sadly, while Mr. Nicastro



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was writing the letter on CVS’s behalf to the DEA, he couldn’t even locate the SOP for the SOM

writing to Pam Hinkle, “For the life of me I can’t find the SOP for SOM. Can you send me an

electronic copy please? I have been on the logistics website, looked through hundreds of e-mails,

nothing. I’m surprised it is not on the website.” Ms. Hinkle, Sr. Manager for Logistics, quality

and Compliance for CVS, responds that she too is unsure of the final version of the SOP SOM.

CVS sent the wrong version of the SOP SOM to the DEA.

       180.   In May of 2014, CVS had a closing meeting with the DEA related to the distribution

center audit. According to handwritten notes from a CVS employee who attended the meeting,

the “most serious” violation is “failure to design” a SOM system. An internal CVS e-mail

summarizing the meeting made a similar statement: DEA determined that CVS “faile[d] to

maintain an SOM program.” The head of CVS’s distribution center in Indiana described Betsy

Ferguson’s, CVS’s in-house counsels’, confrontation with the DEA during the meeting writing:

“Dan [DEA Agent] finally pushed Betsy’s button and the gloves came off. . . . Betsy made it very

clear that a letter of admonishment was one thing. Anything other than that and she wanted an

opportunity to do a presentation to his boss and her boss about what we do with SOM. Anything

more than a letter and we would meet in D.C. in courts just like Walgreens did.”

       181.   The DEA issued its closing letter concluding that CVS failed to design and maintain

a system to detect suspicious and report suspicious orders for Schedule III-V Controlled

Substances as required by Title 21 United States Code (USC) 821, Title 21 USC 823(e)(1), and

Title 21 Code of Federal Regulations (CFR) 1301.74(b) in violation of Title 21 USC 842(a)(5).

                      3. CVS Failed to Perform Due Diligence.

       182.   All orders that appeared on the IRR required a thorough due diligence investigation,

but only a very small percentage were subjected to appropriate due diligence. From early/mid-



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2009 through early 2011, one employee, Mortelliti, the Director of Loss Prevention, “was taking

the first pass through the IRR himself.” According to CVS’s corporate witness, “Mr. Mortelliti’s

practice would have been to review the report on a daily basis and determine whether items on the

report warranted further review and due diligence and conduct review and due diligence as he

deemed appropriate.” At select times in 2013, CVS had only one full-time employee in the

position of “SOM analyst” reviewing all potentially suspicious orders for every pharmacy in the

country. The SOM system would identify orders as potentially suspicious based on a number of

factors and “pend” the order. Even though the orders had been identified as potentially suspicious,

the CVS SOM analysts would conduct an “in depth” dive on only select orders. In fact, the SOM

program could identify as many as 1,000 suspicious orders a day; the CVS employee would only

do a “deep dive” on one to six orders per day.

       183.    Even as late as 2012, CVS’s SOMS was clearly little more than window dressing.

For example, CVS’s own SOMS policy specified that if multiple orders for the same store are

flagged during the same month, all orders after the first order will not be investigated and will be

automatically released based on the release of the first order.




       184.    As noted above, as of November 21, 2013, CVS had only reported seven suspicious

orders to the DEA across all of its distribution centers and pharmacies in the United States. The

first suspicious order CVS ever reported was on February 29, 2012. CVS reported no suspicious

orders in Ohio.



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                         b. CVS Conspired with Cardinal and McKesson to Prevent
                            Suspicious Order Monitoring of Its Retail Pharmacies.


       185.   CVS’s collaboration with Cardinal distributors went from lobbying to actually

preventing adequate due diligence investigations of suspicious opioid orders. CVS knows that

Cardinal and McKesson have independent due diligence obligations under the CSA to monitor all

sales of controlled substances for orders which deviate in size, pattern or frequency. CVS

understood that, to do so effectively, Cardinal and McKesson would require access to its

dispensing information. CVS did not provide dispensing information to Cardinal or McKesson.

In an email from Paul Farley to Michael Mone, both Cardinal employees, Farley wrote, “I spoke

with Brian Whalen at CVS a couple of times this morning… They will not provide the doctor or

patient information you requested unless it is requested by the DEA. He was quite adamant about

this.”37 CVS prevented Cardinal and McKesson from obtaining access to critical dispensing

information for its pharmacies to enable Cardinal and McKesson to conduct adequate due diligence

of its pharmacies. Prior to 2013, Cardinal and McKesson did not investigate CVS by calling its

pharmacists or visiting CVS stores as they did with other pharmacies. Instead, distributors were

instructed to contact CVS’s loss prevention offices at corporate headquarters to inquire about

suspicious orders. ensuring that any investigation into CVS ordering of opioids was conducted by

CVS alone.

       186.   As a result, CVS controlled all “due diligence investigations” of its opioid orders.

This chart produced by Cardinal depicts the due diligence “investigations” of CVS orders:




37
  See Exhibit 4 to Deposition testimony of Donald Morse, Anti-Diversion of Controlled
Substances at Cardinal (December 13, 2018), pp. 2-3.

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       187.    CVS also prevented its distributors from independently determining the appropriate

order thresholds for opioids at CVS stores. CVS contractually protected its right to establish and

change its threshold requirement for Schedule II controlled substances with Cardinal. The

agreement expressly states that CVS has the discretion under the contract to set its threshold

quantities for controlled substances at any level CVS deems appropriate:

       CVS requires the ability to adjust (up or down) the quantity of product our stores
       receive, this adjustment will be made on an NDC by NDC basis and will include a
       Threshold Quantity and an Adjustment Percentage. Both the Threshold Quantity
       and Adjustment Percentage can be set to any value CVS deems appropriate.

                          c. CVS Acquired Omnicare Knowing of Systemic Failures to
                             Control Against Diversion, But Instead of Reform, Continued
                             Business As Usual.

       188.    In 2015, CVS Health Corp. acquired Omnicare, which provides pharmacy-related

services to long-term care facilities and other health care facilities throughout the United States.

Omnicare dispenses controlled substances under Certificates of Registration issued by the DEA.




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From 2006 through 2014, Omnicare distributed 2,487,060 dosage units of oxycodone and

hydrocodone into Lake County, Ohio.

          189.   When CVS acquired Omnicare, CVS was fully aware the DEA had previously

investigated Omnicare for “alleged errors and deficiencies in paperwork requirements for

controlled-substances dispensing at several of the company’s pharmacies in Ohio.”38 Omnicare

publicly acknowledged the DEA’s Ohio investigation in its 2010 SEC filings, which Omnicare

later settled in 2012. CVS was also aware the DEA had previously investigated Omnicare in 2007

for countrywide violations of the CSA that also led to a settlement with the Agency. In Ohio, the

DEA determined that between 2007 and 2012 Omnicare:

                dispensed controlled substances to residents of long-term care facilities without
                 valid prescriptions, including but not limited to dispensing controlled substances
                 pursuant to written orders that did not contain all of the elements of a valid
                 prescription including the signature of the prescribing practitioner, in violation of
                 21 U.S.C. §§ 353(b), 829 and 842(a)(1) and 21 C.F.R. §§ 1306.11 and 1306.21;

                failed to comply with all of the elements of the emergency oral prescription
                 requirements set forth in 21 C.F.R. § 1306.11(d), including but not limited to
                 dispensing Schedule II controlled substances or authorizing facility staff to remove
                 Schedule II controlled substances from emergency supplies located at long-term
                 care facilities without oral authorizations directly from prescribing practitioners
                 and failing to notify the nearest office of DEA if the prescribing individual
                 practitioner failed to deliver a written prescription to the pharmacy within seven
                 days, in violations of 21 U.S.C §§ 8429(a)(1) and (a)(5);

                dispensed controlled substances to residents of long-term care facilities without
                 prescriptions meeting the requirements of 21 C.F.R. §§ 1306.05(a) and 1306.11(f),
                 including but not limited to dispensing controlled substances pursuant to pre-
                 populated prescriptions prepared by the pharmacies and dispensing controlled
                 substances pursuant to written orders that lacked one or more of the following: the
                 signature of the practitioner, the date of issuance, the full name and address of the
                 patient, the drug name, strength, dosage form, quantity prescribed, directions for
                 use, or the name, address and DEA registration number of the practitioner, in
                 violation of 21 U.S.C § 842(a)(1);


38
     “Omnicare Faces Federal Probe, Wall Street Journal, 28 Oct. 2010.

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              not maintaining records of prescriptions for controlled substances listed in Schedule
               II in compliance with 21 C.F.R. part 1304, in violation of 21 U.S.C. § 842(a)(5).39
       190.    In 2012, Omnicare paid $50 million to resolve these allegations.

       191.    Since its acquisition by CVS, Omnicare has continued to violate the CSA. This

week Omnicare settled additional charges made by the DEA paying $15.3 million. The DEA

recently found that Omnicare again violated the CSA:

       in its handling of emergency prescriptions, its controls over the emergency kits, and
       its processing of written prescriptions that had missing elements. The federal
       investigation found that Omnicare failed to control emergency kits by improperly
       permitting long-term care facilities to remove opioids and other controlled
       substances from emergency kits days before doctors provided a valid prescription.
       The investigation also revealed that Omnicare had repeated failures in its
       documentation and reporting of oral emergency prescriptions of Schedule II
       controlled substances.40

       177.    Many of the recent allegations made by the DEA repeat precisely those violations

Omnicare engaged in before 2012. The Acting Administrator of the DEA stated, “Omnicare failed

in its responsibility to ensure proper controls of medications used to treat some of the most

vulnerable among us.”41 CVS, fully aware of the past compliance failures and fully aware of the

enormous danger posed to the public from the diversion of opioids, failed to properly monitor and

create a corporate system through which it could ensure that its subsidiaries complied with the

CSA.

                          d. CVS Failed to Maintain Effective Controls Against Diversion in
                             the County.

       192.    Through seven pharmacies in the County, CVS purchased more than 16.9 million

dosage units of oxycodone and hydrocodone from 2006 to 2014, the years for which ARCOS data



39
   Settlement Agreement between DEA and Omnicare dated May 10, 2012.
40
   Press Release May 13, 2020, “Omnicare, Inc. agrees to pay more than $15 million to resolve
allegations it improperly dispensed narcotics at long term care facilities.”
41
   Id.

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is available. Of that, CVS distribution centers (CVS Indiana, CVS RX Services, CVS TN)

distributed more than 7.2 million dosage units of hydrocodone into Lake County from 2006-2014,

and Lake County CVS stores ordered an additional 561,450 dosage units of hydrocodone from

Cardinal during that same time-frame.

       193.    As a vertically integrated distributor and dispenser of prescription opioids, CVS

knew or should have known that an excessive volume of pills was being sold into Ohio and Lake

County and ultimately, onto its streets. CVS’s activities as a distributor and a seller or dispenser

of opioids are inextricably linked.

       194.    CVS violated the standard of care for a distributor by failing to: (a) control the

supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids

in quantities it knew or should have known could not be justified and signaled potential diversion.

       195.    The sheer volume of prescription opioids distributed to and dispensed by CVS

pharmacies in and around the County, with a population of fewer than 210,000 residents during

the same time period, is indicative of potential diversion and required appropriate due diligence.

       196.    Further, a Willoughby CVS alone bought over 4.5 million dosage units of

oxycodone and hydrocodone from 2006-2014, which was enough for approximately 22 pills per

year for each of the 22,259 people who live in the city of Willoughby—notwithstanding the fact

that there was also a Walgreens located only a half a mile away that flooded the same area with

over 3.8 million dosage units of oxycodone and hydrocodone from the same time period. On top

of that, there were at least nine additional pharmacies within a five mile radius of these high-buying

Walgreens and CVS locations.




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        197.    CVS funneled far more opioids into Ohio and the County, and out of its pharmacy

doors, than could have been expected to serve legitimate medical use, and ignored other red flags

of diversion, including but not limited to suspicious orders.

        198.    It cannot be disputed that CVS, was aware of the suspicious orders that flowed from

its distribution facilities into its own stores. CVS simply refused to identify, investigate, and report

suspicious orders even though CVS knew, or should have been fully aware, that opioids it

distributed and sold were likely to be diverted. Conversely, CVS failed to report suspicious orders,

failed to meaningfully investigate or reject suspicious orders, and failed to prevent diversion, or

otherwise control the supply of opioids flowing into Ohio the County.

        199.    Upon information and belief, CVS failed to analyze: (a) the number of opioid

prescriptions filled by its pharmacies relative to the population of the pharmacy’s community; (b)

the increase in opioid sales relative to past years; and (c) the number of opioid prescriptions filled

relative to other drugs.

        200.    CVS was, or should have been, fully aware that the opioids being distributed and

dispensed by it were likely to be diverted; yet, it did not take meaningful action to investigate or

to ensure that it was complying with its duties and obligations with regard to controlled substances,

including its responsibility to report suspicious orders and not to ship such orders unless and until

due diligence allayed the suspicion.

        201.    Given CVS’s retail pharmacy operations, in addition to its role as a wholesale

distributor, CVS knew or reasonably should have known about the disproportionate flow of

opioids into Ohio and the County and the operation of “pill mills” that generated opioid

prescriptions that, by their quantity or nature, were red flags for, if not direct evidence of, illicit

supply and diversion.



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        202.    In addition, CVS knew, or deliberately turned a blind eye, to its pharmacies’ role

in diversion of dangerous drugs. At the pharmacy level, discovery will reveal that CVS knew or

should have known that its pharmacies in Ohio, and the surrounding area, including West Virginia,

Michigan, and Kentucky, were (a) filling multiple prescriptions to the same patient using the same

doctor; (b) filling multiple prescriptions by the same patient using different doctors; (c) filling

prescriptions of unusual size and frequency for the same patient; (d) filling prescriptions of unusual

size and frequency from out-of-state patients; (e) filling an unusual or disproportionate number of

prescriptions paid for in cash; (f) filling prescriptions paired with other drugs frequently abused

with opioids, like benzodiazepines, or prescription “cocktails”;42 (g) filling prescriptions in

volumes, doses, or combinations that suggested that the prescriptions were likely being diverted

or were not issued for a legitimate medical purpose; and (h) filling prescriptions for patients and

doctors in combinations that were indicative of diversion and abuse. Also, upon information and

belief, the volumes of opioids distributed to and dispensed by these pharmacies were

disproportionate to non-controlled drugs and other products sold by these pharmacies, and

disproportionate to the sales of opioids in similarly sized pharmacy markets. CVS had the ability,

and the obligation, to look for these red flags on a patient, prescriber, and store level, and to refuse

to fill and to report prescriptions that suggested potential diversion.

        203.    Failures regarding dispensing in CVS’s Florida stores also allowed diverted opioids

to be funneled into the County. The well-travelled path between Florida and Ohio is described

further below. And, CVS saw huge increases in the quantity of oxycodone it dispensed in Florida

from 2006 to 2010. For example, starting with an already high baseline, a single CVS ordered



42
  According to definitions applied by CVS for suspicious order monitoring purposes, “cocktails
for opioids are methadone, muscle relaxants, stimulants and benzodiazepines.”


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approximately four times the amount of oxycodone a typical pharmacy orders in one year in 2006.

By 2010, the same pharmacy’s 10-month history showed quantities more than thirty times the

amount of oxycodone a typical pharmacy orders in one year, and the pharmacy’s supervisor could

not explain why the volume was so high. During that time, Cardinal was the pharmacy’s main

distributor, and two of CVS’s Florida pharmacies were among Cardinal’s top four retail pharmacy

customers, dispensing a staggering amount of oxycodone compared to Cardinal’s other Florida

customers. Interviews with employees of these pharmacies revealed that they routinely observed

red flags and obvious signs that they were filling illegitimate prescriptions. One set a daily limit

of oxycodone 30mg prescriptions the pharmacy would fill each day, basing the limit on the amount

in stock that day, so as to ensure that the “real pain patients” could get their prescriptions filled.43

The pharmacy usually reached its limit by lunchtime each day, and at times within 30 minutes of

opening. Customers, aware that prescriptions were first come, first served, would line up outside

the store as early as 7:45 AM. An employee acting as “bouncer” included escorting off the

premises customers who were “hooked” on opioids and became belligerent if their prescriptions

were refused among his job duties.44 Although CVS had in place dispensing guidelines for

controlled substances prescriptions, these guidelines were not followed at these stores. Rather,

they dispensed controlled substances prescriptions despite clear red flags.45

       204.    Because of its vertically integrated structure, CVS has access to complete

information regarding red flags of diversion across its pharmacies in and around the County, but

CVS chose not to utilize this information and failed to effectively prevent diversion.




43
   Declaration of Joseph Rannazzisi, Holiday CVS, LLC d/b/a CVS/Pharmacy Nos. 5195/219 v.
Eric Holder, Jr. et al., No. 1:12-cv-191, Doc. 19-6 ¶¶ 38-41 (D.D.C. Feb. 24, 2012).
44
   Id. ¶ 41.d.
45
   Id. ¶¶ 48 & 56.

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                          e. CVS Failed to Implement Effective Policies and Procedures to
                             Guard Against Diversion from its Retail Stores.

       205.    By 2009, CVS Pharmacy, Inc. owned and/or operated more than 9,000 pharmacies

in the United States. According to its website, CVS now has more than 9,900 retail locations. At

all times relevant herein, CVS pharmacies sold controlled substances, including FDA Schedule II

and FDA Schedule III controlled substances otherwise known as opiate narcotics or opioids.

       206.    “CVS Corporation,” not any individual CVS store, is the DEA registrant for each

of CVS’s pharmacies across the country.      CVS renews the DEA licenses for its pharmacies

through a “Registration Chain Renewal.” From October 2013 through December 2016, CVS

headquarters paid more than $5 million to renew the licenses for 7,597 CVS locations, including

a CVS in the County.

       207.    As described above, until October 6, 2014, CVS pharmacies ordered and were

supplied FDA Schedule III hydrocodone combination products (HCPs) from a combination of

outside vendors and CVS distribution centers. CVS pharmacies also received Schedule II opioids

from outside vendors, with Cardinal acting as its exclusive outside supplier for the entire period

for which ARCOS is available. Upon information and belief, McKesson also acts or has acted as

an outside vendor for CVS.

       208.    CVS Pharmacy, Inc. instituted, set-up, ran, directed and staffed with its own

employees the majority of the SOM functions for its pharmacy stores.

       209.    CVS also lacked meaningful policies and procedures to guide its pharmacy staff in

maintaining effective controls against diversion, even as they evolved over time. Not until 2012

did CVS create guidelines explaining in more detail the “red flags” or cautionary signals that CVS

pharmacists should be on the lookout for to prevent diversion and to uphold their corresponding




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responsibilities to ensure that all dispensed controlled substances are issued for a legitimate

medical purpose.

         210.   Even so, CVS’s conduct, and the volume it dispensed in the County thereafter

indicates that its policies were not applied. In addition, as discussed further below CVS had

performance metrics in place that pressured pharmacists to put profits ahead of safety.

         211.   CVS failed to use data held at the corporate level to assist pharmacists in evaluating

red flags of diversion. CVS’s later dispensing policies and procedures make clear that for the

majority of the time CVS has been engaged in the sale and dispensing of opioids, there was no

meaningful integration of data and information that was within the possession and control of CVS

corporate personnel.

         212.   Notably, with respect to CVS’s suspicious order monitoring system for its

wholesale distribution, the MDL Court has denied a motion for summary judgment contesting the

evidence regarding the inadequacy of its SOM system in that litigation. See Opinion and Order

[Denying CVS’s Motion for Summary Judgment], MDL No. 2804, Doc.3099 (N.D. Ohio Jan. 27,

2020).

                       ii. Walgreens.

         213.   Acting as both a distributor and a retail pharmacy chain, Walgreens also self-

distributed opioids to its own individual Walgreens pharmacies.           Although Walgreens had

visibility into red flags of diversion due to its vertically integrated distribution and dispensing

practices, it failed to take these factors into account in its SOM program during the vast majority

of the time it was distributing prescription opioids. Moreover, its program was wholly inadequate

and did not fulfill its duties to prevent diversion. Likewise, Walgreens also failed to maintain

effective controls against diversion from its pharmacy stores.



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                                 Walgreens Dragged Its Feet on Developing a SOMS Program,
                                 Instead Relying on After-the-Fact Reports of “Excessive”
                                 Orders While Ignoring Red Flags.

          214.   Though Walgreens had access to significant information about red flags due to its

vertical integration with its stores, Walgreens failed to use available information to monitor and

effectively prevent diversion.

          215.   At least as early as 1998, and perhaps as early as 1988, Walgreens began to utilize

a series of formulas to identify orders that Walgreens deemed to be suspicious based on the orders’

extraordinary size. These orders were listed on a report called the Suspicious Control Drug Order

report.

          216.   Walgreens used two different formulas: one formula from (at least) 1998-2007 and

one formula from March 2007 through 2012. These formulas were alike in that they each utilized

an average number based on historical orders, applied a three times multiplier to that base number,

and then deemed certain orders which were greater than that number to be suspicious. Under the

later formula, orders were only listed on the report as being suspicious if the orders exceeded the

three times multiplier for two consecutive months in a given time period. Walgreens based this

second formula on the DEA’s Chemical Handler’s Manual’s order monitoring system for listed

chemicals.

          217.   The first variation on this formula was in place until March 2007, even though the

DEA warned Walgreens that the “formulation utilized by the firm for reporting suspicious ordering

of controlled substances was insufficient,” via a May 2006 Letter of Admonition. The Letter cited

Walgreens for controlled substances violations at its Perrysburg, Ohio Distribution Center, but

highlighted problems that went far beyond that particular facility.

          218.   The DEA also reminded Walgreens that its suspicious ordering “formula should be

based on (size, pattern, frequency),” though Walgreens failed to even examine anything other than

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the size of an order. When Walgreens did update its program some ten months later, however, it

still did not perform the size, pattern, and frequency analysis prescribed by the DEA, continuing

to use another “three times” formula.

        219.    Even with its ample threshold, each Walgreens Suspicious Control Drug Order

report could be thousands of pages or more in length.

        220.    Walgreens did not perform any due diligence on the thousands of orders identified

as “suspicious” on the Suspicious Control Drug Order reports, but instead shipped the orders

without review.

        221.    Walgreens did not report the suspicious orders listed on the Suspicious Control

Drug Order report until after the orders were already filled and shipped. The report was generated

on a monthly, nationwide basis, directly contravening the regulatory requirement that suspicious

orders be reported when discovered. 21 C.F.R. 1301.74(b). In some instances, months may have

elapsed between an order’s shipment and its subsequent reporting to the DEA, given the

requirement, described above, of two consecutive months of exceeding the three times multiplier

to trigger reporting.

        222.    In September 2012, the DEA issued an immediate suspension order (“ISO”) for one

of Walgreens’s three Schedule II distribution centers, finding Walgreens’s distribution practices

constituted an “imminent danger to the public health and safety” and were “inconsistent with the

public interest.” The DEA further found that Walgreens’s Jupiter distribution center failed to

comply with DEA regulations that required it to report to the DEA suspicious drug orders

that Walgreens received from its retail pharmacies, resulting in at least tens of thousands of

violations, particularly concerning massive volumes of prescription opiates. There, the DEA

stated: “Notwithstanding the ample guidance available, Walgreens has failed to maintain an



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adequate suspicious order reporting system and as a result, has ignored readily identifiable orders

and ordering patterns that, based on the information available throughout the Walgreens

Corporation, should have been obvious signs of diversion occurring at [its] customer pharmacies.”

       223.    In the ISO, the DEA also specifically considered the Suspicious Control Drug Order

reports and made the following further findings of fact and conclusions of law regarding the reports

and Walgreens’s suspicious order monitoring system—applicable across Walgreens’s operations:

              “[Walgreens’s] practice with regard to suspicious order reporting was to
               send to the local DEA field office a monthly report labeled ‘Suspicious
               Control Drug Orders.’”

              “[The Suspicious Control Drug] reports, consisting of nothing more than an
               aggregate of completed transactions, did not comply with the requirement
               to report suspicious orders as discovered, despite the title [Walgreens]
               attached to these reports.”

              Upon review of an example of the Suspicious Control Drug Order report for
               December 2011, “[Walgreens’s] suspicious order report for December 2011
               appears to include suspicious orders placed by its customers for the past 6
               months. The report for just suspicious orders of Schedule II drugs is 1712
               pages and includes reports on approximately 836 pharmacies in more than
               a dozen states and Puerto Rico.”

              Finding that the reports failed to appropriately consider the population and
               area being served by the pharmacy: “This report from the Jupiter [Florida]
               Distribution Center covers pharmacies in multiple states and Puerto Rico,
               yet the average order and trigger amount is the same for a particular drug
               regardless of the pharmacy’s location, the population it serves, or the
               number of other pharmacies in the area.”

              “As made clear in 21 CFR§ 1301.74(b), Southwood, and the December 27,
               2007 letter to distributors from the Deputy Assistant Administrator for the
               Office of Diversion Control, suspicious orders are to be reported as
               discovered, not in a collection of monthly completed transactions.
               Moreover, commensurate with the obligation to identify and report
               suspicious orders as they are discovered is the obligation to conduct
               meaningful due diligence in an investigation of the customer and the
               particular order to resolve the suspicion and verify that the order is actually
               being used to fulfill legitimate medical needs. This analysis must take place
               before the order is shipped. No order identified as suspicious should be
               fulfilled until an assessment of the order’s legitimacy is concluded.”


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                  “DEA’s investigation of [Walgreens] ... revealed that Walgreens failed to
                   detect and report suspicious orders by its pharmacy customers, in violation
                   of 21 C.F.R. §1301.74(b). 21 C.F.R. § 1301.74(b).”

                  “. . . DEA investigation of [Walgreens’s] distribution practices and policies ...
                   demonstrates that [Walgreens] has failed to maintain effective controls
                   against the diversion of controlled substances into other than legitimate
                   medical, scientific, and industrial channels, in violation of 21 U.S.C. 55
                   823(b)(l and (e)(l). [Walgreens] failed to conduct adequate due diligence of
                   its retail stores, including but not limited to, the six stores identified above,
                   and continued to distribute large amounts of controlled substances to
                   pharmacies that it knew or should have known were dispensing those
                   controlled substances pursuant to prescriptions written for other than a
                   legitimate medical purpose by practitioners acting outside the usual course of
                   their professional practice. . . . [Walgreens has not] recognized and
                   adequately reformed the systemic shortcomings discussed herein.”

                  “[DEA’s] concerns with [Walgreens’] distribution practices are not limited
                   to the six Walgreens pharmacies [for which DEA suspended Walgreens’
                   dispensing registration].”

                               b. Walgreens Knew its After-the-Fact Excessive Purchase Reports
                                  Failed to Satisfy Its Obligations to Identify, Report, and Halt
                                  Suspicious Orders.

        224.       Walgreens knew its procedures were inadequate well before the 2012 ISO issued.

In addition to the guidance described above, in 1988, the DEA specifically advised Walgreens that

“[t]he submission of a monthly printout of after-the-fact sales does not relieve the registrant of the

responsibility of reporting excessive or suspicious orders.” The DEA further advised Walgreens

that, while “[a]n electronic data system may provide the means and mechanism for complying with

the regulations...the system is not complete until the data is carefully reviewed and monitored by

the registrant.”

        225.       Despite this instruction, there is no evidence that Walgreens ever took any action

related to the Suspicious Control Drug Order report besides generating it and mailing it out.

Walgreens has admitted that there is no evidence that Walgreens ever performed a due diligence

review on any of the orders listed on the Suspicious Control Drug Order report before shipment.


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One of the managers for Walgreens’s Pharmaceutical Integrity (“RX Integrity”) Department stated

that, when he was with the Loss Prevention Department, he “basically burned the data on a CD

and sent it off. I didn’t dive into each individual report or CD” and that he “would look at it briefly,

but just to see if the data transferred to the CD, but that’s about the extent.”46 In an errata submitted

in connection with a deposition in the MDL, Walgreens acknowledged that it “is currently unaware

of due diligence that was performed based on orders being flagged . . .”47

        226.    As described above, in May 2006, the DEA told Walgreens again that the formula

Walgreens was using to identify suspicious orders for the Suspicious Control Drug Order reports

was “insufficient” and “inadequate.”

        227.    Moreover, in September 2007, three Walgreens’s senior employees (Dwayne

Pinon, Senior Attorney; James Van Overbake, Auditor; and Irene Lerin, Audit Manager) attended

the DEA Office of Diversion Control’s 13th Pharmaceutical Industry Conference in Houston,

Texas. Michael Mapes, Chief, DEA, Regulatory Section, gave a presentation at this Conference

relating to suspicious orders, which included the reminder that the CSA “requirement is to report

suspicious orders, not suspicious sales after the fact.” Participant notes from this meeting indicate

that Mr. Mapes advised the audience not to “confuse suspicious order report with an excessive

purchase report. They are two different things.”

        228.    Similarly, handwritten notes on an internal document from July 2008 state that

“DEA really wants us to validate orders and only report true suspicious orders or what was done

to approve orders.” They go on to state that “[j]ust reporting these orders is not good enough –

need to document what happened.”




46
     E Stahmann Dep. at 287: 16-23.
47
     See E. Bratton 30(b)(6) Dep. Erratum No. 3, Ex. 333.

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       229.    Additionally, in November 2012, the Walgreens’s Divisional Vice President of

Pharmacy Services reported to Kermit Crawford, Walgreens’s President of Pharmacy, Health and

Wellness, his notes from meeting with the DEA about reporting suspicious orders, which included

the note, “[i]f suspicious - you don't ship.”

       230.    In a December 2008 Internal Audit of its Perrysburg Distribution Center,

Walgreens admitted to systemic and longstanding failures in the systems surrounding DEA

compliance:

       In our opinion internal controls that ensure compliance with DEA regulations at the
       Perrysburg DC require improvement. In addition, some of these issues pertain to
       all company DCs and should be addressed to avoid potential DEA sanctions.
       Specifically, our review found four issues previously cited in the DEA’s May 2006
       inspection report that are still open. In addition, four issues noted in our previous
       audit (report dated July 2005) remain un-remediated. Areas requiring the greatest
       level of improvement are as follows:

       DC-wide:

              pseudoephedrine reporting requirements and inventory maintenance

              suspicious controlled drug order processing and reporting

              controlled drug reporting, specifically receiving record information

              lack of formalized CII controlled substance policies and procedures.

       231.    The Internal Audit goes on to state that “Walgreens is required to have a process to

disclose to the DEA any suspicious orders of controlled substances that deviate from the normal

size, pattern, and frequency. Any orders that are deemed to be suspicious are required to be

reported to the DEA upon discovery.” It also notes that while “Walgreens produces monthly

Suspicious Controlled Drug Orders report,” the audit team recommended discussions continue

across multiple departments within Walgreens regarding “reporting suspicious control drug

orders” and an “Updated Suspicious Control Drug Order Identification Methodology,” with an

“Estimated Completion Date for the New Reporting” of “June 30 2009.” In this respect, too, it

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makes clear that the failures described are systemic. The audit also underlined Walgreens’s lack

of urgency in addressing the problems, indicating that the next “Cross-Functional Meeting” to

address the “Updated Suspicious Controlled Drug Order Identification Methodology” would not

occur for more than five months, at the end of May 2009.

                           b. Walgreens Lacked Meaningful Additional Systems to Address
                              the Failures in Its System of After-the-Fact Reporting of Certain
                              Orders.

       232.    Walgreens nominally employed additional procedures within its distribution

centers; however, these systems did not address the failings of the Suspicious Control Drug Order

reports. These distribution center systems were not designed to detect suspicious orders of

controlled substances, but rather were designed to detect typos or errors in order entry by the stores.

Walgreens admits that its Distribution Centers are “more akin to supply warehouses,” are “not

designed to be a backstop to pharmacists,” and that they are not well “equipped to ensure

compliance” or to “assist in combatting controlled substance abuse,” and “do not have the ability

to detect trends in local markets.”

       233.    The Distribution Center (“DC”) level procedures are documented in a 2006

Questionable Order Quantity policy, which had two facets: first, it instructed DC personnel to

review orders and contact the pharmacy with questions regarding quantities. The policy did not

mention reporting suspicious orders until 2010, when it was updated to state that the Corporate

Office Internal Audit Department would handle suspicious store orders and inquiries. There is no

evidence that the Internal Audit department had any involvement in reporting suspicious orders.

       234.    The second aspect of this DC level procedures required “pickers,” the DC personnel

who actually retrieved pill bottles off the shelves and placed them into totes for shipping, to look

for “questionable” orders while picking.



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       235.    The only review of the orders identified by the DC level procedures was calling the

pharmacy to make sure the order had not been entered in error. Walgreens admitted this procedure

was not intended to detect suspicious orders.

       236.    There is no evidence that any orders were ever reported as suspicious or halted as

a result of Walgreens’s distribution-center level policies. There is no evidence these procedures

resulted in timely reporting of, due diligence on, or non-shipment of any order, including those

listed as being “suspicious” on the Suspicious Control Drug Order reports.

       237.    Walgreens’s documents effectively acknowledge that these were not true anti-

diversion measures, and it recognized internally that it did not begin creating a suspicious order

monitoring [“SOM”] system until March 2008. Specifically, in March 2008, Walgreens finally

formed a five department “team” to “begin creating” a SOM program. The new SOM program

was not piloted until more than a year later, in August 2009, and even then, the pilot included

orders form just seven stores. Not until September 2010 would the program, implemented in

pieces and phases, be rolled out chain-wide, and from that point it took several more years to fully

implement.

       238.    Through 2012, Walgreens continued to populate the Suspicious Control Drug

Order report with thousands of orders that exceeded Walgreens’s “three times” test, showing that

Walgreens’s post-2009 SOM program did little to mitigate the extraordinary volume of controlled

substances being shipped by Walgreens to its pharmacies.

                          c. Even as it Rolled Out its New SOM Program, Walgreens Left
                             Significant Gaps and Loopholes in Place and Failed to Report
                             and Perform Due Diligence on Orders It Flagged.

       239.     Walgreens did not prioritize compliance when instituting its SOM system. MDL

testimony from the Senior Director of the Walgreen’s Pharmaceutical Integrity Department, which

is charged with supervising Walgreens’s SOM system, revealed that even as late as 2012, 2013,

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and 2014, Walgreens’s viewed the SOM system as an inventory control mechanism rather than as

a compliance control mechanism:

       Q: Now, Walgreens’s system, similar to my alarm, is there to detect a potential red
       flag. Would you agree with that?

       A: It was put in place to ensure that the stores had the proper quantities. Not
       necessarily to . . . detect a red flag. The whole idea was to make sure that the stores
       were getting the quantities that they needed based on their peer group.

       240.    Perhaps because keeping supply moving, as opposed to preventing diversion, was

Walgreens’s primary focus, the SOM program Walgreens slowly developed had significant gaps

or loopholes. For example, for the first few years, the program did not include orders that

Walgreens stores were also placing to outside vendors, like Cardinal and AmerisourceBergen,

allowing stores to order opioids from Walgreens distribution centers and from Cardinal and

AmerisourceBergen, effectively permitting double dipping. It also did not prevent stores from

placing an order to an outside vendor if the store attempted to place the order to a Walgreens DC,

but was rejected by the new SOM system.

       241.    The new SOM-lite system also allowed Walgreens’s stores to transfer controlled

substances between stores and did not review these transfers (known as “interstores”) within the

SOM program, so that these transfers were not factored into SOM analytics. Additionally, stores

could also place ad hoc “PDQ” (“pretty darn quick”) orders for controlled substances outside of

their normal order days and outside of the SOM analysis and limits. Walgreens could even remove

a store entirely from SOM review.

       242.    Further, although the new SOM algorithm identified more than 389 pages of

suspicious orders per week as of August 2010, it failed to identify all the orders that Walgreens

had marked as suspicious under its “three times” formulas and previously listed on its Suspicious

Control Drug Order reports and submitted to the DEA “on a monthly basis.” This “discrepancy”


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prompted an internal email from an employee in Walgreens’s Loss Prevention Department, to

Walgreens’s Vice President, Distribution Centers and Logistics, suggesting that “the new system

should be tested further and enhanced to provide broader coverage of controlled substance activity.

The same e-mail stated that “we are not equipped to handle the 389+ pages of ADR4 [suspicious

order monitoring] data which are compiled nationwide each week,” and asked if his department

had “a resource available” to assist. An email in response “recall[ed] the old paper report as being

inches thick” and an instruction “in 1985 not to review or contact anyone on the data,” and

inquired, among other things, “[w]ho from your group has been reviewing the data collected for

the past twenty-five years?” and “[a]t present is anyone doing any review on what would be

considered suspicious quantities that are physically ordered and are releasing to stores?”

       243.    Starting in 2010, certain orders that exceeded store-based limits imposed by

Walgreens’s new SOM system were reduced to the store limit and shipped out. These orders were

not reported to the DEA as suspicious, nor were they halted for review. The DEA found that

Walgreens’s policy of reducing and then filling and shipping suspicious orders without reporting

them violated the law:

       This policy ignores the fact that the reporting requirement of 21 CFR § 1301.74(b)
       applies to orders, not shipments. A suspicious order placed by a customer pharmacy
       is made no less suspicious by application of a system designed to reduce or
       eliminate such orders prior to shipping. Construing the regulation this way defeats
       the essential purpose of the suspicious order requirement, which, as I stated in
       Southwood, is “to provide investigators in the field with information regarding
       potential illegal activity in an expeditious manner.” 72 FR at 36501.

       244.    Walgreens’s post-2009 SOM system flagged thousands of items per month as being

suspicious. Internal Walgreens documents indicate that, in July 2011 alone, as many as 20,699

orders for controlled substances were “marked suspicious” by the new algorithm. However, very

few of these orders received any review, and any review performed was nominal at best.



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Meanwhile, Walgreens failed to adequately staff the program and to train its employees regarding

its requirements.

       245.    Walgreens cited two people as being primarily responsible for performing due

diligence on suspicious orders in the 2009-2012 time period under the new SOM system. The first

was a representative from the Loss Prevention department who said her department was “not

equipped” to handle review and data analysis for the hundreds of pages of reports being compiled

nationwide each week. The second was Barbara Martin, who estimated that she spent somewhere

between one and three hours a week reviewing suspicious orders, reviewing only between 10 to

100 of the thousands of orders that were deemed suspicious under the new algorithm. Walgreens

did not provide Ms. Martin access to information about the area the store was serving, the order

history for comparable stores, or any other data beyond the sales and order history for that store.

If an order did not “make sense” to her based on those limited resources, she testified that she

would call the store or district manager or pharmacy supervisor.     She lacked authority to take

“direct action” on an order.

       246.    Walgreens has previously cited to a series of email exchanges with Ms. Martin and

her deposition testimony as exemplars of its due diligence procedures under the post-2009 SOM

program. In the emails, which date from January 10-11, 2011 and are between Ms. Martin and a

Walgreens Distribution Center (“DC”) employee, the DC employee notes that “several stores that

are ordering huge quantities of 682971 [30 mg oxycodone] on a regular basis.” The DC employee

continued, with respect to a single store, “we have shipped them 3271 bottles [of 30 mg

oxycodone] between 12/1/10 and 1/10/11. I don’t know how they can even house this many bottles

to be honest. How do we go about checking the validity of these orders?” Ms. Martin noted that

the store had average weekly sales of 36,200 dosage units, which was equal to 362 bottles per



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week, stating, “I have no idea where these stores are getting this type of volume. The last pharmacy

I was manager at did about 525 rxs/day and we sold about 500 tabs a month (5 bottles).” Ms.

Martin then told the DC employee that she could call the district pharmacy supervisor to see if he

“may be able to shed some light on the subject.” Despite the fact that questions had been raised

about this store ordering volume in January 2011, the very next month, Walgreens filled and

shipped orders totaling another 285,800 dosage units of 30 milligram oxycodone to the same

pharmacy, which was located in a town of less than 3,000 people.

       247.    In her deposition, Ms. Martin stated that she never even attempted to determine the

size of the community that was receiving these “huge quantities” of oxycodone. She further

testified that she was not near that store, did not have access to the store’s prescriptions or patient

information, and as noted above, couldn’t take any “direct action.” Approximately 18 months

after this email exchange, as a result of DEA action, Walgreens agreed to surrender its DEA

registration for this same store that Ms. Martin reviewed as part of her exemplary “due diligence.”

       248.    In the ISO regarding the Distribution Center, the DEA found specifically regarding

the orders that were the subject of these email exchanges, that “[b]ased on the evidence available

to DEA, none of these orders were reported to DEA as suspicious and all appear to have been

shipped, without any further due diligence to verify their legitimacy.” The DEA further found

regarding this purported “due diligence,” that Walgreens “failed to conduct any meaningful

investigation or analysis to ensure that the massive amounts of commonly abused, highly addictive

controlled substances being ordered by these pharmacies were not being diverted into other than

legitimate channels.” The DEA noted that “[Walgreens] has been unable to provide any files

related to any effort to adequately verify the legitimacy of any particular order it shipped to its

customer stores.”



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       249.    These failures were not limited to the specific Florida pharmacies and distribution

center described above; instead, they reflect systemic failures of Walgreens’s SOM system that

impacted its distribution in the County, as well. Walgreens admits that the SOM systems and

procedures at all of its DCs were the same, including those at the facilities that continued shipping

opioids into the Plaintiff County. Accordingly, it is not surprising that, in February 2013, the DEA

issued similar Subpoenas and Warrant of Inspection on the Perrysburg DC in Ohio to those issued

to the Jupiter DC in Florida. Walgreens employees made plans in preparation for the Perrysburg

DC being “shut down” by the DEA, like the Jupiter DC. Within weeks of receiving the six

subpoenas and warrant, Walgreens decided to “discontinue distribution of controlled substances

from the Perrysburg facility” in order to “eliminate any immediate need for further DEA

administrative action” regarding the Perrysburg facility.

       250.    Walgreens has admitted that both the Florida and Ohio DCs distributed prescription

opioids into Ohio.

       251.    Further, after the DEA began its investigation, Walgreens held meetings with and

informed the DEA that it was implementing “new changes” to “enhance” its SOM program.

Internal documents reveal that Walgreens improved its SOM program only “in an effort to

convince the DEA that the proposed penalty is excessive.”

       252.    Even so, by November 2012, the program still did not halt the orders for due

diligence evaluation or report the orders as suspicious. Further, at that time, the program began to

automatically reduce orders that violated ceiling thresholds.

       253.    There also is no evidence that these flagged or cut orders were reported as

suspicious to the regulatory authorities.




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          254.   As a result of the DEA investigation, Walgreens formed the Pharmaceutical

Integrity (“Rx Integrity”) Team in 2012, purportedly to make sure that those types of failures did

not continue. However, the group’s true role was protecting Walgreens’s Distribution Centers and

stores from losing their DEA licenses. The effort was only for show. Walgreens never provided

the Rx Integrity group the resources needed to achieve due diligence on the large number of orders

identified by Walgreen’s SOM program for the company’s 5,000 plus stores.

          255.   In December 2012, the further enhanced SOM system flagged “14,000 items that

the stores ordered across the chain that would have to be investigated” before they could be

shipped. 48 Walgreens admitted that yet again it did not have sufficient resources to timely review

these orders. Walgreens noted that “[t]he DEA would view this as further failures of our internal

processes, which could potentially result in additional pharmacies and distribution centers being

subjected to regulatory actions and ultimately prohibited from handling controlled substances.”

At the time these 14,000 orders were flagged Walgreens Rx Integrity Team was comprised of

fewer than five people. 49 Even at its height, Rx Integrity had only eleven employees. Instead of

sufficiently staffing the SOM program, Walgreens recognized it had the ability to control its due

diligence workload by increasing the stores’ ceiling levels, and thereby reducing the number of

orders that would hit that ceiling and result in a flag.

          256.   As described below, Walgreens admits to failures in its suspicious order monitoring

prior to 2012. Comparing the 2013 SOM system to the previous system, one of Walgreens’s

Pharmaceutical Integrity Managers in August 2013 explained:

          The Controlled Substances Order Monitoring system now in place sets limits for
          each item based on the chain average for that item for stores of similar size. If a
          particular store fills more of this item than normal and needs additional product we


48
     WAGMDL00659270.
49
     Polster Dep., at 240:3-15.

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         would need to document the reason and increase via a CSO Override .... The
         purpose for this is to ensure we have performed adequate review before sending in
         additional inventory.

         The previous system would continue to send additional product to the store
         without limit or review which made possible the runaway growth of dispensing
         of products like Oxycodone, that played a roll [sic] in the DEAs investigation
         of Walgreens.50

         257.   Yet, even in 2013, orders being flagged as suspicious for review before shipment

were “a week old” before they made it to the review team, often “ha[d] already been shipped,” and

were not being reported.

         258.   Walgreens never equipped its distribution operations to monitor, report, and halt

suspicious orders, or otherwise effectively prevent diversion. When it became clear Walgreens

would need to devote significant resources to achieve compliance, Walgreens chose instead to

cease controlled substance distribution all together. Walgreens stated that “while the financial

impact of no longer . . . [self distributing] from the Walgreens DCs was taken into consideration,

there is a greater risk to the company in fines and loss of licenses if we continue to sell these items

in our warehouses.”

         259.   Indeed, with respect to Walgreens’s suspicious order monitoring system for its

wholesale distribution, the MDL Court has denied a motion for summary judgment contesting the

evidence regarding the inadequacy of its SOM system in that litigation. See Order [Denying

Walgreen’s Motion for Summary Judgment], MDL No. 2804, Doc. 2569 (N.D. Ohio Sept. 4,

2019).

                           e. Walgreens Failed to Put in Place Adequate Polices to Guard
                              Against Diversion at the Pharmacy Level.




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     WAGMDL00021425 (emphasis added).

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       260.    Although Walgreens purported to have in place “Good Faith Dispensing” (“GFD”)

Policies for many years, it failed to meaningful apply policies and procedures, or to train

employees in its retail pharmacies on identifying and reporting potential diversion.

       261.    Despite knowing that prescribers could contribute to diversion, and having a

separate and corresponding duty with respect to filling prescriptions, from at least 2006 through

2012, Walgreens’s dispensing policies, which it titled “Good Faith Dispensing”, or “GFD”,

explicitly instructed pharmacists who “receive[] a questionable prescription” or otherwise were

“unable to dispense a prescription in good faith” to “contact the prescriber” and, if “confirm[ed]”

as “valid” by the prescriber, to then “process the prescription as normal.” Further, though

Walgreens’s policies listed a handful of “questionable circumstances,” such as “increased

frequency of prescriptions for the same or similar controlled drugs by one presciber[,] for large

numbers of patients [,] for quantities beyond those normally prescribed,” it is unclear what, if any,

resources Walgreens made available to its pharmacists for checking these vague criteria, which, in

any event, became meaningless if a prescriber “confirm[ed]” the prescription as “valid,” by calling

the prescriber. For example, in 2010 when a pharmacy manager expressed concern about

significant numbers of opioid prescriptions from pain clinics, and being help responsible for

“excessive c2 rx dispensing,” her district supervisor instructed her “not [to] refuse script for large

quantities” but simply to “call the MD’s, document it on the hard copy[,] and that is all that is

needed to protect your license.” Despite internally recognizing that “a prescriber of a controlled

substance prescription [may be] involved in diversion”, Walgreens’s GFD policies continued to

endorse calling the doctor as a greenlight to any “questionable” prescription.

       262.    In 2012, Walgreens finally removed the “process the prescription as normal”

language from its formal GFD policies, admitting that under the law “it is not enough to get



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confirmation that the prescriber wrote the prescription.” However, Walgreens still failed to ensure

it complied with its duties.

       263.      Upon information and belief, Walgreens failed to adequately train its pharmacists

and pharmacy technicians on how to prevent diversion, including what measures and/or actions to

take when a prescription is identified as phony, false, forged, or otherwise illegal, or when other

suspicious circumstances are present. To be clear, this required no inquiry into whether an opioid

prescription was the proper treatment for a particular patient; instead, as a registrant, Walgreens

was obligated, and failed, to implement policies and procedures at a corporate level to identify and

address signs of diversion. Compare United States v. Hayes, 595 F.2d 258 (5th Cir. 1979) (“It is

also evident that a pharmacist can fulfill his responsibility under s 1306.04 without practicing

medicine. The facts of this case show how a pharmacist can know that prescriptions are issued for

no legitimate medical purpose without his needing to know anything about medical science.”).

       264.      Indeed, during the course of a 2009 DEA investigation into Walgreens dispensing

noncompliance, Walgreens internally noted that it currently had “no training” for employees

dispensing controlled substances. Meanwhile, Walgreens corporate officers turned a blind eye to

these abuses. In fact, a Walgreens corporate attorney suggested, in reviewing the legitimacy of

prescriptions coming from Florida, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’s attitude that profit outweighed compliance with the law or protecting

public health.

       265.      Ultimately, in 2011, Walgreens and the DEA entered a Memorandum of Agreement

regarding all “Walgreens . . . pharmacy locations registered with the DEA to dispense controlled

substances,” requiring Walgreens to implement significant nationwide controls lacking in its



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operations. Walgreen Co. was required to create a nationwide “compliance program to detect and

prevent diversion of controlled substances as required by the … (CSA) and applicable DEA

regulations.” Pursuant to the MOA, the “program shall include procedures to identify the common

signs associated with the diversion of controlled substances including but not limited to, doctor-

shopping and requests for early refills” as well as “routine and periodic training of all Walgreens

walk-in, retail pharmacy employees responsible for dispensing controlled substances on the

elements of the compliance program and their responsibilities under the CSA.” Further, Walgreens

was required to “implement and maintain policies and procedures to ensure that prescriptions for

controlled substances are only dispensed to authorized individuals pursuant to federal and state

law and regulations.”

       266.    Walgreens would also make more promises in a 2013 MOA with the DEA,

described further below, related to failures to that lead to the ISOs described above.

       267.    Even after development and a relaunch of its GFD policy in response to settlements

with the DEA, however, Denman Murray, Director of Rx Supply Chain Retail, stated in an MDL

deposition that, “traditionally, we’ve always treated a controlled substance like any other, [a]

widget’s a widget to the system.”

       268.    Further, after the GFD “relaunch” in April 2014, a Walgreens “RxIntegrity”

presentation focused on Walgreens “Market 25,” but also assessing “average market” trends,

reported that “pharmacists [were] not being too strict with GFD, nor [were] they losing volume.”51

       269.    As with distribution, Walgreens failed to allocate appropriate resources to

dispensing compliance and supervision. Walgreens has approximately 26,000 pharmacists, each




51
   Market 25 consisted of Indiana, Kentucky, and West Virginia. Similar results reported for
Market 3, Florida.

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of whom may receive as many as 400-500 prescriptions a day. In 2013, however, Walgreens

internally reported that its District Managers and Pharmacy Supervisors were “challenged to get

into the stores” and in a 90-day period, more than a thousand stores did not receive a visit from the

managers or supervisors. These supervisory personnel were assigned a “high number of stores”

and their time was consumed with “people processes, business planning, market and district

meetings,” such that supervision in store was being handled informally by “community leaders”

who have “limited formal authority.”

       270.    A Walgreens internal audit performed after the 2013 DEA settlement confirms that

Walgreens’s supervision and compliance failures continued. Among other failings, the audit team

noted no formal monitoring program existed to confirm that pharmacies across the chain are

complying with controlled substance documentation and retention requirements, no monitoring

outside of the deficient “store walk program” existed to monitor target drug good faith dispensing

requirements and no corporate reporting was being generated, and employees were failing to

timely complete Good Faith Dispensing training, such that, at the time of the audit, over 35,000

employees had not completed their required training for that year. Management’s response largely

was to seek to incorporate additional compliance measures into the store walk procedure.

However, documents from 2016 regarding monthly store compliance walks indicate that during

the monthly “Compliance Walks” to “verify compliance … [with] regulatory requirements in…

pharmacy areas,” substantially no dispensing compliance supervision occurred, outside of

ensuring the pharmacy was verifying the patient’s address on five sample prescription fills.

       271.    Unsurprisingly, compliance with GFD and TD GFD has been poor. For example,

in 2014 Walgreens discovered a pharmacist who failed to follow GFD for five to six months

without being discovered by supervisors. In 2014, Rx Integrity noted dozens of stores dispensing



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opioids without performing the required checks. In certain cases, the pharmacists were unaware

of the GFD procedures or had been told by supervisors to disregard them.

       272.    In 2015, Walgreens performed a “business continuity” audit of a random sample of

approximately 2,400 pharmacies to determine whether Walgreens was “compliant with the

policies/procedures put in place” regarding dispensing pursuant to Walgreens’s agreement with

the DEA. In Walgreens’s own words, “Results were unfavorable.” Fewer than 60% of stores were

complying with TD GFD with respect to filled prescriptions, 1,160 stores did not have a single

refused prescription, and an additional 1,182 stores had refused fewer than 25 prescriptions total

in a nine-month period. Only 63 out of 2,400 pharmacies had refused 26 or more prescriptions

during that same nine months in 2015.

                           f.   Walgreens Assumed Greater Responsibility for Controlling
                                Against Diversion by Discouraging Outside Vendors from
                                Exercising Their Own Oversight.

       273.    The “Big Three” wholesalers, Cardinal, McKesson, and AmerisourceBergen, gave

deferential treatment to chain pharmacies, such as Defendants. An internal Cardinal document for

example, stresses that “certain chain pharmacies refuse to allow any sort of administrative

inspection by Cardinal or to make certifications” and that large, national chains can “take their

billions upon billions of dollars in business to any wholesaler in the country.”

       274.    Thus, for example, in 2008, Cardinal prepared talking points for a NACDS

Conference about its planned retail chain SOM program, making it clear that the program would

“minimize the disruption” to retail chains and that they would “work together” with the pharmacies

“ to ensure that our Suspicious Order Monitoring program for retail chains does not interrupt”

business. Cardinal also provided warnings to chain pharmacies, including Walgreens, that they

were approaching thresholds so that the chains could avoid triggering SOM reporting and adjust

ordering patterns by, for example, delaying orders or, more often, obtaining a threshold increase.

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Such “early warnings” were so helpful to Walgreens that as of 2012 Walgreens adopted the

concept for its own SOM system for self-distribution, noting internally that by “flagging the stores

at 75%,” it could “avoid cutting/reducing orders and subsequently not have to report a SOM to the

DEA.”

        275.   Preferential treatment of Walgreens ultimately was not enough for Cardinal to keep

Walgreens’s business, however.        In 2013, Walgreens entered a ten-year agreement with

AmerisourceBergen Drug Company. The shift to AmerisourceBergen as its exclusive supplier

prompted Cardinal to complain: “we bailed you guys out when you had your [DEA] issues.”

        276.   By 2017, Walgreens accounted for 30% of AmerisourceBergen’s revenue.

AmerisourceBergen was similarly deferential, allowing Walgreens to “police their own orders

and block any order to [AmerisourceBergen (“ABC”)] that would exceed ABC’s threshold thus

triggering a suspicious order being sent to DEA from ABC. Additionally, when AmerisourceBergen

received orders from Walgreens “outside the expected usage,” Walgreens and AmerisourceBergen

met to discuss adjusting thresholds or using “soft blocking.” Contrary to DEA guidance and its own

stated policy, AmerisourceBergen also shared the threshold limits set by its “order monitoring

program” with Walgreens, and also provided Walgreens with weekly SOM statistics.

AmerisourceBergen generally would not take action on Walgreens orders that exceeded its

thresholds without first talking to Walgreens.52

        277.   Walgreens also owns 26% of AmerisourceBergen’s stock. In 2018, after a coalition

of AmerisourceBergen shareholders sought greater transparency from its Board related to the

“financial and reputational risks associated with the opioid crisis,” Walgreens, together with other



52
    Rite Aid received similar accommodations from McKesson, which forwarded it dialed
monitoring reports so that Rite Aid could “let [McKesson know] if it needed to make any
adjustments to its thresholds. MCKMDL00646634.

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insiders, reportedly leveraged this position to defeat the proposal, which enjoyed majority support

among the independent shareholders.

                          g. Walgreens Failed to Maintain Effective Controls Against
                             Diversion in the County.

       278.    As described above and further below, as both a distributor and a dispenser,

Walgreens ignored red flags of diversion in Ohio and the County.

       279.    In the County, as a distributor, Walgreens shipped more than 13.1 million dosage

units of oxycodone and hydrocodone. Even this supply, however, was not enough for its six stores

in the County. In total, at the pharmacy level, Walgreens purchased more than 15.6 million dosage

units of oxycodone and hydrocodone shipped to seven pharmacies from 2006 to2014.

       280.    Further, analysis of ARCOS data also reveals that one Lake County Walgreens

alone purchased more than 3.8 million dosage units of oxycodone and hydrocodone from 2006 to

2014, and two other Lake County Walgreens purchased more than 3.2 million dosage units and

2.4 million dosage units of these drugs, respectively, during the same time frame. The highest-

buying Walgreens in the County during this time purchased enough oxycodone and hydrocodone

for approximately 19 pills per year for each of the 22,259 people who live in the city of Willoughby

– notwithstanding the fact that, as described above, there was also a CVS located only a half a mile

away that flooded the same area with over 4.5 million dosage units of these drugs during the same

time period, and at least nine additional pharmacies within a five-mile radius of these high-buying

Walgreens and CVS locations.

       281.    Walgreens violated the standard of care for a distributor by failing to: (a) control

the supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of

opioids in quantities it knew or should have known could not be justified and signaled potential

diversion.


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       282.    The volume of opioids Walgreens shipped into, and dispensed from locations in,

the County was so high as to raise a red flag that not all of the prescriptions being ordered could

be for legitimate medical uses.

       283.    Yet, upon information and belief, Walgreens did not timely report any suspicious

order in the County between 2007 and 2014. Instead, Walgreens funneled far more opioids into

Ohio and the County than could have been expected to serve legitimate medical use, and ignored

other red flags of suspicious orders. This information, along with the information known only to

distributors such as Walgreens (especially with its pharmacy dispensing data), would have alerted

Walgreens to potential diversion of opioids.

       284.    In addition, Walgreens also distributed and dispensed substantial quantities of

prescription opioids in other states, including Florida, as described above, and these drugs were

diverted from these other states to Ohio. Walgreens failed to take meaningful action to stop this

diversion despite its knowledge of it, and it contributed substantially to the opioid epidemic in

Ohio and in the County.

       285.    Walgreens knew the flood of pills being supplied into Florida were being diverted

into Ohio. For example, a DEA presentation Walgreens produced as part of discovery in the MDL

specifically ties this “Florida Migration” to Ohio, stating that the “[v]ast majority of ‘patients’

visiting Florida ‘pain clinics’ come from out of state: . . . [including] Ohio.” Walgreens also knew

that the DEA was conducting a “crackdown on Florida pharmacies where the market is notorious

for illicit prescription painkillers” and that Walgreens’s own pharmacies accounted for 53 of the

top 100 retail sellers of oxycodone in Florida. Walgreens knew as well that these pills being sold

into the “epicenter[s] of [the] notorious well-documented epidemic of prescription drug abuse…

were migrating to other states,” and that many “prescriptions [were] not for a legitimate medical



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purpose.” Walgreens also received presentations highlighting an Ohio drug ring’s trips to Florida

to get pills, and significant volumes of opioid prescriptions from Florida doctors for Ohio and

Kentucky patients being filled in Ohio.

        286.    Walgreens also developed and maintained highly advanced data collection and

analytical systems. These sophisticated software systems monitor the inventory and ordering

needs of customers in real-time and depicted the exact amounts of pills, pill type, and anticipated

order threshold for its own stores.

        287.    Through this proprietary data, Walgreens had direct knowledge of patterns and

instances of improper distribution, prescribing, and use of prescription opioids in Ohio, including

in the County. It used this data to evaluate its own sales activities and workforce. Walgreens also

was in possession of extensive data regarding individual doctors’ prescribing and dispensing to its

customers, the percentage of a prescriber’s prescriptions that were controlled substances,

individual prescription activity across all Walgreens stores, and the percentages of prescriptions

purchased in cash. Such data are a valuable resource that Walgreens could have used to help stop

diversion, but it did not.

        288.    Upon information and belief, Walgreens, by virtue of its data analytics, was actually

aware of indicia of diversion, such as (1) individuals traveling long distances to fill prescriptions;

(2) prescriptions for drug “cocktails” known for their abuse potential, such as oxycodone and

Xanax; (3) individuals who arrived together with identical or nearly identical prescriptions; (4)

high percentage of cash purchases; and (5) doctors prescribing outside the scope of their usual

practice or geographic area. However, Walgreens ignored these obvious red flags.

        289.    Upon information and belief, based on other enforcement actions against the

company, Walgreens also failed to adequately use data available to it to identify doctors who were



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writing suspicious numbers of prescriptions and/or prescriptions of suspicious amounts or doses

of opioids, or to adequately use data available to it to prevent the filling of prescriptions that were

illegally diverted or otherwise contributed to the opioid crisis.

       290.    Upon information and belief, Walgreens failed to analyze: (a) the number of opioid

prescriptions filled by its pharmacies relative to the population of the pharmacy’s community; (b)

the increase in opioid sales relative to past years; and (c) the number of opioid prescriptions filled

relative to other drugs.

       291.    Upon information and belief, based on other enforcement actions against the

company, Walgreens also failed to conduct adequately analyze and address its opioid sales to

identify patterns regarding prescriptions that should not have been filled and to create policies

accordingly, or if it conducted such reviews, it failed to take any meaningful action as a result.

       292.    Discovery will reveal that Walgreens knew or should have known that its

pharmacies in Ohio, and the surrounding area, including West Virginia, Michigan, and Kentucky,

were (a) filling multiple prescriptions to the same patient using the same doctor; (b) filling multiple

prescriptions by the same patient using different doctors; (c) filling prescriptions of unusual size

and frequency for the same patient; (d) filling prescriptions of unusual size and frequency from

out-of-state patients; (e) filling an unusual or disproportionate number of prescriptions paid for in

cash (f) filling prescriptions paired with other drugs frequently abused with opioids, like

benzodiazepines, or prescription “cocktails”; (g) filling prescriptions in volumes, doses, or

combinations that suggested that the prescriptions were likely being diverted or were not issued

for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

combinations that were indicative of diversion and abuse. Also, upon information and belief, the

volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to non-



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controlled drugs and other products sold by these pharmacies, and disproportionate to the sales of

opioids in similarly sized pharmacy markets. Walgreens had the ability, and the obligation, to

look for these red flags on a patient, prescriber, and store level, and to refuse to fill and to report

prescriptions that suggested potential diversion.

       293.    Walgreens admits its role in the opioid epidemic, stating it has the “ability – and []

critical responsibility – to fight the opioid crisis” as the “nation’s largest pharmacy chain” in a time

when “[a]ddiction to prescription painkillers, heroin, and other opioids has surged, with opioid

overdoses quadrupling in this decade” and “drug overdose deaths – the majority from prescription

and illicit opioids” resulting in “more fatalities than from motor vehicle crashes and gun homicides

combined.” Walgreens also admits the “opioid crisis” is caused by “misuse, abuse and addiction”

that result from the “flow of opioids that fuel the epidemic.”

                       iii. Rite Aid

                               Rite Aid. Failed to Maintain Effective Controls Against
                               Diversion at the Wholesale Level.

       294.    Rite Aid distributed Schedule III (“CIIIs”) controlled substances (e.g., hydrocodone

combination products) to its own Rite Aid stores until late 2014. Rite Aid distributed to the County

through its Perryman Distribution Center (Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic

Customer Support Center) and its Liverpool Distribution Center (Eckerd Corporation d/b/a Rite

Aid Liverpool Distribution Center), both DEA registrants.

       295.    Rite Aid’s controlled substance distribution process was fairly simple. Rite Aid

used a computerized “auto-replenishment system” (ARS) through which individual Rite Aid

pharmacies would generate orders that were sent to the distribution center (DC). This ARS relied

directly on dispensing data and the dispensing patterns of individual Rite Aid stores. If the ARS

generated an order that was above Rite Aid’s universal 5,000 dosage-unit (DU) threshold, the DC


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employees filling the order were supposed to manually recognize that the order was above

threshold. If they did observe an order over threshold, the only “review” of the order was an

attempt to call the pharmacy that placed the order to verify the order amount was correct (i.e., that

it was not a “fat-finger” error). If the pharmacy confirmed that the above-threshold order amount

was correct, or if the DC simply could not contact the pharmacy, the order was cut to the threshold

and shipped. All the above-threshold orders were supposed to be maintained on a handwritten log

containing only basic information about the order.

       296.    After the orders had shipped, Rite Aid monitored its inventory through its

Navicase/Naviscript system. The Rite Aid Asset Protection Department used “key performance

indicators” (KPIs) to analyze data about ordering from the Rite Aid stores to identify diversion

through theft. Yet, as numerous Rite Aid witnesses have testified, Rite Aid did not use the

Navicase/Naviscript system to identify—much less report—suspicious orders. Furthermore,

assuming that the Navicase/Naviscript could identify suspicious orders, the Navicase/Naviscript

data analysis only took place after shipment. Moreover, Rite Aid’s 30(b)(6) representative in the

MDL, Janet Getzey Hart, testified that the “asset protection KPIs were utilized to review orders

and then lead to diversion cases if there were some issues with it,” but “they were not used to

report suspicious orders.”

       297.    Rite Aid maintained a small, inadequate list of suspicious prescribers but did not

make any efforts to identify or report any suspicious orders from stores Rite Aid knew were

dispensing prescriptions for those suspicious prescribers. Further, given that orders would have

already shipped, Rite Aid did not incorporate “suspicious prescriber” information that it may have

collected in determining whether an order from any location was suspicious.




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       298.    Ultimately, Rite Aid’s distribution system made it nearly impossible for any order

to be identified, much less reported, as suspicious. As a result of the company’s policies and

procedures, Rite Aid did not – and indeed, could not – identify what was unusual because all Rite

Aid DCs had a static, blanket threshold for all Rite Aid stores above which Rite Aid would cut the

order. The threshold, which never changed, was set at of 5,000 DUs, per national drug code (NDC),

per order (although Rite Aid does not know why it was set at 5,000 DUs). Rite Aid stores typically

ordered once per week, but some stores ordered twice per week and others ordered every two

weeks. That means that at its lowest, the Rite Aid threshold was 10,000 DUs per month, per store

and at its highest it was 40,000 DUs per month, per store.

       e.      Despite the extremely high threshold amount, Rite Aid did not have a procedure

that required anyone to report an order that came in over the universal threshold as suspicious.

Instead, DC employees would “cut” the order down to the threshold and then ship the order. Rite

Aid did no due diligence on orders that came in over the blanket threshold. An overwhelming

number of the “cut” orders, if not all, were not reported to the DEA until after the fact, if at all.

       299.    Rite Aid also had little to no records about past order history to determine if an

order was suspicious. The Perryman DC kept what was called a “Threshold Log,” which contained

in hard copy only basic information about orders that exceed the threshold: date of order, store

number, item number, item description, quantity ordered, allowable quantity, and the reason for

the allowable quantity. But, any use of the log to potentially identify suspicious orders was only

done sporadically and after the above-threshold orders were cut and shipped.

       300.    Additionally, Rite Aid placed the responsibility to identify orders of unusual size,

orders deviating substantially from a normal pattern, and orders of unusual frequency on




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employees whom the DEA coordinator at the Rite Aid’s distribution center, testified were not able

to actually do so.

       301.    Recognizing its failure to have a system, Rite Aid did begin to develop a suspicious

order monitoring system for the first time in 2013. In documenting such efforts, Rite Aid stated

as follows:

       The purpose of this project is to develop effective controls against the diversion of
       controlled substances and conduct adequate due diligence to ensure that controlled
       substances distributed from the Distribution Centers are for legitimate patient
       needs. Rite Aid must ensure compliance with 21 U.S.C. 823 and/or C.F.R.
       1307.74(b) to detect and report suspicious orders of controlled substances through
       the Distribution Centers.

       In the end, however, Rite Aid never adopted the new SOM system because it stopped

distributing controlled substances before this system could be implemented.

       302.    With respect to Rite Aid’s suspicious order monitoring system for its wholesale

distribution, the MDL Court has denied a motion for summary judgment contesting the evidence

regarding the inadequacy of its SOM system in that litigation. See Opinion and Order [Denying

Rite Aid’s Motion for Summary Judgment], MDL No. 2804, Doc. 3100, 2020 WL 425940 (N.D.

Ohio Jan. 27, 2020).

                          b. Rite Aid Conspired with McKesson to Avoid Scrutiny of Outside
                             Vendor Orders and Adjust or Avoid Thresholds.

       303.    Rite Aid conspired with McKesson to avoid suspicious order reporting. McKesson

was Rite Aid’s exclusive wholesaler for Schedule II controlled substances, including opioids,

during the relevant time period. Rite Aid also ordered CIIIs from McKesson during the relevant

time period. Rite Aid ordered CIIIs from McKesson not only when it stopped self-distributing in

late 2014, but McKesson also supplemented Rite Aid stores’ supply of Schedule III controlled

substances during the period when Rite Aid self-distributed controlled substances.



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       304.    McKesson provided Rite Aid with notification of stores hitting McKesson’s

thresholds and regularly granted threshold increases without conducting any due diligence. For

example, when a McKesson report revealed a number of Rite Aid stores were at 90% of their

threshold and about to be flagged, McKesson offered to – and did - increase the thresholds for all

Rite Aid locations by 50%. McKesson also forwarded daily monitoring reports to Rite Aid so that

Rite Aid could “let [McKesson] know” if McKesson “need[ed] to make any adjustments to

current thresholds.”

       305.    On one occasion, Rite Aid noted that over 10% of its stores came close to being

blocked, and McKesson simply asked Rite Aid how high it wanted the thresholds increased.

McKesson also prompted Rite Aid to delay its orders until the next month in order to avoid hitting

monthly thresholds when they were getting close.

       306.    A striking example of Rite Aid’s collaboration with McKesson to avoid suspicious

order reporting occurred in Ohio. Customers of Dr. Adolph Harper. Dr. Harper, now in prison, is

an ob-gyn who prescribed opioids at shocking volumes and doses to patients who included large

numbers of men, who frequented Rite Aid stores to fill their prescriptions. Rite Aid worked with

McKesson to ensure an increase in the amount of opioids Rite Aid could order from McKesson

specifically to meet the illegitimate demand from Dr. Harper. Neither Rite Aid nor McKesson

reported any of these orders as suspicious.

       307.    Rite Aid allowed its stores to order from McKesson without any restriction and

failed to take those orders into account in Rite Aid’s self-distribution SOM system, negating any

constraints from Rite Aid’s even limited internal controls

                          c. Rite Aid Failed to Guard Against Diversion in Distributing to the
                              County.




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       308.    In the County, Rite Aid violated the standard of care for a distributor by failing to:

(a) control the supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt

shipments of opioids in quantities it knew or should have known could not be justified and signaled

potential diversion.

       309.    Rite Aid self-distributed more than 1.6 million dosage units, of oxycodone and

hydrocodone from 2006 to 2014 to pharmacies in the County, the years for which ARCOS data is

available. The volume of opioids Rite Aid shipped into, and dispensed from locations in, the

County is so high as to raise a red flag that not all of the prescriptions being ordered could be for

legitimate medical uses.

       310.    Rite Aid funneled far more opioids into Ohio and the County than could have been

expected to serve legitimate medical use, and ignored other red flags of suspicious orders. This

information, along with the information known only to distributors such as Rite Aid (especially

with its pharmacy dispensing data), would have alerted Rite Aid to potential diversion of opioids.

Yet, Rite Aid admits that it never identified any suspicious orders before or after shipment,

much less reported any suspicious orders to the DEA.

       311.    Upon information and belief, Rite Aid, by virtue of the data available to it, was

actually aware of indicia of diversion, such as (1) individuals traveling long distances to fill

prescriptions; (2) prescriptions for drug “cocktails” known for their abuse potential, such as

oxycodone and Xanax; (3) individuals who arrived together with identical or nearly identical

prescriptions; (4) high percentage of cash purchases; and (5) doctors prescribing outside the scope

of their usual practice or geographic area. However, Rite Aid ignored these obvious red flags.

       312.    Rite Aid therefore, was aware of the suspicious orders that flowed from its

distribution facilities. Rite Aid refused to identify, investigate, and report suspicious orders despite



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its actual knowledge of drug diversion. Rather, Rite Aid failed to report suspicious orders, prevent

diversion, or otherwise control the supply of opioids flowing into Ohio and the County.

       313.    Upon information and belief, Rite Aid failed to analyze: (a) the number of opioid

prescriptions filled by its pharmacies relative to the population of the pharmacy’s community; (b)

the increase in opioid sales relative to past years; and (c) the number of opioid prescriptions filled

relative to other drugs.

       314.    Rite Aid was, or should have been, fully aware that the opioids it distributed and

dispensed were likely to be diverted; yet, it did not take meaningful action to investigate or to

ensure that it was complying with its duties and obligations with regard to controlled substances,

including its responsibility to identify and report suspicious orders and not to ship such orders

unless and until due diligence allayed the suspicion.

       315.    Given Rite Aid retail pharmacy operations, in addition to its role as a wholesale

distributor, Rite Aid knew or reasonably should have known about the disproportionate flow of

opioids into Ohio and the County and the operation of “pill mills” that generated opioid

prescriptions that, by their quantity or nature, were red flags for, if not direct evidence of, illicit

supply and diversion.

                           d. Rite Aid Failed to Guard Against Diversion in Dispensing to the
                              County.

       316.    Rite Aid pharmacies routinely have dispensed opioids in violation of the Controlled

Substances Act and accompanying regulations. Such conduct was a result of Rite Aid’s lack of

robust policies and procedures regarding dispensing controlled substances as well as Rite Aid’s

focus on profitability over its legal obligations and public safety.

       317.    Rite Aid’s dispensing policies and procedures used at all its Rite Aid pharmacies

nationally were deficient in many ways. A few examples are illustrative.


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         318.    Rite Aid implemented a policy for dispensing “high-alert” controlled substances

 for the first time in 2013. The policy was a simple checklist consisting of six steps: 1) Receive the

 prescription; 2) Validate the Prescription; 3) Validate the Prescriber: 4) Validate the Patient; 5)

 Decide to dispense or not to dispense; and 6) Report any suspicious activity. Yet Rite Aid provided

 little to no guidance on how to perform the vague tasks and the policy was little more than words

 on a page. In another example, Rite Aid only started to alert its pharmacists of patients’ attempts

 to get early refills – a red flag of diversion – in 2016.

         319.    Rite Aid also did nothing to ensure that even its pro forma policies were being

 followed. Rite Aid did not audit its pharmacies for compliance with its own controlled substances

 dispensing policies or compliance with the CSA’s requirements regarding legal dispensing.

         320.    As a sophisticated, national chain pharmacy, Rite Aid had the ability to analyze

 data relating to drug utilization and prescribing patterns across multiple retail stores in diverse

 geographic locations. Its own data would have allowed Rite Aid to observe patterns or instances

 of dispensing that are potentially suspicious, of oversupply in particular stores or geographic areas,

 or of prescribers or facilities that seem to engage in improper or illegitimate prescribing.53

         321.    Yet, Rite Aid only started tracking “High Alert data” in September, 2015 at the

 corporate level. Even then, it did not use the data to effectively comply with its legal obligations

 to prevent diverison and ensure only legal prescriptions were being filled at its pharmacies. For

 example, Rite Aid provided its pharmacists no visibitlity into the data it collected, thereby

 depriving them of an invaluable resource when evaluating prescriptions.




 53
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,315
 (Dep’t of Justice Oct. 12, 2012) (decision and order) (DEA expert witness examined dispensing
 records alone to identify inappropriately dispensed medications).

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        322.    In contrast to its lack of robust policies to ensure only prescriptions issued for a

 legitimate medical purpose were dispensed, Rite Aid had numerous and detailed policies regarding

 metrics to ensure its profitability. These policies ensured that Rite Aid pharmacists did not have

 the time, resources, or support to adequately discharge not only their legal duties as pharmacists,

 but also their alleged duties under Rite Aid’s own policies and procedures.

        323.    For example, in 2011, Rite Aid adopted a policy whereby it promised to fill

 prescriptions in 15 minutes or less.54 If a prescription took more than 15 minutes to fill, the patient

 would get a $5 gift card. Rite Aid touted the program as something consumers wanted, but many

 others recognized the danger such a program was to patients and the practice of pharmacy.

 Numerous State Boards of Pharmacy objected to the program. As the chair of the Illinois State

 Board of Pharmacy said: “This is 180 degrees away from everything we are trying to do in moving

 the pharmacy profession toward being patient information-focused rather than product-focused.

 And it's counter to our many efforts to improve patient safety.”

        324.    Despite eventually doing away with the 15 minute or less promise, Rite Aid

 continued to carefully track its pharmacists’ prescription fill speeds, thereby ensuring that the

 pharmacists were not able to exercise their corresponding responsibility under the law. In fact,

 Rite Aid pharmacies routinely filled prescriptions at a pace of multiple prescriptions per minute.

        325.    Rite Aid’s compensation policies also blocked pharmacists from preventing

 illegitimate prescriptions from being dispensed. Rite Aid’s compensation policies provided

 bonuses that depended on the number of prescriptions—including opioids—dispensed from Rite

 Aid pharmacies. Even when Rite Aid eventually, ostensibly removed controlled substances from




 54
      Drug Topics, Rite Aid offers 15-minute Rx guarantee, May 15,                                2011,
 https://www.drugtopics.com/chains-business/rite-aid-offers-15-minute-rx-guarantee.

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 its bonus calculations, Rite Aid continued to evaluate its pharmacies on their profitability. Indeed,

 pharmacists’ jobs depended on the profitability of the pharmacy; if the pharmacy was not

 profitable enough staff would be laid off or it would be closed entirely. A pharmacy’s profitability

 is heavily dependent on its prescription volume, including controlled substances. So even if

 removed from bonus calculations, the amount of prescriptions dispensed by a pharmacy and

 corresponding effect on a pharmacy’s bottom line still acted as a powerful incentive for pharmacies

 to focus on dispensing all prescriptions, instead of only legal ones. Rite Aid did nothing to counter

 this perverse incentive and, in fact, encouraged profit over patients.

        326.    The problem of illegal dispensing caused by Rite Aid’s focus on quickly filling

 prescriptions and increasing the number of prescriptions dispensed was also exacerbated by Rite

 Aid’s inadequate pharmacy staffing. Often, single pharmacists were left as the only pharmacist at

 a location for entire shifts. This greatly cut into the ability of the pharmacist to evaluate each

 prescription carefully and in accordance with the law.55

        327.    Rite Aid also evaluated its pharmacies on customer service. Perversely though, Rite

 Aid considered its pharmacist’s refusal to fill a prescription as a “service failure,” despite their

 pharmacist’s legal obligation to refuse to fill certain prescriptions.

        328.    The effect of Rite Aid’s actions was all too predictable and tragic. Through five

 pharmacies in the County, Rite Aid purchased more than 9.6 million dosage units of oxycodone




 55
    Some states have tried to outlaw pharmacists from working alone. California, for example,
 passed a law saying no pharmacist could be required to work alone. Regrettably, however, it has
 been largely ignored since taking effect last year, according to leaders of a pharmacists’ union.
 See Gabler, Ellen, How Chaos at Chain Pharmacies is Putting Patients at Risk, THE NEW YORK
 TIMES (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-
 errors.html.

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 and hydrocodone at five stores in Lake County from 2006 to 2014, the years for which ARCOS

 data is available.

                              e. Rite Aid Failed to Maintain Effective Controls Against
                                  Diversion and Instead Fueled a Black Market in the County.
     329.         As a vertically integrated distributor and dispenser of prescription opioids, Rite Aid

 knew or should have known that an excessive volume of pills was being sold into Ohio and the

 County.

     330.         The sheer volume of prescription opioids distributed to and dispensed by Rite Aid

 pharmacies in and around the County is indicative of potential diversion and required appropriate

 due diligence.

     331.         Further, analysis of ARCOS data also reveals that a single Painesville Rite Aid

 bought over 4.2 million dosage units of oxycodone and hydrocodone from 2006-2014, which was

 enough for approximately 24 pills per year for each of the 19,524 people who live in the city—

 notwithstanding the fact that there was also a Walgreens and CVS located less than a half a mile

 away that flooded the same area with over 2.2 million and 1.6 million dosage units of oxycodone

 and hydrocodone, respectively, during the same time period, as well as at least seven additional

 pharmacies within a five-mile radius of these high-buying Rite Aid location. Painesville is

 included among the two areas of the County in which a 2018 article reported overdoses were

 particularly concentrated.

     332.         Discovery will reveal that Rite Aid knew or should have known that its pharmacies

 in Ohio, and the surrounding area, including West Virginia, Michigan, and Kentucky, were (a)

 filling multiple prescriptions to the same patient using the same doctor; (b) filling multiple

 prescriptions by the same patient using different doctors; (c) filling prescriptions of unusual size

 and frequency for the same patient; (d) filling prescriptions of unusual size and frequency from



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 out-of-state patients; (e) filling an unusual or disproportionate number of prescriptions paid for in

 cash; (f) filling prescriptions paired with other drugs frequently abused with opioids, like

 benzodiazepines, or prescription “cocktails”; (g) filling prescriptions in volumes, doses, or

 combinations that suggested that the prescriptions were likely being diverted or were not issued

 for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

 combinations that were indicative of diversion and abuse. Also, upon information and belief, the

 volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to non-

 controlled drugs and other products sold by these pharmacies, and disproportionate to the sales of

 opioids in similarly sized pharmacy markets. Rite Aid had the ability, and the obligation, to look

 for these red flags on a patient, prescriber, and store level, and to refuse to fill and to report

 prescriptions that suggested potential diversion.

    333.        Because of its vertically integrated structure, Rite Aid has access to complete

 information regarding red flags of diversion across its pharmacies in and around the County, but

 Rite Aid failed to utilize this information to effectively prevent diversion.

                        iv. Walmart

                            a. Walmart Failed to Maintain Effective Controls Against
                               Diversion.

        334.    Walmart is the largest private employer in the United States by far. It employs

 more than 1.5 million people. But for years, Walmart chose not to assign a single employee to

 design or operate a system to detect suspicious orders of controlled substances. Walmart chose to

 do nothing while hundreds of thousands of people were dying, and waited until 2014 to begin to

 take meaningful action. By that time, it was too late.

                                Walmart Lacked a Suspicious Order Monitoring System for
                                  Most of the Relevant Time Period.



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         335.   Like other Defendants, Walmart self-distributed opioids to its retail stores.

 Specifically, Walmart operated registered distribution centers to supply its own pharmacies with

 controlled substances from the early 2000s until 2018 when it ceased self-distributing controlled

 substances. Walmart’s conduct is particularly troubling given that it acted both as a self-

 distributing and dispensing pharmacy for such a long period of time.

         336.   Prior to 2011, Walmart had not designed any formal system to identify suspicious

 orders of controlled substances and, therefore, utterly failed to meet its statutory obligations.

         337.   Walmart has claimed that its hourly employees and associates—who were also

 responsible for filling orders at Walmart Distribution Centers—monitored the orders they were

 filling for unusual size, pattern, and frequency. Typically, this “review” involved between 700

 and 800 orders a day. Walmart has also claimed that these hourly associates were instructed to

 alert a supervisor if an order appeared unusual based on their experience and memory.

         338.   Upon information and belief, Walmart can produce no written evidence of any such

 instructions to Walmart associates, no evidence of any training that would be required to

 implement such a procedure, or anyone actually being alerted about an unusual order or performing

 any follow up inquiry.

         339.   Walmart failed to provide any guidance to the associates as to what constitutes a

 “suspicious” order. Instead, Walmart emphasized its associates’ subjective judgment based on

 their “knowledge and experience” as distribution center employees. There is no evidence that any

 Walmart employee ever flagged an order as suspicious prior to 2011.

         340.   Walmart purportedly implemented a “monitoring program” that would identify

 suspicious orders of controlled substances in 2011. This system purportedly was in place until

 2015.



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        341.    Walmart’s monitoring program was insufficient to identify suspicious orders of

 controlled substances. The program flagged only very large orders of controlled substances.

 Specifically, it flagged weekly orders for controlled substances of 50 bottles (5,000 dosage units)

 or more and orders or more than 20 bottles (2,000 dosage units) that were 30% higher than a rolling

 four-week average for that item. Orders under 2,000 units per week were never flagged, meaning

 that a pharmacy could order 8,000 units per month without ever being flagged. Moreover, that

 meant that even if an order was more than 30% greater than the four-week average, it could not

 draw an alert unless it also was more than 20 bottles.

        342.    Under this system, an alert did not mean Walmart would report the order or halt it

 pending necessary due diligence. To the contrary, upon information and belief, Walmart never

 reported an order flagged by its monitoring program to the DEA as suspicious. In addition, rather

 than halting the order, Walmart simply cut the order to the amount of the 50 bottles threshold and

 shipped it. Walmart never reported cut orders to the DEA. Although information regarding

 flagged orders was available and sent daily to Walmart’s headquarters in Arkansas (the “Home

 Office”), no one from the Home Office ever reviewed or took any action regarding flagged orders.

        343.    This practice continued until mid-2012, when Walmart implemented “hard limits”

 on opioid orders. Under this approach, weekly orders of Oxycodone 30mg (“Oxy 30”) were

 automatically reduced to 20 bottles. Still, Walmart failed to report the orders to the DEA.

        344.    During this time period, Walmart also monitored weekly orders of other controlled

 substances in quantities of more than 20 bottles. Specifically, an “Over 20 Report” was provided

 to the Home Office in the morning and if nothing was done by mid-afternoon, the orders were

 filled and shipped. Upon information and belief, there is no evidence of any order in fact being

 held or reviewed pursuant to this practice.



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        345.    Further, cutting the order did not mean that the Walmart pharmacy would not

 receive the full supply. Walmart pharmacies also purchased opioids from outside suppliers,

 including McKesson and AmerisourceBergen. Pharmacies could place another order with these

 outside vendors to make up the difference, or in some cases, have orders fulfilled by both Walmart

 and a third-party distributor at the same time. Thus, even though Walmart had the ability to

 monitor such orders, it chose not to, which allowed its pharmacies to surpass its already high

 thresholds by simply ordering drugs from a third party.

        346.    Walmart knew that its monitoring program was insufficient to fulfill its obligations

 to prevent diversion. For example, in 2013, Walmart acknowledged in an internal presentation

 that it had not yet designed a compliant system for suspicious order identification, monitoring, and

 reporting. It also stated that it was “TBD” when Walmart would develop such a system. In June

 2014, Walmart again acknowledged that it lacked a compliant monitoring program. Moreover,

 Walmart acknowledged in 2014 that it had “no process in place” to comply with government

 regulations and that this created the “severe” risk of “financial or reputational impact to the

 company.”

             347.       It was not until late 2014 that Walmart’s written policies and procedures

    required orders of interest to be held and investigated.

                               1. Walmart’s “Enhanced” Monitoring Program Fails to
                                  Remedy Deficiencies in its Monitoring Program.

        348.    In 2015, Walmart enhanced its suspicious order monitoring policy by implementing

 store-specific thresholds. Upon information and belief, it based these thresholds on the standard

 deviation of a specific pharmacy’s order history for each controlled substance. The thresholds also

 included minimum amounts, below which no orders were flagged under any circumstance,

 regardless of pattern or frequency.


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         349.    Walmart’s corporate designee, testifying on its behalf in the MDL, conceded that

 thresholds were set for business purposes, not for the purpose of “main[taining] of effective

 controls against diversion . . . into other than legitimate . . . channels . . . .” 21 U.S.C.A. § 823(a)(1),

 (b)(1). Further, for almost all Walmart pharmacies, this minimum was set at 2,000 dosage units

 per week (or 8,000 dosage units per month). Accordingly, even when Walmart implemented a

 store specific policy that took into consideration a pharmacy’s order history, the program was still

 woefully deficient because it did not account for changes in ordering patterns. A pharmacy could,

 for example, go from ordering 10 dosage units of Oxycodone 10 mg per month to 7,999 per month

 without any order being flagged or reviewed.

         350.    With respect to Walmart’s suspicious order monitoring system for its wholesale

 distribution, the MDL Court has denied a motion for summary judgment contesting the evidence

 regarding the inadequacy of Walmart’s suspicious order monitoring efforts in that litigation. See

 Opinion and Order Denying Walmart’s Motion for Summary Judgment, MDL No. 2804, Doc.

 3102 (N.D. Ohio Jan. 27, 2020). In doing so, it “noted[d] the record evidence suggests obvious

 deficiencies that a layperson could plainly recognize.” Id. at 4 n. 12.

                              b. Walmart Failed to Guard Against Diversion in Distributing into
                                 Lake County.

         351.    According to data from the ARCOS database, between 2006 and 2014, Walmart

 distributed more than 6.7 million dosage units of oxycodone and hydrocodone to Walmart

 pharmacies in Lake County. The volume of opioids Walmart shipped into the County—and then

 sold from its Walmart pharmacy locations in the County—was so high as to raise a red flag that

 not all of the prescriptions being ordered could be for legitimate medical uses.

         352.    Yet, upon information and belief, Walmart did not report a single suspicious order

 in the County between 2007 and 2014. Instead, Walmart funneled far more opioids into Ohio and


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 the County than could have been expected to serve legitimate medical use, and ignored other red

 flags of suspicious orders. This information, along with the information known only to distributors

 such as Walmart (especially with its pharmacy dispensing data), would have alerted Walmart to

 potential diversion of opioids.

        353.    In addition, Walmart, upon information and belief, also distributed and dispensed

 substantial quantities of prescription opioids in other states, and these drugs were diverted from

 these other states to Ohio. Walmart failed to take meaningful action to stop this diversion despite

 its knowledge of it, and it contributed substantially to the opioid epidemic in Ohio.

        354.    In the County, Walmart violated the standard of care for a distributor by failing to:

 (a) control the supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt

 shipments of opioids in quantities it knew or should have known could not be justified and signaled

 potential diversion.

        355.    For years, per capita opioid prescriptions in Ohio far exceeded the national average

 and increased in ways that should have alerted Walmart to potential diversion. Indeed, as a

 vertically integrated, national retail pharmacy chain, Walmart had the ability to detect diversion in

 ways third-party wholesale distributors could not by examining the dispensing data from their own

 retail pharmacy locations.

        356.    Given the volume and pattern of opioids distributed in Ohio and in the County,

 Walmart was, or should have been aware that opioids were being oversupplied into the state and

 should have detected, reported, and rejected suspicious orders. Yet, the information available

 shows it did not.

        357.    Upon information and belief, Walmart by virtue of the data available to it, was

 actually aware of indicia of diversion, such as (1) individuals traveling long distances to fill



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 prescriptions; (2) prescriptions for drug “cocktails” known for their abuse potential, such as

 oxycodone and Xanax; (3) individuals who arrived together with identical or nearly identical

 prescriptions; (4) high percentage of cash purchases; and (5) doctors prescribing outside the scope

 of their usual practice or geographic area. However, Walmart ignored these obvious red flags.

        358.    Walmart therefore, was aware of the suspicious orders that flowed from its

 distribution facilities. Walmart refused to identify, investigate, and report suspicious orders

 despite its actual knowledge of drug diversion. Rather, Walmart failed to report suspicious orders,

 prevent diversion, or otherwise control the supply of opioids flowing into Ohio and the County.

        359.    Upon information and belief, Walmart failed to analyze: (a) the number of opioid

 prescriptions filled by its pharmacies relative to the population of the pharmacy’s community; (b)

 the increase in opioid sales relative to past years; and (c) the number of opioid prescriptions filled

 relative to other drugs.

        360.    Walmart was, or should have been, fully aware that the opioids being distributed

 and dispensed by it were likely to be diverted; yet, it did not take meaningful action to investigate

 or to ensure that it was complying with its duties and obligations with regard to controlled

 substances, including its responsibility to report suspicious orders and not to ship such orders

 unless and until due diligence allayed the suspicion.

        361.    Given Walmart’s retail pharmacy operations, in addition to its role as a wholesale

 distributor, Walmart knew or reasonably should have known about the disproportionate flow of

 opioids into Ohio and the County and the operation of “pill mills” generating opioid prescriptions

 that, by their quantity or nature, were red flags for, if not direct evidence of, illicit supply and

 diversion.

                            c.    Walmart Failed to Maintain Effective Controls Against
                                 Diversion from its Lake County Pharmacies.


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         362.   Walmart, throughout the relevant time period, owned and operated pharmacies

 throughout the United States, including pharmacies in the County. Through its wholly owned or

 controlled subsidiary companies, Walmart operates over 4,500 retail pharmacies across the U.S.,

 a mail-order pharmacy, a specialty pharmacy, and six pharmacy distribution centers that distribute

 to other Walmart entities.

         363.   Walmart set policies for its pharmacies at the corporate level. Walmart also

 presented, through nationwide advertising, a public image of the safety and excellence of all the

 pharmacists the company hired. In a recruitment video for pharmacists on Walmart’s YouTube

 channel, the company shows Walmart pharmacists speaking about working at the company: “the

 safety and the excellence we carry to our patients is phenomenal,” adding that “the culture that our

 company has [is] respect for the individual, service, and excellence, and, of course, we always

 have integrity.”56 The commercial also states that Walmart’s pharmacists “strive for excellence”

 and are “passionate about providing quality healthcare.”

         364.   Walmart pharmacies in and around Lake County received distributions of

 prescriptions from Walmart’s distribution centers and from other wholesale distributors, which

 enabled these pharmacies to have the same orders filled by both Walmart and a third-party

 distributor.

         365.   The volume of prescription opioids dispensed by Walmart pharmacies in and

 around the County is indicative of potential diversion and required appropriate due diligence.




 56
     Walmart, Your Career as a Walmart Pharmacist (Sept. 25, 2014), available at
 https://www.youtube.com/watch?v=9VD12JXOzfs (last visited May 13, 2020).

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         366.    Through three pharmacies in the County, Walmart purchased more than 6.4 million

 dosage units of oxycodone and hydrocodone from 2006 to 2014, the years for which ARCOS data

 is available.

         367.    One Walmart store, located at 33752 Vine St in Willowick, alone bought over 3.2

 million dosage units of oxycodone and hydrocodone from 2006-2014, which was enough for

 approximately 25 pills per year for each of the 14,175 people who live in the city, even though

 there were at least nine other pharmacies within a five-mile radius of this Walmart location.

         368.    As a vertically integrated distributor and dispenser of prescription opioids, Walmart

 had unique insight into all distribution and dispensing level data, and knew or should have known

 that it was dispensing an excessive volume of pills into Ohio and around the County.

         369.    Discovery will reveal that Walmart knew or should have known that its pharmacies

 in Ohio, and the surrounding area, including West Virginia, Michigan, and Kentucky, were: (a)

 filling multiple prescriptions to the same patient using the same doctor; (b) filling multiple

 prescriptions by the same patient using different doctors; (c) filling prescriptions of unusual size

 and frequency for the same patient; (d) filling prescriptions of unusual size and frequency from

 out-of-state patients; (e) filling an unusual or disproportionate number of prescriptions paid for in

 cash; (f) filling prescriptions paired with other drugs frequently abused with opioids, like

 benzodiazepines or prescription “cocktails”; (g) filling prescriptions in volumes, doses, or

 combinations that suggested that the prescriptions were likely being diverted or were not issued

 for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

 combinations that were indicative of diversion and abuse. Also, upon information and belief, the

 volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to non-

 controlled drugs and other products sold by these pharmacies, and disproportionate to the sales of



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 opioids in similarly sized pharmacy markets. Walmart had the ability, and the obligation, to look

 for these red flags on a patient, prescriber, and store level, and to refuse to fill and to report

 prescriptions that suggested potential diversion.

        370.    Walmart had complete access to all prescription opioid distribution data related to

 Walmart pharmacies in and around Lake County.

        371.    Walmart had complete access to all prescription opioid dispensing data related to

 Walmart pharmacies in and around Lake County.

        372.    Walmart had complete access to information revealing the doctors who prescribed

 the opioids dispensed in Walmart pharmacies in and around Lake County.

        373.    Walmart had complete access to information revealing the customers who filled or

 sought to fill prescriptions for opioids in Walmart pharmacies in and around Lake County.

        374.    Walmart had complete access to information revealing the opioids prescriptions

 dispensed by Walmart pharmacies in and around Lake County.

        375.    Walmart had complete access to information revealing the geographic location of

 out-of-state doctors whose prescriptions for opioids were being filled by Walmart pharmacies in

 and around Lake County.

        376.    Walmart had complete access to information revealing the size and frequency of

 prescriptions written by specific doctors across Walmart pharmacies in and around Lake County.

        377.    Yet, Walmart failed to put in place effective policies and procedures for the

 dispensing of prescription opioids, and failed to provide adequate guidance to its pharmacists on

 dispensing opioids. Moreover, Walmart’s pressure on pharmacists to fill more prescriptions

 quickly was at odds with a culture and practice of compliance. Incentive awards were tied to the

 number of prescriptions a pharmacy filled and profit that the pharmacy generated.           Upon



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 information and belief, controlled substances were included in Walmart’s pharmacy incentive

 program for most of the relevant time period. In addition, pharmacists were under constant

 pressure to increase the number of prescriptions they filled, and to increase the overall percentage

 of pharmacy sales. As a result, upon information and belief, because of Walmart’s drive for speed,

 pharmacists often did not have enough time to sufficiently review a prescription and conduct the

 appropriate due diligence.

        378.    Even when Walmart pharmacists suspected diversion based on an individual

 prescriber’s prescribing practices, for years, Walmart did not allow its pharmacists to request

 blanket refusals to fill. Walmart, however, had always had the ability to do so. Finally, in 2017,

 Walmart implemented a policy by which individual pharmacists could request such blanket

 refusals, which would permit the pharmacist to refuse to fill future prescriptions from that

 prescriber without evaluating each prescription individually. In addition, Walmart also always had

 the ability to “centrally block” problematic prescribers across all Walmart and Sam’s Club

 pharmacies, but did not establish a procedure to do so until 2017. In the “Practice Compliance”

 document describing this policy, Walmart admitted that it may, “in certain situations,” have

 information about prescribing practices that is not available to individual pharmacists:

                While pharmacists are in the best position to determine whether
                individual prescriptions are appropriate, additional information may
                be obtained that is not available to our pharmacists. Therefore, in
                certain situations, a prescriber may be identified whose prescribing
                practices raise concerns about prescribing controlled substances for
                legitimate medical purposes. After a thorough review, these
                additional insights may lead Walmart to place a block in Connexus
                on controlled substance prescriptions from these prescribers.

        379.    Moreover, Walmart’s policies and procedures often were at odds with the pressure

 for pharmacists to fill prescriptions quickly. Pharmacists were under constant pressure to increase

 the number of prescriptions they filled, and to increase the overall percentage of pharmacy sales.


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 As a result, upon information and belief, pharmacists often did not have enough time to sufficiently

 review a prescription and conduct the appropriate due diligence.

        380.    These systemic issues are reflected in numerous enforcement actions and

 investigations that demonstrate the Walmart put profits and sales ahead of compliance, its

 customers and communities, and public safety. In 2009, for example, the DEA issued a Show

 Cause order seeking to revoke the registration of a Walmart pharmacy in California. The order

 alleged that the pharmacy:

        (1) improperly dispensed controlled substances to individuals based on purported
        prescriptions issued by physicians who were not licensed to practice medicine in
        California; (2) dispensed controlled substances . . . based on Internet prescriptions
        issued by physicians for other than a legitimate medical purpose and/or outside the
        usual course of professional practice . . . ; and (3) dispensed controlled substances
        to individuals that [the pharmacy] knew or should have known were diverting the
        controlled substances.

        381.    In addition, a 2011 Memorandum of Agreement (“2011 MOA”) arising out of the

 investigation states that the DEA also learned that the same pharmacy was allegedly dispensing

 controlled substances based on prescriptions that lacked valid DEA numbers and allegedly refilling

 controlled-substances prescriptions too early.

        382.    Upon information and belief, the failures described in the 2011 MOA were not

 limited to California but reflected systemic failures at the corporate level. Indeed, the 2011 MOA,

 which required Walmart to maintain a “compliance program” states that it is applicable to “all

 current and future Walmart Pharmacy locations.”

        383.    Following the 2011 MOA, Walmart was supposed to revamp its dispensing

 compliance program, but still, its policies and procedures remained deficient.

        384.    Instead, systemic failures continued, and Walmart’s national corporate office not

 only failed to insist that Walmart implement adequate controls against diversion, they ignored

 concerns raised by Walmart pharmacists.

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        385.    One internal document from 2015, for example, notes concerns from a Walmart

 pharmacist that “his leadership would not support his refusing to fill any ‘legitimate’ (written by a

 Dr) prescriptions and he stated that his current volume/staffing structure doesn’t allow time for

 individual evaluation of prescriptions[.]” When this pharmacist refused to fill a customer’s

 controlled substance prescription because the customer was attempting to fill it too soon, the

 Market Health & Wellness Director for that store complained to management that the pharmacist

 “sent a customer to a competitor” and “expressed significant concern about how ‘sending

 customers away’ would impact the sales figures for the store,” and insisted that “the store needs to

 fill every available prescription.”

        386.    In October 2018, the U.S. Department of Justice (“DOJ”) had evidence that

 Walmart pharmacies in Texas dispensed opioids that killed customers who overdosed on the drugs.

 “The pharmacists who dispensed those opioids had told the company they didn’t want to fill the

 prescriptions because they were coming from doctors who were running pill mills,” but their pleas

 “for help and guidance from Walmart’s corporate office” fell on deaf ears.57 Pharmacists in a

 number of other states also sought help from Walmart’s corporate office, also to no avail. Walmart

 compliance officials failed to take action in response to these alarms. “Instead, they repeatedly

 admonished pharmacists that they could not cut off any doctor entirely.”58 Even if pharmacists

 believed the doctor was operating a pill mill, rather than providing genuine medical care, “[t]hey

 could only evaluate each prescription on an individual basis.”59 In fact, a 2011 document from




 57
    Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over Opioids.
 Trump Appointees         Killed the Indictment., ProPublica, (March             25, 2020),
 https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
 appointees-killed-the-indictment
 58
    Id.
 59
    Id.

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 Walmart Regulatory Affairs regarding the “Proper Prescriber-Patient Relationship” stated,

 “Blanket refusals of prescriptions are not allowed. A pharmacist must make an individual

 assessment of each prescription and determine that it was not issued based on a valid prescriber-

 patient relationship or a valid medical reason before refusing to fill.”

        387.    A Texas federal prosecutor, in connection with an investigation that began in 2016,

 described a systemic problem. The investigation showed Walmart’s issue was not a few rogue

 employees. Rather, “Walmart had a national problem.”60 The investigation reportedly revealed

 that between 2011 and 2017, “Walmart pharmacists repeatedly filled prescriptions that they

 worried were not for legitimate medical purposes, including large doses of opioids and mixtures

 of drugs the DEA considered red flags for abuse.61 They did so even though Walmart pharmacists

 in Texas, Maine, North Carolina, Massachusetts, Kansas and Washington all “raised alarms to the

 company’s national compliance department about doctors.”62 Regarding one Texas doctor who

 was later convicted of illegal distribution of opioids, a Walmart pharmacist wrote; “We are all

 concerned about our jobs and about filling for a pill mill doctor. . . Please help us.” 63 Another

 described the same doctor as a “problem,” a “liability for us,” and a “risk that keeps [him] up at

 night,” cautioning “[t]his is a serious situation.”64 Similarly, in September 2016, a Walmart

 pharmacist in Pennsylvania advised that a doctor was “under investigation by the DEA for what

 we believe is a pill mill operation,” and that Rite Aid had begun refusing to fill his prescriptions,



 60
    Id.
 61
    Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over Opioids.
 Trump Appointees Killed the Indictment., ProPublica, (March 25, 2020),
 https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
 appointees-killed-the-indictment
 62
    Id.
 63
    Id.
 64
    Id.


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 prompting prescriptions from this prescriber, which were “almost solely narcotic and controlled

 prescriptions” to double.65 Still, Walmart adhered to its policy of requiring a case-by-case analysis

 of each prescription from the suspected pill mill placed with any Walmart pharmacy; it would not

 block the prescriber in its system or allow a “blanket” refusal to fill. Walmart was more concerned

 with the potential sale than it was with preventing diversion.

            388.   Upon information and belief, Walmart also failed to adequately use data available

 to it to identify doctors who were writing suspicious numbers of prescriptions and/or prescriptions

 of suspicious amounts or doses of opioids, or to adequately use data available to it to prevent the

 filling of prescriptions that were illegally diverted or otherwise contributed to the opioid crisis.

            389.   Upon information and belief, Walmart also failed to conduct adequately analyze

 and address its opioid sales to identify patterns regarding prescriptions that should not have been

 filled and to create policies accordingly, or if it conducted such reviews, it failed to take any

 meaningful action as a result.

                          Giant Eagle

                                  Giant Eagle Failed to Maintain Effective Controls Against
                                  Diversion.


            390.   Although Giant Eagle had access to significant information about red flags due to

 its vertical integration with its stores, both failed to use available information from indicating red

 flags in order to more effectively prevent diversion.

                                  1. For All But Two Months, Giant Eagle Lacked A SOM
                                     System, and It Failed to Follow the Policy It Did Have.

            391.   For nearly the entire five-year period that it distributed hydrocodone combination

 products (“HCP”)s, Giant Eagle had no written suspicious order monitoring (SOM) policy.


 65
      Id.

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 Rather, by Giant Eagle’s own admission, its earliest written SOM policy is dated August 1, 2014.

 Giant Eagle stopped distributing controlled substances at issue in October 2014. HBC, then,

 operated as a distributor of controlled substances without a written SOM policy for all but two (2)

 months of its time distributing controlled substances.

          392.   Giant Eagle ’s August 2014 written SOM policy consisted of four short bullet points

 which were part of a larger policy. This policy relied on Giant Eagle, Inc.’s corporate office to

 alert HBC if Giant Eagle pharmacies engaged in suspicious ordering. The policy also directed that

 HBC would prepare and communicate any history of suspicious orders to the “GE” Pharmacy team

 “as requested,” not making such a report a matter of course. The policy then required GE Pharmacy

 team, not HBC, to notify the DEA “with in [sic] the prescribed three day time limit.” In this way,

 Giant Eagle’s actual policy was to delegate its DEA reporting responsibility to its customers’

 owner.

          393.   Further, HBC’s August 1, 2014 policy does not identify how its SOM system

 operated, but rather outlines the process for reporting suspicious product orders. The policy does

 not elaborate on how to identify a suspicious order, nor does HBC’s warehouse supervisor recall

 any specific training to identify suspicious orders. HBC has also admitted in written discovery

 responses in this MDL that it provided no “educational, information and/or other programs to any

 Customer and/or pharmacy/dispenser that it owns and/or controls or other Person, that address

 diversion, safety, efficacy, misuse and/or prescription of Schedule II Opioids.”

          394.   Giant Eagle’s attempt to identify orders of unusual size also was deeply flawed. On

 October 15, 2013, after approximately four (4) years of distributing HCPs, Giant Eagle finally

 began to aggregate its customers’ controlled substance orders and apply a rudimentary threshold

 to identify suspicious ordering behavior. From that point until it stopped distributing HCPs, HBC



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 produced a daily spreadsheet that identified shipments, each of which had already been shipped to

 the pharmacy, that exceeded the chain-wide ordering threshold for the particular drug. HBC

 admitted that the threshold report kept track of the shipped quantities, not the ordered quantities,

 further emphasizing the lack of pre-shipping due diligence.

        395.    The thresholds themselves were also deficient. HBC set thresholds for controlled

 substances by taking the average amount all of its customers ordered and multiplying by three (3).

 The effect is that when a customer whose orders for a controlled substance in a month exceeded

 300% of the average HBC customer, it was flagged on HBC’s threshold report. As HBC since has

 admitted, setting thresholds by a chain-wide average can result in both false positives (large-

 volume store consistently orders more than threshold) and false negatives (small-volume stores’

 relatively large order does not exceed chain-wide threshold).

        396.    Giant Eagle also repeatedly misrepresented existence of a written SOM policy, its

 use of algorithms to flag customers’ suspicious orders, and its ability to review and stop suspicious

 orders before shipping to its customers. It even lied to DEA agents when directly asked whether

 it had HCPs in its warehouse (shortly before hydrocodone’s rescheduling after which HBC’s

 registration, which extended only to Schedule III drugs, would expire. More recently, however,

 HBC’s 30(b)(6) representative admitted that it did not have the ability to review and stop

 suspicious orders before shipping during the entire time HBC distributed opioids.

                            b. Giant Eagle Failed to Maintain Effective Controls Against
                               Diversion in the County at the Wholesale Level.

        397.    In the County, Giant Eagle violated the standard of care for a distributor by failing

 to: (a) control the supply chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt

 shipments of opioids in quantities it knew or should have known could not be justified and signaled

 potential diversion.


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        398.     Giant Eagle distributed more than 3.5 million dosage units, of oxycodone and

 hydrocodone from 2006 to 2014 to pharmacies in the County, the years for which ARCOS data is

 available. The volume of opioids it shipped into, and dispensed from locations in, the County is

 so high as to raise a red flag that not all of the prescriptions being ordered could be for legitimate

 medical uses.

        399.     Giant Eagle funneled far more opioids into Ohio and the County than could have

 been expected to serve legitimate medical use, and ignored other red flags of suspicious orders.

 This information, along with the information known only to distributors such as Giant Eagle

 especially with its pharmacy dispensing data), would have alerted Giant Eagle to potential

 diversion of opioids. Yet, upon information and belief, Giant Eagle did not report a single

 suspicious order in the County between 2007 and 2014.

        400.     Upon information and belief, Giant Eagle by virtue of the data available to it, was

 actually aware of indicia of diversion, such as (1) individuals traveling long distances to fill

 prescriptions; (2) prescriptions for drug “cocktails” known for their abuse potential, such as

 oxycodone and Xanax; (3) individuals who arrived together with identical or nearly identical

 prescriptions; (4) high percentage of cash purchases; and (5) doctors prescribing outside the scope

 of their usual practice or geographic area. However, Giant Eagle ignored these obvious red flags.

        401.     Giant Eagle, therefore, was aware of the suspicious orders that flowed from its

 distribution facilities. Giant Eagle refused to identify, investigate, and report suspicious orders

 despite its actual knowledge of drug diversion. Rather, Giant Eagle failed to report suspicious

 orders, prevent diversion, or otherwise control the supply of opioids flowing into Ohio and the

 County.




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         402.    Upon information and belief, Giant Eagle failed to analyze: (a) the number of

 opioid prescriptions filled by its pharmacies relative to the population of the pharmacy’s

 community; (b) the increase in opioid sales relative to past years; and (c) the number of opioid

 prescriptions filled relative to other drugs.

         403.    Giant Eagle was, or should have been, fully aware that the opioids being distributed

 and dispensed by it were likely to be diverted; yet, it did not take meaningful action to investigate

 or to ensure that it was complying with its duties and obligations with regard to controlled

 substances, including its responsibility to report suspicious orders and not to ship such orders

 unless and until due diligence allayed the suspicion.

         404.    Given Giant Eagle’s retail pharmacy operations, in addition to its role as a

 wholesale distributor, Giant Eagle knew or reasonably should have known about the

 disproportionate flow of opioids into Ohio and the County and the operation of “pill mills” that

 generated opioid prescriptions that, by their quantity or nature, were red flags for, if not direct

 evidence of, illicit supply and diversion.

                             c.   Giant Eagle Failed to Maintain Effective Controls Against
                                  Diversion from Its Pharmacy Stores.

         405.    HBC representatives have admitted that Giant Eagle pharmacy staff have diverted

 prescription opioids, amounting to tens of thousands of units.

         406.    Red flags should also have been apparent given that the State of Ohio Board of

 Pharmacy found that Giant Eagle Pharmacy #4098, in Chardon, Ohio, “from May 1, 2009 through

 January 21, 2011, fail[ed] to provide effective and approved controls and procedures to deter and

 detect theft and diversion of dangerous drugs, to wit: the following controlled substances and

 dangerous drugs were stolen from the pharmacy yet internal control procedures failed to deter or

 detect the theft.”:


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  Drug                                 Strength               Shortage     Percent of Stock


  hydrocodone with APAP                5/325                  1,321        53.92


  hydrocodone with APAP                5/500                  (-648)       0.65


  hydrocodone with APAP                7.5/325                5,237        67.49


  hydrocodone with APAP                7.5/500                6,161        72.06


  hydrocodone with APAP                7.5/750                30,566       57.67


  hydrocodone with APAP                10/325                 5,282        75.67


  hydrocodone with APAP                10/500                 14,586       75.19


  hydrocodone with APAP                10/650                 5,523        82.07


  hydrocodone with APAP                10/660                 17,512       82.22


  hydrocodone with ibuprofen           7.5/200                1,057        52.33


  Carisoprodol                         350                    7,556        27.68


  Suboxone                             8                      553          20.0466




         The State Board further found that “[t]he drugs were stolen by an inadequately supervised

 technician who admitted to a Board agent that the drugs were diverted to her addicted husband and


 66
   Table from Ohio Board of Pharmacy, Docket Number D-110714-197: In the Matter of Giant
 Eagle Pharmacy #4098.

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 also sold to another individual.” These figures demonstrate Giant Eagle’s knowledge of and failure

 to prevent diversion.

           407.    Additional unreported diversion from Giant Eagle pharmacies is evidenced in

 monthly narcotic audit reports and in the testimony of Giant Eagle Pharmacy District Leader Fred

 Bencivengo, who testified as to several instances in a single narcotic audit report where suspected

 diversions of opioids should have been but were not reported. Pharmacists and their supervisors

 also list "HBC Warehouse" as the cause of hundreds of missing opioids on these monthly narcotic

 audits.

           408.    Giant Eagle also conspired with McKesson to circumvent any meaningful limit on

 distribution to its pharmacies through McKesson’s: (1) daily warnings about thresholds being

 approached; (2) omitting part of Giant Eagle’s orders which would exceed a threshold without

 notifying DEA of the threshold-exceeding order; (3) and following McKesson’s direction to

 submit to McKesson a request to increase thresholds for its pharmacies approaching or meeting

 set thresholds.

           409.    The sheer volume of prescription opioids distributed to and dispensed by Giant

 Eagle pharmacies in and around Lake County is indicative of potential diversion and required

 appropriate due diligence.

           410.    Discovery will reveal that Giant Eagle knew or should have known that its

 pharmacies in Ohio, and the surrounding area, including West Virginia, Michigan, and Kentucky,

 were (a) filling multiple prescriptions to the same patient using the same doctor; (b) filling multiple

 prescriptions by the same patient using different doctors; (c) filling prescriptions of unusual size

 and frequency for the same patient; (d) filling prescriptions of unusual size and frequency from

 out-of-state patients; (e) filling an unusual or disproportionate number of prescriptions paid for in



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 cash; (f) filling prescriptions paired with other drugs frequently abused with opioids, like

 benzodiazepines, or prescription “cocktails”; (g) filling prescriptions in volumes, doses, or

 combinations that suggested that the prescriptions were likely being diverted or were not issued

 for a legitimate medical purpose; and (h) filling prescriptions for patients and doctors in

 combinations that were indicative of diversion and abuse. Also, upon information and belief, the

 volumes of opioids distributed to and dispensed by these pharmacies were disproportionate to non-

 controlled drugs and other products sold by these pharmacies, and disproportionate to the sales of

 opioids in similarly sized pharmacy markets. Giant Eagle had the ability, and the obligation, to

 look for these red flags on a patient, prescriber, and store level, and to refuse to fill and to report

 prescriptions that suggested potential diversion.

        411.    Through seven pharmacies in the County, Giant Eagle purchased more than 10.7

 million dosage units of oxycodone and hydrocodone from 2006 to 2014, the years for which

 ARCOS data is available.

        412.    Further, analysis of ARCOS data also reveals, for example, that, a single Giant

 Eagle pharmacy in the County purchased more than 2.6 million dosage units of oxycodone and

 hydrocodone from 2006 to 2014, which was enough for approximately 40 pills per year for each

 of the 7,436 people who live in the city of Mentor on the Lake – notwithstanding the fact that there

 was also a Walgreens located less than half a mile away that flooded the same area with over 2.3

 million dosage units of oxycodone and hydrocodone from the same time period. On top of that,

 there were at least seven additional pharmacies within a five-mile radius of this store.

    B. Defendants’ Performance Metrics Put Profits Before Safety.

 413.   Not only did the Chain Pharmacies; lack (and fail to implement) adequate policies and

 procedures to guard against diversion, but CVS, Rite Aid, and Walgreens, and upon information

 and belief, the other Chain Pharmacies compounded this problem by implementing performance

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 metrics and prescription quotas for retail stores that contributed to supplying of a black market,

 including in the County.

 414.   In connection with the DEA’s investigations described above, the DEA found evidence

 that Walgreens had a corporate policy encouraging increased sales of oxycodone.67 As the DEA’s

 September 2012 Order to Show Cause and Immediate Suspension of Registration explains:

        In July 2010, Walgreens’s corporate headquarters conducted an analysis of
        oxycodone dispensing for the prior month at its Florida retail pharmacies and
        produced an 11 page spreadsheet, ranking all Florida stores by the number of
        oxycodone prescriptions dispensed in June. The spreadsheet was sent to
        Walgreens’s market pharmacy supervisors in Florida on July 29, 2010, with the
        admonition that they “look at stores on the bottom end .... We need to make sure we
        aren’t turning legitimate scripts away. Please reinforce.” A corporate market
        director of pharmacy operations did reinforce this message to Florida market
        pharmacy supervisors, highlighting that their “busiest store in Florida” was filling
        almost 18 oxycodone prescriptions per day, yet “We also have stores doing about
        1 a day. Are we turning away good customers?”

        415.    In 2011, a Walgreens project to “Increase Rx Sales and prescription Counts”

 instructed pharmacies to “improve C2 business” – i.e. dispense more Schedule 2 controlled

 substances. This focus on increasing controlled substance dispensing – including opioids –

 continued even after the DEA investigation and $80 million fine. For example, in 2014, the RX

 Integrity department created a “Pharmacist Controlled Substance Dispensing Opportunities” tool

 to “identify pharmacists that are dispensing a low rate of controlled substances,” and help

 pharmacists “feel more comfortable in filling controlled substances,” specifically focusing on

 pharmacists dispensing low rates of opioids like “hydromorphone, oxycodone, methadone…

 hydrocodone,” and the cocktail drugs comprising the rest of the “holy trinity” of abuse, such as

 “carisoprodol… [and] alprazolam.”




 67
    WAGMDL00387654-666 (September 13, 2012 Order to Show Cause and Immediate
 Suspension of Registration to Walgreens’s Jupiter, Florida Distribution Center).

                                                118
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        416.    Walgreens also had a bonus program that factored prescription volume into bonus

 calculations, and served as an incentive for pharmacies and pharmacy technicians to ignore the

 “red flags” of diversion. The corporate push for speed (or volume) deterred pharmacists from

 taking the time to properly examine the prescriptions before them and exercising their

 corresponding responsibility to prevent diversion.

        417.    Walgreens emphasized in its policies for pharmacist and pharmacy managers: “The

 best evidence of a well-run pharmacy is the increase in prescriptions and pharmacy sales.” One

 former Walgreens pharmacist described management critiques for “not going fast enough” in

 dispensing prescriptions and believed “[t]hey’d like you to fill one a minute if you could.” She

 recalled there was even a timer to alert her if she was falling behind, and threats of reduced hours

 or a move to a different store or location. Indeed, Walgreens had a tool, the “PhLOmometer” that

 tracked the time to fill a prescription. A March 2013 memo confirms that volume targets included

 controlled substances as late as 2013 and even after the adopting of the GFD policy. Specifically,

 the memo states, as the response to an “[a]nticipated question” that “GFD concerns doesn’t relieve

 you from trying to attain the numbers that have been set for you.” When considering high schedule

 2 dispensing at a particular pharmacy in New Jersey in 2012, as the opiate crisis raged, the

 pharmacy supervisor pushed back against any attempt to reduce supply of oxycodone, focusing on

 the impact the reduction would make on filled prescriptions and “the bonus tied to” one pharmacy

 employee.

        418.    As described further below, pharmacists were expected to meet volume and speed

 goals. With respect to the volume-based bonus policy, a March 2013 memo confirms that volume

 targets included controlled substances as late as 2013 and even after the adopting of the GFD




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 policy. Specifically, the memo states, as the response to an “[a]nticipated question” that “GFD

 concerns doesn’t relieve you from trying to attain the numbers that have been set for you.”

        419.    Only as part of its 2013 settlement with the DEA, did Walgreens agree to exclude

 controlled substances calculations from bonus calculations from 2014 forward. This resulted in a

 21% reduction in the number of stores purchasing the 80mg OxyContin – evidence that a minimal

 effort to implement common sense controls had a tangible impact on sales of the most potent

 controlled substances (although that reduction did not last, as described above, and Walgreens’s

 volume by 2014 had increased again).

        420.    Walgreens also lobbied against imposition of caps or limits on the volume of

 prescriptions a pharmacist may fill. As the New York Times recently reported, pharmacists at

 chain pharmacies, including Walgreens have “said it had become difficult to perform their jobs

 safely, putting the public at risk of medication errors,” as they “struggle to fill prescriptions, give

 flu shots, tend the drive-through, answer phones, work the register, counsel patients, and call

 doctors and insurance companies … all the while racing to meet corporate performance metrics

 that they characterized as unreasonable and unsafe ….”68 Instead of reducing performance targets,

 chain pharmacies including Walgreens seek to assign more dispensing tasks to less qualified – and

 less expensive – pharmacy technicians.

        421.    CVS used performance metrics related to its own profits, which would rely, in part,

 upon the number of prescriptions dispensed. By 2010, CVS had implemented performance metrics

 that remain publicly available online.       CVS’s metrics system lacked any measurement for

 pharmacy accuracy or customer safety. They did, however, prioritize speed and volume, including




 68
   See Ellen Golbler, How Chaos at Chain Pharmacies is Putting Patients at Risk, New York Times,
 Jan. 31, 2020.

                                                  120
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 by requiring pharmacists to meet wait- or fill-time expectations. Moreover, the bonuses for

 pharmacists are calculated, in part, on how many prescriptions that pharmacist fills within a year.

 Opioid prescriptions were even included in the volume goals until 2013, and after that time, the

 pressure from the metrics’ focus on profitability remained. These policies remained in place even

 as the epidemic raged. Opioid prescriptions were even included in the volume goals until 2013,

 and after that time, the pressure from the metrics’ focus on profitability remained. Even in 2020,

 pharmacists described CVS as the “most aggressive chain in imposing performance metrics.”69

        422.    As noted above, former pharmacists at both Walgreens and CVS have publically

 complained about pressure to put speed ahead of safety. Concerning the metrics at CVS, one

 pharmacist commented that “You get stressed, and it takes your mind away from the actual

 prescriptions.” Another former CVS pharmacist recalled that “[e]very prescription [wa]s timed,”

 and a backlog would pop up in color on pharmacists computer screens if they fell behind. 70

 Additionally, CVS has faced discrimination complaints alleging that the company’s “Metrics”

 system set unobtainable goals — or at least, goals that could not be obtained without violating the

 laws and practice rules governing pharmacists’ professional responsibilities, edging out older

 pharmacists.




 69
    Ellen Gabler, How Chaos at Pharmacies Is Putting Patients at Risk, New York Times, (Jan.
 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-errors.html
 70
    Sam Roe, Ray Long, and Karisa King, Contract Reporters, Pharmacies Miss Half of
 Dangerous Drug Combinations, Dec. 15, 2016,
 http://www.chicagotribune.com/news/watchdog/druginteractions/ct-drug-interactions-pharmacy-
 met-20161214-story.html




                                                121
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        423.    More recently, a former CVS pharmacist in North Carolina described being driven
                                                                                   71
 to leave his position and open his own pharmacy, where he could work safely.           He described

 working a 13-hour shift with no breaks for lunch or dinner at CVS the day before he left in

 December 2018; a day on which he filled “552 prescriptions — about one every minute and 25

 seconds — while counseling patients, giving shots, making calls and staffing the drive-through.”72

 In departing, he let his manager know that he would not “work in a situation that is unsafe.”73 One

 pharmacist was so alarmed that he wrote anonymously to the Texas State Board of Pharmacy to

 caution: “I am a danger to the public working for CVS.”74 It is difficult to contemplate how any

 pharmacist could and/or would be able to meaningfully comply with any corporate policy

 regarding red flag analyses or any anti-diversion analysis under such draconian pressures.

        424.    Walgreens and CVS were not alone in this regard. As described above, Rite Aid

 had performance metrics in place that exacerbated its failures. Without describing individual

 pharmacies, Daniel Hussar, a nationally-known expert and teacher of pharmacology at

 Philadelphia’s University of the Sciences, commented in the media that the pace and pressure of

 prescription quotas appeared to be having an impact on accuracy. “The frequency of these errors

 is increasing greatly,” Hussar said; “I’ve heard some pharmacists say, ‘It’s a blur as to what

 happened during the day and I can only pray I didn’t make any serious mistakes.’”75




 71
    Ellen Gabler, How Chaos at Pharmacies Is Putting Patients at Risk, New York Times, (Jan.
 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-errors.html
 72
    Id.
 73
    Id.
 74
    Id.
 75
     Are Business Tactics at Some Pharmacies Risking Your Health?, ReachMD citing ksdk.com
 (Nov. 8, 2017), https://reachmd.com/news/are-business-tactics-at-some-pharmacies-risking-your-
 health/1610793/.

                                                122
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        425.    This pressure and focus on profits would not only lead to mistakes, it also would

 necessarily deter pharmacists from carrying out their obligations to report and decline to fill

 suspicious prescriptions and to exercise due care in ascertaining whether a prescription is

 legitimate.

        426.    Indeed, “a survey by the Institute for Safe Medication Practices (ISMP) revealed

 that 83% of the pharmacists surveyed believed that distractions due to performance metrics or

 measured wait times contributed to dispensing errors, as well as that 49% felt specific time

 measurements were a significant contributing factor.”76

        427.    In 2013, the National Association of Boards of Pharmacy (NABP), passed a

 resolution which cited this survey and additionally stated that “performance metrics, which

 measure the speed and efficiency of prescription work flow by such parameters as prescription

 wait times, percentage of prescriptions filled within a specified time period, number of

 prescriptions verified, and number of immunizations given per pharmacist shift, may distract

 pharmacists and impair professional judgment” and “the practice of applying performance metrics

 or quotas to pharmacists in the practice of pharmacy may cause distractions that could potentially

 decrease pharmacists’ ability to perform drug utilization review, interact with patients, and

 maintain attention to detail, which could ultimately lead to unsafe conditions in the pharmacy.”77

        428.    Still, according to a 2016 investigation by the Chicago Tribune, as chain

 pharmacies increasingly promote quick service, “pharmacists frequently race through legally

 required drug safety reviews — or skip them altogether,” missing dangerous drug combinations in



 76
     NAPB, Performance Metrics and Quotas in the Practice of Pharmacy (Resolution 109-7-13)
 (June 5, 2013), https://nabp.pharmacy/performance-metrics-and-quotas-in-the-practice-of-
 pharmacy-resolution-109-7-13/.
 77
     Id.


                                                123
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 the process.78 A pharmacist too rushed to check for a potentially deadly drug interaction is also

 likely to be too rushed to check for red flags of diversion, such as prescription “cocktails” or other

 combinations of highly abused drugs.

        429.    According to the Tribune’s coverage, “Wal-Mart, operator of 4,500 U.S.

 pharmacies, failed 43 percent of its tests.”79 Walgreens, meanwhile, failed a test of whether

 pharmacists would dispense dangerous drug combinations without warning patients 30 percent of

 the time.80 Further, a Walmart pharmacist commented that she typically filled 200 prescriptions

 in her daily nine-hour shift, and an even higher volume when working at a different store, equating

 to two prescriptions per minute.81

        430.    In reporting on the results of its investigation, the Tribune quoted Bob Stout,

 president of the New Hampshire Board of Pharmacy, stating that “‘They’re cutting corners where

 they think they can cut.”82 As the report itself explained: “some pharmacies emphasize fast service

 over patient safety. Several chain pharmacists, in interviews, described assembly-line conditions

 in which staff hurried to fill hundreds of prescriptions a day.83

        431.    More recently, a January 2020 New York Times article, referenced above, revealed

 that the problematic performance metrics remain, and have remained, in place. One South

 Carolina pharmacist advised:




 78
     Sam Roe, Ray Long, and Karisa King, Contract Reporters, Pharmacies Miss Half of
 Dangerous            Drug         Combinations,           Dec.            15,          2016,
 http://www.chicagotribune.com/news/watchdog/druginteractions/ct-drug-interactions-pharmacy-
 met-20161214-story.html.
 79
     Id.
 80
     Id.
 81
     Id.
 82
     Id.
 83
     Id.

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         We are being asked to do things that we know at a gut level are dangerous. If we
         won’t or can’t do them, our employers will find someone else who will, and they
         will likely try to pay them less for the same work.

         432.   In March 2020, journalists also revealed that Walmart not only ignored reports of

 suspicious activity from pharmacists concerned that they were filling prescriptions for pill mills,

 but the company considered these pharmacists’ focus misdirected. One internal email, reviewed

 by ProPublica, showed that in response to a question from a regional manager in 2015 about

 documenting pharmacists’ concerns about doctors believed to be operating pill mills, Walmart’s

 director of Health and Wellness Practice Compliance, Brad Nelson, wrote that “We have not

 invested a great amount of effort in doing analysis on the data since the agreement [requiring such

 reporting] is virtually over. Driving sales and patient awareness is a far better use of our Market

 Directors and Market manager’s time.84

         433.   As described above, Walmart refused to allow pharmacies to flag and block all

 prescriptions from doctors whose prescriptions raised red flags that they were running pill mills.

 Not only did pharmacists have to refuse each prescription individually, to do so, “a pharmacist had

 to fill out a form that could take 20 minutes, a bureaucratic hurdle that pharmacists sought to avoid

 because they were under pressure to fill prescriptions quickly. 85

      C. Defendants Worked Together to Increase Their Profits and Lobbied Against
         Restrictions on Opioid Use and DEA Enforcement.

         434.   The DEA’s suspensions of the registrations of three major distributors in 2007, lit

 a fuse within the industry. The very real threat of DEA enforcement prompted a flurry of

 communications between NACDS members and members of the HDA, described above, as well


 84
    Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over Opioids.
 Trump Appointees         Killed the Indictment., ProPublica, (March             25, 2020),
 https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
 appointees-killed-the-indictment
 85
    Id.

                                                 125
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 as the now-notorious Pain Care Forum (“PCF”), a forum run by opioid manufacturers. A goal of

 HDA, which it shared with NACDS, was to “develop a comprehensive DEA strategy” to avoid

 enforcement actions against distributors.

        435.    The NACDS and Defendants’ other trade groups saw their role in influencing

 diversion policy as being one that was absolutely critical, considering all that was at stake. At

 times, these groups adopted militaristic strategies and used terminology ironically similar to the

 “War on Drugs,” developing “task forces” and viewing the DEA’s crackdown on distributors and

 chain pharmacies as an assault on the companies themselves. Only this time, the war was being

 waged against the very regulatory authorities and government entities fighting to deal with the

 ever-growing problem of abuse and diversion in this country.




 Manufacturers’ participation in Defendants’ trade groups as a means to effectuate favorable

 policies is clear when evaluated in the context of how Defendants and other stakeholders viewed

 the DEA’s attempts to curb the opioid epidemic.




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        436.    Walgreens and the other Defendants, recognized the importance of controlling and

 influencing trade groups such as the NACDS in the context of influencing policy related to opioid

 drug abuse and diversion. The efforts taken by the NACDS and other trade groups on behalf of

 Defendants were so important to their bottom line that Defendants spared no expense in supporting

 such groups. Walgreens took a particularly aggressive view of this mutually beneficial

 relationship, at times, being its top donor across the country.

        437.    NACDS worked with the HDA, the Alliance to Prevent the Abuse of Medicines

 (“APAM”), and the PCF to support the Marino Blackburn Bill, also known as S.483 or the “Marino

 Bill. NACDS, and Defendants intended the Marino Bill to “tie the hands” of the DEA to actively

 and aggressively address diversion and compliance with the CSA.” NACDS worked together with

 others in opioid supply chain to influence the language in the bill to make it most favorable for

 them and more restrictive on the DEA. Notably, masking the influence of industry, when the

 APAM was asked to sign on to a 2014 letter of support it was “signed by the Alliance, not the

 individual members.” The final letter that was sent to Senators Hatch and Whitehouse was signed


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 by the members of the Pain Care Forum as well as the Alliance, the NACDS, American Academy

 of Pain Management, and U.S. Pain Foundation.

        438.    The Marino Bill effectively removed the DEA’s ability to issue immediate

 suspension orders regarding manufacturer or distributor registrations. The Marino Bill permitted

 a non-compliant registrant an opportunity to cure its noncompliance before the DEA could take

 enforcement action and changed the standard upon which revocation occurred. In the midst of a

 growing opioid crisis, the Marino Bill removed the most effective deterrent and constrained DEA

 enforcement actions.

        439.    With respect to its efforts to tie the hands of the DEA in its ability to pursue and

 hold accountable Defendants and other stakeholders for violations of law related to the sale and

 distribution of prescription opioids, CVS appreciated NACDS’s influence.




        440.    CVS as a member of the HDA, NACDS and the APAM was actively involved in

 efforts to curb the enforcement power of the DEA in its support of the Marino Bill. Its history and

 ties to the HDA and NACDS run deep.




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        441.    The APAM is a trade group launched in the fall of 2013 and compromised of

 members of the American Medical Association, Cardinal, CVS, HDMA, Prime Therapeutics and

 Teva Pharmaceuticals.




        442.    CVS and Defendants used trade groups like the HDA, NACDS and APAM to gain

 favorable results when it came to regulations and roadblocks that were seen as being in the way of

 the Defendants ability to capitalize on the opioid business. In particular CVS would often hide

 behind the APAM when it knew its position could be controversial as it related to abuse and

 diversion. This particular letter was one in support of the controversial Marino Bill, a bill that

 CVS fought hard to push through, supporting it on three different fronts.




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         443.    In August of 2011, NACDS worked with others on a joint letter opposing DEA fee

 increases for registrants that were intended to fund the “hir[ing of] more agents and do[ing] more

 inspections.”

         444.    HDA’s Crisis Handbook, developed in 2013, was a direct response to the “threats”

 perceived by HDA’s members and affiliates, including Defendants, to their bottom line: profits

 derived from the distribution and sale of prescription opioids.86 Defendants, did and continue, to

 rely on and employ the strategies discussed in the Crisis Playbook. Curiously, there are no slides

 on how best HDA and its members, including Defendants, might work to curb the crisis that is the

 opioid epidemic.




 86
      ABDCMDL00278063.

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         445.   In 2016, the NACDS Policy Council discussed ongoing efforts to shape opioid

 legislation, including their success in removing a requirement that pharmacists have to check their

 state drug monitoring program before filling controlled prescriptions.87 NACDS also fought

 regulatory efforts to require Defendants to use available dispensing related data and red flags to

 prevent diversion, opposing what it described as “recent DEA actions in which DEA is expecting

 pharmacists to be enforcement agents with respect to prescriptions for pain medications.

         446.   NACDS and HDA sought to slow down and impede DEA enforcement activities by

 requiring the DEA to “work with the [Food and Drug Administration] FDA on all drug diversion

 issues,” ostensibly on the grounds that the DEA’s diversion enforcement activities – including

 “clos[ing] drug distribution centers and pharmacies” and “actions against pharmacies” were harmful


 87
      WAGMDL00605718 (including Walgreens & Walmart).

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 in ““leading to patients not being able to receive their medications.” This purported concern,

 however, was industry code for impediments to sales.

        447.    NACDS and HDA agreed that the pharmacies should “be more aggressive” and

 “lead the charge” with respect to certain DEA issues. NACDS members coordinated regarding

 pharmacy diversion and “DEA red flags” through a “DEA Compliance Workgroup.” Defendants

 further used a NACDS “Pharmacy Compliance Roundtable” to discuss avoiding criminal and civil

 liability for issues related to controlled substances, SOM, and diversion. And, in May 2012, the

 NACDS formed a Policy Council “Task Group” to “discuss issues and develop strategies”

 concerning “ongoing problems that NACDS members are having with DEA enforcement actions,”

 through which it sought to influence the government and media, set meetings with legislators

 seeking to “address the problems with DEA actions,” and “collaborate with, and support others’

 efforts” including HDA.

    D. Defendants Also Entered into Joint Ventures that Further Undermined their
       Outside Vendors Incentive to Conduct Due Diligence, While Increasing their Own
       Access to Information.

        448.    The collaboration between Defendants and other industry partners extended beyond

 their mutual interest in limiting regulations and enforcement that constrained their ability to sell

 opioids. Indeed, the companies had direct financial relationships that, quite literally, invested them

 in each others’ success.

        449.    As described above, Walgreens entered into an exclusive arrangement with

 AmerisourceBergen as its supplier, with Walgreens obtaining both equity in AmerisourceBergen

 and a seat on its Board. As part of a three-year extension of that arrangement, in 2016, two agreed

 to include a requirement that AmerisourceBergen “make certain working capital investments in

 the relationship and will proceed with additional capital investments in its distribution network.”



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        450.    The merger between Walgreens and AmerisourceBergen had begun in 2012, when

 the two formed Walgreens Boots Alliance Development, a joint venture based in Switzerland.

 AmerisourceBergen was described as being able to gain from Walgreens’s “purchasing synergies,”

 through the companies’ relationship.

        451.    In 2014, CVS entered into a 50/50 joint venture with Cardinal to create Red Oak

 Sourcing, LLC (“Red Oak”). Red Oak uses the combined generic purchasing power of CVS and

 Cardinal to negotiate with generic drug manufacturers, and its website touts its management of a

 “multi billion dollar pharmaceutical portfolio.” To fund the venture, Cardinal would make

 quarterly payments of $25.6 million to CVS, and also would contribute additional funds if the

 joint venture reached certain milestones.

        452.    In 2016, McKesson and Walmart formed ClarusOne Sourcing Services LLP to

 source generic pharmaceuticals for their respective U.S. operations. As part of this “partnership,”

 McKesson and Walmart “established an organization in London to provide strategic sourcing

 services for both companies,” according to a job posting on McKesson’s website.

        453.    Given that Walgreens, CVS, Walmart, on the one hand, the largest wholesalers, on

 the other, considered themselves partners invested in one another’s success, they had even less

 incentive to turn away from the blind deference the Chain Pharmacies received when buying and

 selling controlled substances.

    E. Defendants Worked With Opioid Manufacturers to Promote Opioids and Bolster
       Their Profits at the Expense of Communities Like the County.

        454.    Defendants also worked in concert with opioid manufacturers to ensure that the

 false messaging surrounding the treatment of pain and the true addictive nature of opioids was

 consistent and geared to increase profits for all stakeholders.




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        455.    For example, as early as 2001, CVS worked closely with Purdue and its un-branded

 marketing arm, Partner’s Against Pain (“PAP”) to “fight back” against allegations (later proved to

 be true) that Purdue’s Oxycontin was being abused at alarming rates. It was Purdue’s Partner’s

 Against Pain website that Purdue, and it’s “Partners” including CVS, utilized to make the claims

 that the risk of addiction associated with Oxycontin was very small.




        456.    Purdue worked together with CVS to ensure that CVS’s own pharmacists were

 trained by Purdue on many of the misleading marketing messages that would later form the basis

 for a 2007 criminal guilty plea and $600 million fine between Purdue the Department of Justice



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 for misleading regulators, doctors, and patients about Oxycontin’s risk of addiction and its

 potential for abuse. CVS’s ties to PAP were so deep that CVS even went so far as to put CVS’s

 own logo communications from its “partner”.




        457.    CVS was so eager to ally itself with Purdue and its that it solicited Purdue for its

 participation in co-hosting Continuing Education programs for healthcare providers and

 pharmacists regarding training on diversion of prescription opioids.



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        458.   One would have to seriously question the accuracy of any training CVS pharmacists

 received from Purdue and Partners Against Pain on abuse and diversion, yet there has been no

 evidence provided by Defendants that CVS undertook any measures to re-educate its pharmacists

 on how or why Purdue and PAP training might be lacking in the area of diversion and abuse of

 opioids.

        459.   CVS’s role was not limited to expanding the market for prescription opioids. CVS

 worked hard to ensure that demand for prescription opioids was not only sustained but multiplied.



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 It did so through its marketing, advertising and promotional efforts both on its own and in concert

 with other stakeholders.

        460.    Contrary to what CVS has stated under oath in written discovery before this Court,

 CVS helped to grow the demand for prescription opioids and contributed to the public nuisance

 by participating in the marketing, advertising and promotion of opioid products with and on behalf

 of the opioid manufacturers.88




        461.    CVS’s marketing and promotion of opioids was not limited to its involvement with

 Purdue and Partners Against Pain. CVS did not draw lines when it came to promoting opioids, and

 there were no brand boundaries.

        462.    One example can be found in CVS’s work with Endo Pharmaceutical (“Endo”) to

 increase patient adherence to continuing their use of opioids. In fact, CVS played such an important

 part in the promotion of Endo’s Opana ER, that it was included as having a crucial role in carrying

 out one of key sales tactics included in Endo’s 2012 Business Plan.




 88
   CVS Health’s Objections and Responses to Plaintiffs’ First Set of Interrogatories (6.18.2018),
 Rog Response #20.

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        463.   Through a company called Catalina Health (“Catalina”), Endo was able to target

 Oxycontin patients in areas where Opana ER, a highly abused opioid manufactured by Endo, had

 preferred formulary status. Catalina in turn worked to create a brand loyalty program that kept

 new patients on their opioids. CVS, through its pharmacy retention programs, sent letters to the

 patients’ homes to encourage them to stay on Opana – even though prolonged use of opioids

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 increases the risk of addiction, and even though patients in pain presumably need no reminder to

 continue to take their pain medications. CVS formalized its agreement to promote, market and

 advertise Endo’s opioid products via its “CVS Carecheck Plus Patient Education Service”




 Under this Agreement, CVS not only contractually agreed to promote Opana ER to its customers

 (patients) at the point of sale, but it even insisted upon reviewing and approving the specific

 messaging used.




        464.   Similarly, CVS contracted with manufacturers like Endo to prepare and

 disseminate materials promoting Opana ER nationwide.



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        465.   CVS likewise helped Actavis promote its opioids by participating with Cardinal’s

 Marketing and Business Development team in programs designed to offer rebates and off-invoice

 discounts on products, with the aim being to “move [] product.”




        466.   Marketing, advertising and promoting opioids was not a new practice for CVS. In

 fact, CVS had been advertising these services to manufactures for years. For example, CVS made

 at least one pitch to Insys, a company whose senior executives were recently criminally convicted


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 for their unlawful marketing, to help sell its incredibly potent opioid, Subsys, a liquid form of

 fentanyl.




        467.    Here, CVS touted the reach of its communications and explained the science behind

 its sophisticated marketing, advertising and promotional services.




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        468.    Hardly novices, CVS recognized its expertise in ensuring that opioid manufacturers

 like Insys were able to reach their intended market by using CVS’s promotional programs which

 are designed to “deliver results.”




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        469.    Through CVS’s NEWScript program, CVS claimed to be perfectly poised to assist

 with new product launches and described its truly impressive reach.




 CVS even offered Insys the chance at having a literature display in its patient waiting rooms and

 to help Insys “target patients” using its signature ExtraCare consumer loyalty card database.




        470.    Working with Purdue as early as 2001, Walgreens played a pivotal role in

 expanding the market and ensuring the demand and supply for prescription opioids would grow to

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 exponentially. Purdue was particularly interested in using what Walgreens described to Purdue as

 its Regional Level Market Programs to educate pharmacists and patients on the benefits of

 Purdue’s OxyContin.




 In fact, Purdue leveraged its relationship with Walgreens and their mutually beneficial goal of

 growing the opioid business to ensure that Purdue had input into Walgreens “corporate

 guidelines” to which Walgreens pharmacists were “expected to follow” when it came to the

 dispensing of prescription opioids.



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        471.    Walgreens also used its corporate oversight abilities to identify stores it believed

 were not filling enough oxycodone to make sure they weren’t “turning away good customers” and

 encouraging stores to utilize continuing education created by opioid manufacturers to inform their

 decisions regarding dispensing.

        472.    Starting in at least 1999, Purdue sponsored Walgreens’s Pharmacy continuing

 education programs designed to encourage stores to “get on the Pro Pain Management Band

 Wagon.” Purdue was thrilled with the response and assistance it received from Walgreens when

 Purdue presented on “Pain Management for the Pharmacist.” At the beginning of each Purdue

 sponsored meeting, a Walgreens pharmacist made a presentation on his store and the program

 implemented. His store actively advertised to area doctors and patients that they were a “full-

 service” pain management pharmacy. This service included providing a list to physicians’ offices

 of all CIIs they had in stock (and they had everything), accepting “verbal orders” for Class II

 analgesics prior to presentation of the original prescription at the store to decrease “waiting time”,

 allowing partial fills on CII prescriptions in terminal patients, and accepting after hours

 “emergency CII prescriptions” without a hassle. Purdue praised the pharmacist’s actions as

 “fantastic”.

        473.    Walgreens’s use of pro-opioid continuing education continued as the opioids crisis

 grew. For example, Walgreens’s Market Director of Pharmacy Operations recommended that

 Walgreens District Managers and Pharmacy Supervisors attend a continuing education program

 titled “"The Pharmacists' Role in Pain Management: A Legal Perspective," which was available

 on-line at RxSchool.com. This program was one in a long line of pharmacist “education”

 programs, or CEs, that opioid manufacturer Purdue developed as part of its strategy to disseminate

 “a new school of thought” about opioids. Through these programs, Purdue and the Chain



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 Pharmacies disseminated fraudulent information that redefined the red flags of abuse or diversion

 in an effort to correct pharmacists’ “misunderstanding” about pain patients and the practice of pain

 management. Purdue took what it called an “aggressive role” in the education of Walgreens’s and

 other pharmacists on pain management issues.

            474.   Walgreens’s Market Director of Pharmacy Operations also recommended a second

 continuing education program titled “Navigating the Management of Chronic Pain: A Pharmacist's

 Guide."89 The second “CE” incorporated into Walgreens’s dispensing training program,

 “Navigating the Management of Chronic Pain: A Pharmacist's Guide” was sponsored by opioid

 manufacturer Endo Pharmaceuticals and disseminated manufacturer messaging designed to

 broaden the market for opioids. For example, it stated “according to most reports, approximately

 30% of the population lives with chronic pain” and citing, inter alia, another CE presentation

 sponsored by the American Pain Society (another known front-group). It also claimed that “most

 opioid adverse effects can be managed with careful planning and patient education.” It went on to

 discuss “fears and prejudices” related to addictive behaviors that “unnecessarily limit” opioid use,

 described as “opiophobia” which the piece claimed was the result of “misunderstandings regarding

 the concepts of addiction, physical dependence, and tolerance.”

            475.   One of the presenters for this Endo sponsored CE was Kenneth C. Jackson. Mr.

 Jackson was a frequent speaker and Key Opinion Leader (“KOL”) for Purdue. Mr. Jackson also

 co-authored the CE program titled “Use of Opioids in Chronic Noncancer Pain”, which was

 sponsored by Purdue. Released in April 2000, it was designed to eliminate “misconceptions about

 addiction, tolerance and dependence” and contained many of the same messages as the pharmacist

 guide he authored.


 89
      Id.

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        476.    Walgreens also presented the video, The Pharmacist's Role in Pain Management -

 A Legal Perspective at mandatory meetings for pharmacy managers. This continuing education

 program (“CE”) was also sponsored by Purdue, was similar to the earlier presentations, and was

 further disseminated to Walgreens pharmacists in June 2011. Released in 2009, the program was

 presented by Jennifer Bolen, JD. Ms. Bolen was a frequent speaker for Purdue and other opioid

 manufacturers, served as Special Counsel for the American Academy of Pain Medicine (a known

 front group for opioid manufactures), acted as a Key Opinion Leader (“KOL”) for Purdue, and

 was described by Purdue as “a pain patient who takes opioids”.

        477.    Armed with information gleaned from Purdue sponsored CE, the Walgreens

 pharmacists who had temporarily stopped filling controlled substances prescriptions began to

 accept them again. It is no surprise that in 2013 Walgreens acknowledged that several of the stores

 that touted this CE as part of their controlled substance action plan dispensed “certain controlled

 substances in a manner not fully consistent with its compliance obligations under the CSA.”

        478.    Rite Aid likewise helped to expand the market and increase the demand for

 prescription opioids by working in concert with manufactures like Purdue. Capitalizing on Rite

 Aid’s reach, Purdue worked with Rite Aid as early as 2001 to promote its highly addictive,

 OxyContin. The return on investment (“ROI”) of such a program was clear to both Purdue and

 Rite Aid, as described below.




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 Both Purdue and Rite Aid recognized the importance of a chain pharmacy and pharmacists in the

 efforts to expand and sustain the demand for prescription opioids. Purdue memorialized its

 observation that as the last line of defense, ourpharmacists at the retail level” were the “most

 important audience. . . in highly sensitive areas” – presumably those already impacted, even in

 2001, by the opioid epidemic.




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    F. Defendants Delayed a Response to the Opioid Crisis by Pretending to Cooperate
       with Law Enforcement


        479.    When a distributor does not report or stop suspicious orders, or a pharmacy fails to

 maintain effective policies and procedures to guard against diversion, prescriptions for controlled

 substances may be written and dispensed to individuals who abuse them or who sell them to others

 to abuse. This, in turn, fuels and expands the illegal market and results in opioid-related overdoses.

 Without reporting by those involved in the supply chain, law enforcement may be delayed in taking

 action—or may not know to take action at all.

        480.    Despite their conduct in flooding Ohio and other states with dangerous and

 unreasonable amounts of opioids, Defendants publicly portrayed themselves as committed to

 working with law enforcement, opioid manufacturers, and others to prevent diversion.

        481.    In its 2011 MOA, Walgreens agreed to undertake several different anti-diversion

 measures. Yet, as a DEA official explained in a subsequent Order to Show Cause and Immediate

 Suspension of its registration that was issued a mere month later and pertained to Walgreens’s




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 Jupiter Florida Distribution Center, Walgreens’s “anti-diversion” measures appeared to be

 primarily self-serving:

        [W]hen a company undertakes to survey its stores for regulatory compliance, then
        selectively edits that survey for the explicit purpose of avoiding evidence of its own non-
        compliance, as Walgreens apparently did in May 2011, claims of effective remedial
        measures have less credibility. I gave significant weight to the fact that Walgreens appears
        to have deliberately structured certain of its antidiversion measures to avoid learning about
        and/or documenting evidence consistent with diversion. At best, I regard this as deliberate
        indifference on Walgreens’[s] part as to its obligations as a DEA registrant.

        My confidence in Walgreens’[s] remedial measures is lessened further by the fact that this
        manipulation of the compliance survey occurred just one month after Walgreens entered
        into a nationwide Memorandum of Agreement (MOA) with DEA to resolve an Order to
        Show Cause issued to a San Diego Walgreens pharmacy based on allegations of unlawful
        dispensing. . . . Walgreens’[s] effort to enact . . . [a compliance] program in Florida appears
        to have been, in part, intentionally skewed to avoid actually detecting certain evidence of
        possible diversion.

        482.    Despite the behavior described above, Walgreens nevertheless publicly portrayed

 itself as committed to working with law enforcement, opioid manufacturers, and others to prevent

 diversion of these dangerous drugs.

        483.    In August of 2018, after journalists at the Washington Post disclosed information

 gleaned from the ARCOS data regarding the staggering number of opioids Walgreens distributed

 and sold, Walgreens again publicly promoted itself as being and “ha[ving] been an industry leader

 in combatting this crisis in the communities where our pharmacists live and work.” Walgreens

 further asserted that “Walgreens pharmacists are highly trained professionals committed to

 dispensing legitimate prescriptions that meet the needs of our patients.”90




 90
    Aaron C. Davis & Jenn Abelson, Distributors, pharmacies and manufacturers respond to
 previously unreleased DEA data about opioid sales, Washington Post (Aug. 8, 2019),
 https://www.washingtonpost.com/investigations/distributors-pharmacies-and-manufacturers-
 respond-to-previously-unreleased-dea-data-about-opioid-sales/2019/07/16/7406d378-a7f6-11e9-
 86dd-d7f0e60391e9_story.html

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        484.   Yet, in January 2020, Walgreens released a Board Report on Oversight of Risks

 Related to Opioids. There, it claimed that: “In recent years, the Company has implemented a

 number of operational changes that it believes have helped to reduce its risk with respect to its

 dispensing of prescription opioids. The Company is focused on the continuous improvement of

 its controlled substances compliance program, implementing enhancements to prevent, identify

 and mitigate the risk of non-compliance with federal and state legal requirements.”91 It went on

 to tout its “Good Faith Dispensing policy,” as “provid[ing] the foundation for our pharmacists to

 understand their roles and responsibilities when dispensing prescriptions for controlled

 substances.”92 It also claimed that “the Company conducts its own voluntary, independent review

 of controlled substance purchase orders placed by our pharmacies, providing an additional layer

 of review above and beyond the legally required monitoring performed by the wholesalers.”93

 There, Walgreens’s Board acknowledged that the “fundamental elements of an effective

 compliance program include,” among other things, “[w]ritten policies, procedures, and standards

 of conduct setting forth the Company’s expectations and requirements for operating all business

 activities in an ethical and compliant manner”; “[o]versight of the Compliance Program by the

 Global Chief Compliance and Ethics Officer, Compliance and Ethics Officers for each operating

 division, and Compliance and Governance Committees”; and, “[a]uditing and monitoring.”94

        485.   With respect to compensation, the Board stated: “[w]e have a strong pay-for-

 performance philosophy.”      Accordingly, its “Compensation and Leadership Performance




 91
      https://s1.q4cdn.com/343380161/files/doc_downloads/governance_guidelines/Board-Report-
 on-Oversight-of-Risk-Related-to-Opioids-June-2019-rev.-August-2019.pdf
 92
    Id.
 93
    Id.
 94
    Id.


                                               152
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 Committee,” the Board explained, “aims to incent leaders to support the Company’s culture and

 model desired behaviors, ensuring ethical behavior and mitigating risks, through ongoing

 monitoring, reviewing and governance of all incentive plans.”95

        486.    Yet, at the end of January 2020, the New York Times revealed that Walgreens had

 not reformed its policies putting speed ahead of safety and pharmacists continued to feel pressed

 to do more with less. According to the article, pharmacists at Walgreens and Rite Aid stores

 “described understaffed and chaotic workplaces where they said it had become difficult to perform

 their jobs safely, putting the public at risk of medication errors.”96 The article explained that these

 pharmacists “struggle to fill prescriptions, give flu shots, tend the drive-through, answer phones,

 work the register, counsel patients and call doctors and insurance companies,” while “racing to

 meet corporate performance metrics that they characterized as unreasonable and unsafe in an

 industry squeezed to do more with less.”97

        487.    Citing company documents, the article showed that Walgreens contuse to tie

 bonuses to achieving performance metrics. Walgreens, in response stated that errors were rare and

 that “it made ‘clear to all pharmacists that they should never work beyond what they believe is

 advisable.’”98 Similarly, CVS assured that “[w]hen a pharmacist has a legitimate concern about

 working conditions, we make every effort to address that concern in good faith.”99




 95
    Id.
 96
    Ellen Gabler, How Chaos at Pharmacies Is Putting Patients at Risk, New York Times, (Jan.
 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-errors.html
 97
    Id.
 98
    Id.
 99
    Id.


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         488.    Meanwhile, the New York Times’ coverage disclosed that a CVS form for staff

 members to report errors internally asked whether the patient poses “a ‘media threat.’”100

 According to the article, “[t]he American Psychiatric Association is particularly concerned about

 CVS, America’s eighth-largest company, which it says routinely ignores doctors’ explicit

 instructions to dispense limited amounts of medication to mental health patients.”101 The group’s

 president further observed that ““[c]learly it is financially in their best interest to dispense as many

 pills as they can get paid for[.]

         489.    Following its Texas settlement, Walmart claimed that the agreement pertained to a

 small number of stores in that state and claimed that Walmart was “eager to comply with the

 law.”102 A Walmart spokesperson further claimed that: “We take record keeping seriously[,]” and

 “[w]e continuously review our processes at our pharmacies to ensure they are accurate and in full

 compliance with the law.”103

         490.    More recently, Walmart reportedly claimed to be cooperating with a federal

 investigation and “taking action to fix its opioid dispensing practices.”104 In fact, however,

 Walmart subsequently “acknowledged that it halted its cooperation in mid-2018.”105

         491.    In August of 2019, after ARCOS data from the years 2006 to 2012 become public,

 a spokesman for Giant Eagle issued a public statement claiming that its “pharmacy Team



 100
     Id.
 101
     Id.
 102
       Associated Press, Wal-Mart Settles Drug Records Accusation, (Jan 7, 2009),
 http://prev.dailyherald.com/story/?id=262762
 103
     Id.
 104
     Jesse Eisinger and James Bandler, Walmart Was Almost Charged Criminally Over Opioids.
 Trump Appointees          Killed the Indictment., ProPublica, (March            25, 2020),
 https://www.propublica.org/article/walmart-was-almost-charged-criminally-over-opioids-trump-
 appointees-killed-the-indictment
 105
      Id.


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 Members are trained on a number of measures to ensure the legitimacy of prescriptions, to be

 mindful of red flags that may suggest prescription misuse, and to provide educatio n and other

 support regarding proper medication adherence.” 106          He went on tout the company’s

 commitment to being part of the solution, not the problem, stating: “We recognize the severity

 of the opioid crisis affecting so many across our communities, and we are committed to doing

 our part to improve the health and well-being of those we serve.” 107

         492.   Rite Aid similarly claims to be committed to working with “both federal and state

 agencies to help reduce the opioid epidemic that is impacting our communities throughout the United

 States.”108

         251.   Moreover, in furtherance of their effort to affirmatively conceal their conduct and

 avoid detection, all Defendants through the joint amicus brief filed by the HDA and NACDS in

 Masters Pharmaceuticals, described above, made the following statements:109

                       a. “HDMA and NACDS members not only have statutory and
                       regulatory responsibilities to guard against diversion of controlled
                       prescription drugs, but undertake such efforts as responsible
                       members of society.”

                       b. “Distributors take seriously their duty to report suspicious
                       orders, utilizing both computer algorithms and human review to
                       detect suspicious orders based on the generalized information that
                       is available to them in the ordering process.”

         493.   Through the above statements made on their behalf by their trade association, and

 other similar statements assuring its continued compliance with their legal obligations, Defendants


 106
      Eric Heisig, Pharmacies Across Ohio Received Large Amounts of Painkillers as Opioid
 Epidemic Ramped Up, (Aug. 1, 2019), https://www.cleveland.com/metro/2019/07/pharmacies-
 across-ohio-received-large-amounts-of-painkillers-as-opioid-epidemic-ramped-up.html
 107
     Id.
 108
       Rite Aid, Pharmacy, Health Information, https://www.riteaid.com/pharmacy/health-
 information
 109
     Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, 25.


                                                155
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 not only acknowledged that they understood their obligations under the law, but further affirmed

 that their conduct was in compliance with those obligations. In doing so, Defendants further

 delayed efforts to address the growing opioid epidemic.

        494.    Through the above statements and others, Defendants not only acknowledged that

 they understood their obligations under the law, but created the false and misleading impression

 that their conduct was in compliance with those obligations.

    G. Multiple Enforcement Actions against the Chain Pharmacies Confirms their
       Compliance Failures.


        495.    The Chain Pharmacies have long been on notice of their failure to abide by state

 and federal law and regulations governing the distribution and dispensing of prescription opioids.

 Indeed, several of the Chain Pharmacies have been repeatedly penalized for their illegal

 prescription opioid practices. Upon information and belief, based upon the widespread nature of

 these violations, these enforcement actions are the product of, and confirm, national policies and

 practices of the Chain Pharmacies.

                        i.     CVS

        496.    CVS is one of the largest companies in the world, with annual revenue of more than

 $150 billion. According to news reports, it manages medications for nearly 90 million customers

 at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

 like other Defendants, CVS sought profits over people.

        497.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

 $40 million as the result of a series of investigations by the DEA and the United States Department

 of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

 its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible



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 medical need would require, and to continue violating its recordkeeping and dispensing obligations

 under the CSA.

           498.   Confirming its systemic failures to implement and adhere to adequate controls

 against diversion, CVS has repeatedly faced enforcement actions. Just this week, CVS’s Omnicare

 subsidiary agreed to pay a $15.3 million civil penalty as part of a settlement with the DEA

 resolving allegations that it improperly dispensed opioids and other controlled substances to long-

 term care facilities without a valid prescription.

           499.   As recently as March 2019, CVS Pharmacy, Inc. (including all of its relevant

 subsidiaries and affiliates) entered into a $535,000 settlement with the U.S. Attorney’s Office for

 the District of Rhode Island, acting on behalf of the United States and the DEA’s Providence

 Office. In connection with the settlement, a DEA agent stated: “Pharmacies put patients at risk

 when they dispense Schedule II narcotics, which have the highest potential for abuse, without a

 valid and legal prescription.110

           500.   In August of 2018, CVS paid $1 million to resolve allegations that CVS pharmacies

 throughout the Northern District of Alabama violated record-keeping requirements under the CSA

 and its implementing regulations, the largest civil fine paid in Alabama by a DEA registrant.

           501.   In June of 2018, CVS paid $1.5 million to resolve allegations that CVS pharmacies

 in Long Island, New York failed to timely report the loss or theft of controlled substances,

 including hydrocodone, recognized as one of the most commonly diverted controlled substances.




 110
       https://www.dea.gov/press-releases/2019/04/16/cvs-pay-535000-filling-invalid-prescriptions


                                                  157
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        502.     In July 2017, CVS entered into a $5 million settlement with the U.S. Attorney’s

 Office for the Eastern District of California regarding allegations that its pharmacies failed to keep

 and maintain accurate records of Schedule II, III, IV, and V controlled substances.111

        503.     This fine was preceded by numerous others throughout the country.

        504.     In February 2016, CVS paid $8 million to settle allegations made by the DEA and

 the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

 the CSA and filling prescriptions with no legitimate medical purpose.

        505.     In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

 Connecticut failed to maintain proper records in accordance with the CSA.

        506.     In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

 Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

 monitoring program website and review a patient’s prescription history before dispensing certain

 opioid drugs.

        507.     In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

 50 of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

 addictive painkillers—more than 500 times between 2011 and 2014.

        508.     In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

 Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

 violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

 States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions




 111
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle
 Alleged Violations of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017),
 https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-
 controlled-substance-act.

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 with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

 practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

 to prescribe that drug.    Additionally, the government alleged that CVS had recordkeeping

 deficiencies.

        509.     In May 2015, CVS agreed to pay a $22 million penalty following a DEA

 investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

 prescription opioids, “based on prescriptions that had not been issued for legitimate medical

 purposes by a health care provider acting in the usual course of professional practice. CVS also

 acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

 that were issued based on legitimate medical need.”

        510.     In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

 allegations it filled prescriptions written by a doctor whose controlled-substance registration had

 expired.

        511.     In 2013, CVS agree to pay $ 11 million to resolve allegations it violated the CSA

 and related federal regulations at its retail stores in Oklahoma and elsewhere by: (1) creating and

 using “dummy” DEA registration numbers on dispensing records, including records provided to

 state prescription drug monitoring programs; (2) filling prescriptions from prescribers who lacked

 current or valid DEA numbers; and (3) substituting the DEA number of non-prescribing

 practitioners for the DEA numbers of prescribers on prescription records.

        512.     Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

 intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

 registration numbers.




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                        ii.     Walgreens

        513.    Walgreens is the second-largest pharmacy store chain in the United States behind

 CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

 more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

 fiscal 2017.

        514.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

 Indeed, Walgreens agreed to the largest settlement in DEA history at the time—$80 million—to

 resolve allegations that it committed an unprecedented number of recordkeeping and dispensing

 violations of the CSA, including negligently allowing controlled substances such as oxycodone

 and other prescription painkillers to be diverted for abuse and illegal black market sales. These

 actions demonstrate Walgreens’s knowledge of, and disregard for, its obligations to prevent

 diversion.

        515.    On September 30, 2009, the DEA issued an Order to Show Cause against a

 Walgreens retail facility in San Diego, California based in part on allegations that it was dispensing

 controlled substances, including opioids, to individuals that it knew or should have known were

 diverting the controlled substances. Although the Order addressed this specific location, the

 response, including Walgreens’s internal assessment of its compliance, or lack thereof, revealed

 systemic failures from which its Lake County pharmacies would not have been exempt.

        516.    In April 2011, Walgreens entered into an Administrative Memorandum of

 Agreement (“2011 MOA”) with the DEA arising from the San Diego OTSC and expressly agreed

 that it would “maintain a compliance program to detect and prevent diversion of controlled

 substances as required under the Controlled Substances Act (“CSA”) and applicable DEA

 regulations” including regarding the dispensing practices at all of its nationwide pharmacies.



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         517.    On September 14, 2012, however, the DEA also issued an Order to Show Cause

 and Immediate Suspension Order (“ISO”), described above against Walgreens’s Distribution

 Center in Jupiter, Florida, as well as Orders to Show Cause related to certain Walgreens

 pharmacies. Evidencing the existence of systemic failures, the ISO stated that, “[DEA’s] concerns

 with [Walgreens’] distribution practices are not limited to the six Walgreens pharmacies [discussed

 in the ISO].”

         518.    In 2013, Walgreens agreed to the largest settlement in DEA history at the time—

 $80 million—to resolve allegations that it committed an unprecedented number of recordkeeping

 and dispensing violations of the CSA, including negligently allowing controlled substances such

 as oxycodone and other prescription painkillers to be diverted for abuse and illegal black-market

 sales. In addition to the monetary payment, the Jupiter, Florida distribution center lost its authority

 to distribute or dispense controlled substances, including opioids, for two years. The Department

 of Justice, in describing the settlement, explained that the conduct at issue included Walgreens’s

 “alleged failure to sufficiently report suspicious orders was a systematic practice that resulted in

 at least tens of thousands of violations and allowed Walgreens’s retail pharmacies to order and

 receive at least three times the Florida average for drugs such as oxycodone.”112

         519.    The settlement resolved investigations into, and allegations of, CSA violations in

 Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

 into illicit channels.




 112
     Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record
 Settlement Of $80 Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t
 of Just. (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-
 settlement-80-million-civil-penalties-under-controlled.


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        520.    As part of the 2013 MOA described above, Walgreens “acknowledge[d] that certain

 Walgreens retail pharmacies did on some occasions dispense certain controlled substances in a

 manner not fully consistent with its compliance obligations under the CSA . . . and its

 implementing regulations.”113 The 2013 MOA required Walgreens to, among other things,

 “maintain a compliance program in an effort to detect and prevent diversion of controlled

 substances” as required by law.114

        521.    Walgreens’s Florida operations at issue in this settlement highlight its egregious

 conduct regarding diversion of prescription opioids.     Walgreens’s Florida pharmacies each

 allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten times

 the average amount.

        522.    They increased their orders over time, in some cases as much as 600% in the space

 of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

 oxycodone in a one-month period. Yet Walgreens corporate officers not only turned a blind eye,

 but provided pharmacists with incentives through a bonus program that compensated them based

 on the number of prescriptions filled at the pharmacy. Yet Walgreens corporate officers turned a

 blind eye to these abuses. In fact, the long term Controlled Substance Compliance Officer at

 Walgreens suggested, in reviewing the legitimacy of prescriptions coming from pain clinics, that

 “if these are legitimate indicators of inappropriate prescriptions perhaps we should consider not

 documenting our own potential noncompliance,” underscoring Walgreens’s attitude that profit

 outweighed compliance with the CSA or the health of communities. 115




 113
      WAGMDL00490963 at WAGMDL00490964.
 114
      Id. at WAGMDL00490968.
 115 WAGFLDEA00001890; WAGMDL00815828;WAGFLDEA00000127.



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         523.   Walgreens’s settlement with the DEA stemmed from the DEA’s investigation into

 Walgreens’s distribution center in Jupiter, Florida, which was responsible for significant opioid

 diversion in Florida. According to the Order to Show Cause, Defendant Walgreens’s corporate

 headquarters pushed to increase the number of oxycodone sales to Walgreens’s Florida

 pharmacies, and provided bonuses for pharmacy employees based on number of prescriptions

 filled at the pharmacy in an effort to increase oxycodone sales. In July 2010, Defendant Walgreens

 ranked all of its Florida stores by number of oxycodone prescriptions dispensed in June of that

 year, and found that the highest-ranking store in oxycodone sales sold almost 18 oxycodone

 prescriptions per day. All of these prescriptions were filled by the Jupiter Center, a distribution

 center that also distributed into the County.

         524.   An August 2013 email shows Walgreens understood the consequences of its

 actions, explaining that Walgreens’s “previous system would continue to send additional product

 to the store without limit or review which made possible the runaway growth of dispensing

 products like Oxycodone.”116

         525.   Walgreens has also settled with a number of state attorneys general, including West

 Virginia ($575,000) and Massachusetts ($200,000).

         526.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

 2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

 use of some Medicaid patients who were considered high-risk.

         527.   In January 2017, an investigation by the Massachusetts Attorney General found that

 some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

 professional judgment when dispensing opioids and other controlled substances—despite the



 116
       WAGMDL00021425

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 context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

 follow certain procedures for dispensing opioids.

        528.    The actions against Walgreens as both a distributor and a retail pharmacy

 demonstrate it routinely, and as a matter of standard operating procedure, violated its legal

 obligations under the CSA and other laws and regulations governing the distribution and

 dispensing of prescription opioids.

                        iii. Rite Aid

        529.    With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

 is the largest drugstore chain on the East Coast and the third-largest in the United States, with

 annual revenue of more than $21 billion.

        530.    Confirming its systemic failures to implement and adhere to adequate controls

 against diversion, Rite Aid has repeatedly faced enforcement actions. In addition to those listed

 in the Third Amended Complaint, as recently as January 2019, it paid $177,000 into the Naloxone

 Fund for the State of Massachusetts to resolve allegations that failed to follow regulations designed

 to prevent substance use disorder in its dispensing of controlled substances, including opioids.

 Evidencing the systemic nature of the problem, Rite Aid, as part of the agreement, agreed to

 improve its dispensing practices.

        531.    In 2018, Rite Aid also agreed to pay a $300,000 settlement for filling Schedule III

 controlled substances prescriptions in excess of the maximum dosage units allowed to be dispensed

 at one time.

        532.    In 2017, Rite Aid paid $834,200 in civil penalties to resolve allegations by the DEA

 that Rite Aid pharmacies in Los Angeles dispensed controlled substances in violation of the CSA.

 The DEA’s “investigation revealed the incorrect or invalid registration numbers were used at least



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 1,298 times as a result of Rite Aid’s failure to adequately maintain its internal database.”117 Further

 evidencing the lack of internal controls, the settlement also “resolve[d] allegations that Rite Aid

 pharmacies dispensed, on at least 63 occasions, prescriptions for controlled substances written by

 a practitioner whose DEA registration number had been revoked by the DEA for cause.”118

        533.    In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

 nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

 the CSA.

        534.    The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

 country had a pattern of non-compliance with the requirements of the CSA and federal regulations

 that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

 pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

 in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).

                            iv. Walmart

        535.    In addition to the actions described above against Walmart, a prosecution against a

 Virginia prescriber revealed failures at Walmart pharmacies from 2007 to 2012. A Decision and

 Order in that case revealed that a Walmart pharmacy would fill prescriptions pursuant to a

 telephone message from a staff member of the prescriber, purportedly on behalf of the prescriber,

 even though she failed to provide the prescriber’s DEA number.              Despite the absence of

 information required by DEA regulations, the Walmart pharmacy would fill the prescription.119


 117
    DEA, Rite Aid Pays $834,200 Settlement for Alleged Controlled Substances Act Violations in
 Los Angeles (March 9, 2017), https://www.dea.gov/press-releases/2017/03/09/rite-aid-pays-
 834200-settlement-alleged-controlled-substances-act
 118
    Id.
 119
    DOJ, DEA, Docket No. 15-26, [FR Doc. No. 2017-13158] Peter F. Kelly, D.P.M.; Decision
 and Order, https://www.deadiversion.usdoj.gov/fed_regs/actions/2017/fr0623.htm


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 By mid-November of 2008, three Walmart pharmacies had dispensed more than 200 hydrocodone

 prescriptions and refills on behalf of the prescriber. In 2012, the prescriber learned that someone

 was fraudulently using his DEA number. He called a Walmart pharmacy regarding refill requests

 faxed from his office, and advised “that somebody was fraudulently using [his] DEA number.”120

 Although he asked that his DEA number be blocked, the same pharmacy still filled two

 prescriptions on his behalf after this alert. Although Walmart did not face sanctions for its conduct,

 the Opinion and Order described “the fact that prescriptions which were missing [the]

 Respondent’s DEA number were routinely filling notwithstanding that they were facially invalid,”

 and “that the prescriptions were for hydrocodone in quantities and dosings that were clearly outside

 the scope of what is usually prescribed by podiatrists” as “deeply disturbing.”121

        536.    Federal prosecutors had also taken action against five Walmart and Sam’s Club

 Pharmacies in Texas, alleging that they failed to keep records required to help prevent diversion

 of controlled substances as required by the CSA. Specifically, “accountability audits did not match

 the drugs on hand, revealing major overages and shortages in the accountability of controlled

 substances, and there were missing invoices for controlled substances all in violation of the

 CSA.”122 A U.S. Attorney further explained that “[b]ecause of the pharmacies’ lack of proper

 record keeping, a variety of Schedule II, III, IV and V controlled substances were lost or stolen

 and possibly diverted.”123




 120
     https://www.deadiversion.usdoj.gov/fed_regs/actions/2017/fr0623.htm
 121
     Id.
 122
       Associated Press, Wal-Mart Settles Drug Records Accusation, (Jan 7, 2009),
 http://prev.dailyherald.com/story/?id=262762
 123
     Id.


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          537.   As recently as September 2018, minutes of an Oklahoma State Board of Pharmacy

 meeting reflect that an Oklahoma “Wal-Mart Pharmacy was charged with multiple violations of

 state and federal regulations and rules including establishing and maintaining effective controls

 against diversion of prescription drugs.”124    Walmart agreed to pay a fine to resolve the seven

 alleged violations.

          538.   Numerous state and federal drug diversion prosecutions have occurred in which

 prescription opioid pills were procured from the Chain Pharmacies. The allegations in this

 Complaint do not attempt to identify all these prosecutions, and the information above is merely

 by way of example.

          539.   The litany of state and federal actions against the Chain Pharmacies demonstrate

 that they routinely, and as a matter of standard operation procedure, violated their legal obligations

 under the CSA and other laws and regulations that govern the distribution and dispensing of

 prescription opioids.

          540.   Throughout the country and in Lake County in particular, the Chain Pharmacies

 were or should have been aware of numerous red flags of potential suspicious activity and

 diversion.

          541.   On information and belief, from the catbird seat of their retail pharmacy operations,

 the Chain Pharmacies knew or reasonably should have known about the disproportionate flow of

 opioids into the County and the operation of “pill mills” that generated opioid prescriptions that,

 by their quantity or nature, were red flags for if not direct evidence of illicit supply and diversion.

 Additional information was provided by news reports, and state and federal regulatory actions,

 including prosecutions of pill mills in the area.



 124
       https://www.ok.gov/pharmacy/documents/Min%20September%202018.pdf

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        542.    On information and belief, the Chain Pharmacies knew or reasonably should have

 known about the devastating consequences of the oversupply and diversion of prescription opioids,

 including spiking opioid overdose rates in the community.

        543.    On information and belief, because of (among other sources of information)

 regulatory and other actions taken against the Chain Pharmacies directly, actions taken against

 others pertaining to prescription opioids obtained from their retail stores, complaints and

 information from employees and other agents, and the massive volume of opioid prescription drug

 sale data that they developed and monitored, the Chain Pharmacies were well aware that their

 distribution and dispensing activities fell far short of legal requirements.

        544.    The Chain Pharmacies’ actions and omission in failing to effectively prevent

 diversion and failing to identify, and halt suspicious orders have contributed significantly to the

 opioid crisis by enabling, and failing to prevent, the diversion of opioids.

    H. The Opioids the Defendants Sold Migrated into Other Jurisdictions.

        545.    As the demand for prescription opioids grew, fueled by their potency and purity,

 interstate commerce flourished: opioids moved from areas of high supply to areas of high demand,

 traveling across state lines in a variety of ways.

        546.    First, prescriptions written in one state may, under some circumstances, be filled in

 a different state. But even more significantly, individuals transported opioids from one jurisdiction

 specifically to sell them in another.

        547.    When authorities in states such as Ohio and Kentucky cracked down on opioid

 suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role, as

 its lack of regulatory oversight created a fertile ground for pill mills. Residents of Ohio and other

 states would simply drive to Florida, stock up on pills from a pill mill, and transport them back to



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 home to sell.     The practice became so common that authorities dubbed these individuals

 “prescription tourists.”

        548.     The facts surrounding numerous criminal prosecutions illustrate the common

 practice.   For example, one man from Warren county, Ohio, sentenced to four years for

 transporting prescription opioids from Florida to Ohio, explained that he could get a prescription

 for 180 pills from a quick appointment in West Palm Beach, and that back home, people were

 willing to pay as much as $100 a pill—ten times the pharmacy price. In Columbus, Ohio, a DEA

 investigation led to the 2011 prosecution of sixteen individuals involved in the “oxycodone

 pipeline between Ohio and Florida.”125 When officers searched the Ohio home of the alleged

 leader of the group, they found thousands of prescriptions pills, including oxycodone and

 hydrocodone, and $80,000 in cash. In 2015, another Columbus man was sentenced for the same

 conduct—paying couriers to travel to Florida and bring back thousands of prescription opioids,

 and, in the words of U.S. District Judge Michael Watson, contributing to a “pipeline of death.”126

        549.     Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating a pill

 mill; the U.S. attorney’s office found that most of the pain clinic’s customers came from other

 states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina, and Florida.

 Another investigation in Atlanta led to the 2017 conviction of two pharmacists who dispensed

 opioids to customers of a pill mill across from the pharmacy; many of those customers were from

 other states, including Ohio and Alabama.




 125
       16 Charged in ‘Pill Mill’ Pipeline, Columbus Dispatch (June 7, 2011),
 http://www.dispatch.com/content/stories/local/2011/06/07/16-charged-in-pill-mill-pipeline.html.
 126
     Leader of Ohio pill-mill trafficking scheme sentenced, Star Beacon (July 16, 2015),
 http://www.starbeacon.com/news/leader-of-ohio-pill-mill-trafficking-scheme-sentenced/article_
 5fb058f5-deb8-5963-b936-d71c279ef17c.html.

                                                 169
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        550.      In yet another case, defendants who operated a pill mill in south Florida were tried

 in eastern Kentucky based on evidence that large numbers of customers transported oxycodone

 back to the area for both use and distribution by local drug trafficking organizations. As explained

 by the Sixth Circuit in its decision upholding the venue decision, “[d]uring its existence, the clinic

 generated over $10 million in profits. To earn this sum required more business than the local

 market alone could provide. Indeed, only about half of the [Pain Center of Broward]’s customers

 came from Florida. Instead, the clinic grew prosperous on a flow of out-of-state traffic, with

 prospective patients traveling to the clinic from locations far outside Ft. Lauderdale, including

 from Ohio, Georgia, and Massachusetts.”127 The court further noted that the pill mill “gained

 massive financial benefits by taking advantage of the demand for oxycodone by Kentucky

 residents.”128

        551.      The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was so

 well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

 Roxicodone pills manufactured by Mallinckrodt. Eventually, as police began to stop vehicles with

 certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They rented cars

 just over the Georgia state line to avoid the telltale out-of-state tag. If they were visiting multiple

 pill mills on one trip, they would stop at FedEx between clinics to mail the pills home and avoid

 the risk of being caught with multiple prescriptions if pulled over. Or they avoided the roads

 altogether: Allegiant Air, which offered several flights between Appalachia and Florida, was so

 popular with drug couriers that it was nicknamed the “Oxy Express.”129,



 127
     United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
 128
     Id. at 861.
 129
      Id.; see also Andrew Welsh-Huggins, States Take on ‘Tourists’ Trafficking Painkillers,
 Republican Herald (July 9, 2012). Note that Interstate 75 is also called as the Oxy Express; for


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        552.   While the I-75 corridor was well utilized, prescription tourists also came from other

 states. The director of the Georgia drugs and narcotics agency observed that visitors to Georgia

 pill mills come from as far away as Arizona and Nebraska.

        553.   Similar pipelines developed in other regions of the country. For example, the I-95

 corridor was another transport route for prescription pills. As the director of the Maine Drug

 Enforcement Agency explained, the oxycodone in Maine was coming up extensively from Florida,

 Georgia and California. And according to the FBI, Michigan plays an important role in the opioid

 epidemic in other states; opioids prescribed in Michigan are often trafficked down to West

 Virginia, Ohio, and Kentucky.

        554.   Along the West Coast, over a million pills were transported from the Lake Medical

 pain clinic in Los Angeles and cooperating pharmacies to the City of Everett, Washington.

 Couriers drove up I-5 through California and Oregon, or flew from Los Angeles to Seattle. The




 example, the Peabody Award-winning documentary by that name focuses on the transport of
 prescription opioids along I-75. https://www.youtube.com/watch?v=wGZEvXNqzkM.

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 Everett-based dealer who received the pills from southern California wore a diamond necklace in

 the shape of the West Coast states with a trail of green gemstones—the color of 80-milligram

 OxyContin—connecting Los Angeles and Washington state.




        555.    Abundant evidence, thus, establishes that prescription opioids migrated between

 cities, counties, and states, including into Ohio from West Virginia, Kentucky, Illinois, Georgia,

 and Florida. As a result, prescription data from any particular jurisdiction does not capture the full

 scope of the misuse, oversupply and diversion problem in that specific area. As the criminal

 prosecutions referenced above show, if prescription opioid pills were hard to get in one area, they

 migrated from another. The manufacturers and distributors were fully aware of this phenomenon

 and profited from it.

    I. Ohio-Specific Facts

                    1. Defendants Breached Their Duties in Ohio.

        556.    In addition to the duties imposed by federal law, under Ohio law, distributors have

 a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids. To that end, the

 Ohio Pharmacy Board requires that drug wholesalers “shall establish and maintain inventories and

 records of all transactions regarding the receipt and distribution or other disposition of dangerous

 drugs,” and that, as a minimum requirement of wholesale distribution in this State, “[a] system

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 shall be designed and operated to disclose orders for controlled substances and other dangerous

 drugs subject to abuse.” Ohio Administrative Code § 4729-9-16(H) (emphasis added); R.C.

 4729.52 (requiring licensed wholesale distributors to comply with Ohio Board of Pharmacy

 security regulations); accord 21 U.S.C. § 823 (mandating that registration be consistent with the

 public interest, which, in turn, requires “maintenance of effective controls against diversion . . .

 into other than lawful medical, scientific, or industrial channels” and “compliance with applicable

 State and local law”); 21 C.F.R. § 1301.74 (imposing duty to monitor, detect, investigate, refuse

 to fill, and report suspicious orders under federal law).

        557.    Ohio regulations further mandate that suspicious orders, defined as unusual in size

 or frequency or deviation from buying patterns, be reported to the Ohio Board of Pharmacy: “The

 wholesaler shall inform the state board of pharmacy of suspicious orders for drugs when

 discovered. Suspicious orders are those which, in relation to the wholesaler’s records as a whole,

 are of unusual size, unusual frequency, or deviate substantially from established buying patterns.”

 Ohio Administrative Code § 4729-9-16(H)(1)(e) et seq. (emphasis added); see also id. §§ 4729-9-

 12(G) & 4729-9-28(E). Any of the red flags identified by law trigger a duty to report, but this list

 is not exhaustive. Other factors—such as whether the order is skewed toward high dose pills, or

 orders that are skewed towards drugs valued for abuse, rather than other high-volume drugs, such

 as cholesterol medicines— also should alert distributors to potential problems. Distributors also

 have a duty to know their customers and the communities they serve. To the extent that, through

 this process of customer due diligence, a distributor observes suspicious circumstances—such as

 cash transactions or young and seemingly healthy patients filling prescriptions for opioids at a

 pharmacy they supply—those observations can also trigger reasonable suspicion. A single order




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 can warrant scrutiny, or it may be a pattern of orders, or an order that is unusual given the

 customer’s history or its comparison to other customers in the area.

        558.    Defendants were required by Ohio law to operate in compliance with federal laws,

 including the federal Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. and its

 implementing regulations. See Ohio Administrative Code §§ 4729-9-16(L) and 4729-9-28(I)

 (mandating that “[w]holesale drug distributors shall operate in compliance with applicable federal,

 state, and local laws and regulations”). Ohio Pharmacy Board regulations further mandate that

 “[a] system shall be designed and operated to disclose orders for controlled substances and other

 dangerous drugs subject to abuse,” and that suspicious orders, defined as unusual in size or

 frequency or deviation from buying patterns, be reported to the Ohio Board of Pharmacy. Ohio

 Administrative Code §§ 4729-9-16(H); 4729-9-12(G); 4729-9-28(E).

        559.    As pharmacies, Defendants also have independent duties under Ohio law. The

 obligations imposed under the Ohio Administrative Code imposes obligations and duties upon

 “licensees” and “registrants,” to “provide effective and approved controls and procedures to deter

 and detect theft and diversion of dangerous drugs.” O.A.C. § 4729-9-05(A) extend to wholesalers,

 and pharmacies alike.

        560.    Under the Ohio Administrative Code “[a]n order purporting to be a prescription

 issued not in the usual course of bona fide treatment of a patient is not a prescription and the person

 knowingly dispensing such a purported prescription, as well as the person issuing it, shall be

 subject to the penalties of law.” O.A.C. § 4729-5-21(A); O.A.C. § 4729-5-30(A) (same).

        561.    Although they act through their agents, the Chain Pharmacies, as the registrants,

 are ultimately responsible to prevent diversion, as described above. To that end, the Tenth

 Appellate District of the Court of Appeals of Ohio has determined that the Ohio Administrative



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 Code “places the ultimate responsibility upon the ‘registrant’ … to provide effective and approved

 controls and procedures to deter and detect theft and diversion of dangerous drugs.”130 Further, as

 described above, the obligations under the controlled-substances laws extend to any entity selling

 prescription opioids, whether it is the registration-holder or not.

        562.    Thus, in addition to their duties as distributors, the Chain Pharmacies also had a

 duty to design and implement systems to prevent diversion of controlled substances in their retail

 pharmacy operations. The Chain Pharmacies had the ability, and the obligation, to look for these

 red flags on a patient, prescriber, and store level, and to refuse to fill and to report prescriptions

 that suggested potential diversion.

                    2. The Opioid Epidemic in Ohio and the County

        563.    A number of Ohio counties had an opioid prescription rate exceeding their

 population, and at times well in excess of their population, for extended periods of time.

        564.    Even in one of the states hardest hit by the opioid epidemic, opioid doses dispensed

 per patient exceeded statewide averages from 2010 through 2018.




 130
    Linden Med. Pharm. v. Ohio State Bd. of Pharm., 2001 Ohio App. LEXIS 2041, at *24 (Ohio
 Ct. App. 11th Dist. May 8, 2001) (explaining that licensees electing to operate a business through
 employees are responsible to the licensing authority for their conduct”).

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        565.    ARCOS data disclosed in this MDL reveals millions of pills flowing through the

 County in 2006-2012 as well.




        566.    Given this, and the additional red flags described below, Defendants should have

 been on notice that the diversion of opioids was likely occurring in and around Lake County,

 should have investigated, ceased filling orders for opioids, and reported potential diversion to law

 enforcement.

        567.    Publicly available data suggests distribution of opioids to Lake County exceeded

 reasonable medical use and that opioids were likely diverted into the County. As described above,

 the volume of opioids distributed and dispensed by each Defendant in the County is so high as to

 raise a red flag that not all of the prescriptions being ordered could be for legitimate medical uses.




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        568.    As described above, Defendants were responsible for a large share of this volume.

 Even amidst an epidemic, they maintained and even grew the volume of opioids they purchased,

 and by extension dispensed. As further described above, much of this volume was self-distributed.




        569.    Walgreens, for example, also knew of prescribers with problematic prescribing

 patterns. Instead of recognizing, or stopping, the harm they were causing through sales from these

 prescribers, Walgreens tried to preserve them. One employee for example, sought “help” from a

 pharmacy manger to “not lose any more sales” of the highest strength, 80mg OxyContin pills,

 prescribed by Dr. Yokiel in Lake County:




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 A Walgreens chart list the same doctor as a top prescriber, as does a metric report for a

 Cuyahoga CVS.

        570.    In addition, the increase in fatal overdoses from prescription opioids has been

 widely publicized for years. The CDC estimates that for every opioid-related death, there are 733

 non-medical users. Defendants thus had every reason to believe that illegal diversion was

 occurring in Lake County.

        571.    Not only were prescription opioids diverted within the County, upon information

 and belief, they were being diverted into the County from Southern Ohio pill mills that, upon

 information and belief, Defendants also failed to report or cease supplying. An epidemiological

 report from the Ohio Governor’s Cabinet opiate action team cited the shutdown of southern Ohio

 pill mills as one of the chief factors in an increase throughout Ohio in heroin overdose rates (which,

 as explained below, is the drug turned to by prescription opioid users when those drugs are no

 longer available or too expensive). In Lake County, 240 people have lost their lives to heroin or

 fentanyl overdoses from 2013 to 2017 alone.

        572.    Based upon all of these red flags, it can be fairly inferred that each of the Defendants

 disregarded their reporting and due diligence obligations under Ohio law in and affecting the

 Plaintiff. Instead, they consistently failed to report or suspend illicit orders, deepening the crisis

 of opioid abuse, addiction, and death in Ohio and Lake County.

                    3. Defendants Have Created a Public Health Crisis in the County.

        573.    Ohio is among the states hardest hit by the opioid epidemic. “Opioid addiction,

 abuse, and overdose deaths have become the most pressing public health issue facing Ohio.”131

 Ohio in 2017 “led the country in drug overdose deaths per capita, a rate that continues to rise,


   C. William Swank Program in Rural-Urban Policy, Taking Measure of Ohio’s Opioid Crisis,
 131

 The Ohio State University (Oct. 2017) at 1.

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 overwhelming families, communities, and local governments across the state.” Overdose deaths

 have become the leading cause of death for Ohioans under the age of 55, and across all ages, more

 than two and a half times as many people die from drug overdoses as from car accidents. Most of

 the overdose fatalities in Ohio involved opioids.

        574.    In Ohio, an average of 14 people have died, per day, from fatal drug overdoses.

 Provisional data from the CDC showed the crisis continuing to explode during the first half of

 2017, with 5,232 Ohio overdose deaths recorded in the 12 months ending June 31, 2017. Most of

 the overdose fatalities in Ohio involved opioids. According to a recent study, in the seven years

 from 2010 to 2016, in Ohio, more than half a million “years of lost life” are attributable to opioid

 overdoses.132 The same study concluded that, in 2016, “opioid overdose lowered the lifespan of

 an average Ohioan by 0.97 years.”133 In 2018, Opioids were involved in 46,802 overdose deaths

 in Ohio—nearly 70% of all overdose deaths. These grim numbers likely understate the number of

 lives lost due to incomplete reporting.

        575.    Tragically, “Ohio’s death rate has grown faster than the national rate.” 134 From

 2000 to 2012, the State experienced a more that 366% increase in drug overdose deaths, a startling

 statistic driven largely by overdoses from prescription drugs. Measured from 2000 to 2015, the

 numbers are even more staggering: the rate of unintentional drug poisonings in Ohio jumped




 132

 https://journals.lww.com/journaladdictionmedicine/fulltext/2020/04000/years_of_life_lost_due_t
 o_opioid_overdose_in_ohio_.12.aspx
 133
     Hall, O. Trent DO; Hall, Orman E. MA; McGrath, Ryan P. PhD; Haile, Zelalem T. PhD,
 Years of Life Lost due to Opioid Overdose in Ohio, Temporal and Geographic Patterns of
 Excess Mortality, Journal of Addiction Medicine: March/April 2020 - Volume 14 - Issue 2 - p
 156-162, doi: 10.1097/ADM.0000000000000554,
 https://journals.lww.com/journaladdictionmedicine/fulltext/2020/04000/years_of_life_lost_due_t
 o_opioid_overdose_in_ohio_.12.aspx
 134
     Id.

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 642%, with the increase driven largely by opioid-related overdoses. In 2015, there were 3,050

 Ohio overdose deaths, up 20.5% from 2,531 Ohio overdose deaths in 2014. Eighty-five percent

 of these overdoses involved opioids.

        576.    Between 2015 and 2016, overdose deaths in Ohio rose by nearly 33% to 4,329

 people. Reports from death certifications show that the overall number of drug overdose deaths

 attributable to all opioids rose from 85% in 2015 to 86.3% in 2016.

        577.     These figures make the opioid epidemic in Ohio one of the most deadly epidemics

 the state has faced, measured by deaths and mortality rates. In 2010, mortality rates were four to




 five times higher than the rates during the “black tar” heroin epidemic in the mid-1970s and more

 than three times what they were during the peak years of the crack cocaine epidemic in the early

 1990s. To quote one Ohio medical examiner: we are currently suffering a “slow-moving mass

 fatality that occurred last year, is occurring again this year, and will occur again next year.” 135


 135
     Testimony of Dr. Thomas P. Gilson, Chief Medical Examiner of Cuyahoga County, Hearing
 of the U.S. Permanent Subcommittee on Investigations, of the Senate Committee on Homeland


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 578.   Even in the midst of such staggering statewide statistics, Lake County stands out. Even as

    the County and its residents have worked to save lives, in 2017 alone, 87 people in Lake County

    still lost their lives to opioid overdoses.




        579.    In addition to the death that has plagued Lake County, County resources have been

 depleted due to Lake County’s efforts in combating this epidemic.

        580.    In response to the epidemic, Lake County has created the Lake County Opiate Task

 Force, which is a collaboration between courts, law enforcement, first responders, education,

 Coroner, Health District and the Department of Job and Family Services. The Task Force is

 committed to reduce the tragic consequences that result from the use of opiates in Lake County.




 Security and Government Affairs, Subject, Public Health Emergency Stemming from
 Opiate/Opioid                                                                               Crisis,
 https://www.google.com/search?source=hp&ei=dXLeWsSRJYSc_Qbgi5DQBw&q=slow-
 moving+mass+fatality+that+occurred+&oq=slow-
 moving+mass+fatality+that+occurred+&gs_l=psy-
 ab.3...632.632.0.1184.1.1.0.0.0.0.89.89.1.1.0....0...1c.1.64.psy-ab..0.0.0....0.Lr59Z68SFFY


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        581.    Lake County has also created a “Quick Response Team” which works to connect

 more people who are struggling in Lake County with addiction with treatment services.

        582.    Between 2013 and 2018, opioid cases handled by the Lake County crime lab nearly

 tripled, from 296 cases in 2013 to 868 cases in 2017:136




        583.    A study by the Ohio Substance Abuse Monitoring Network reported on the

 connection between oxycodone use and heroin addiction, fording that “young new heroin abusers

 seeking treatment reported OxyContin abuse prior to becoming addicted to heroin,” often after

 OxyContin became too expensive or difficult to obtain.”

        584.    Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin

 and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine

 to sedate large wild animals such as elephants, and has been researched as a chemical weapon.




 136
   https://www.americancommunities.org/how-an-ohio-middle-suburb-is-tackling-its-opioid-
 epidemic/

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 Because of its potency, the Ohio Attorney General’s website recommends that chemists and lab

 technicians who test for carfentanil use protective gear.

        585.    So deadly is this trend that surges of fatal drug overdoses have outpaced the

 capacity of some local morgues.       Coroners or medical examiners from at least four Ohio

 communities— Cuyahoga, Ashtabula, Summit, and Stark Counties— have had to request the use

 of a refrigerated trailer known as a “mobile morgue unit” and originally intended for catastrophes

 leading to mass casualties, from the Ohio Department of Health.

        586.    Overdose deaths are only one consequence. Opioid addiction and misuse also result

 in an increase in emergency room visits, emergency responses, and emergency medical

 technicians’ administration of Narcan or naloxone—the antidote to opioid overdose. In fact, while




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 the rate of opioid-related emergency department visits increased in almost all states from 2009 to

 2014, Ohio experienced the greatest increase of any state in the nation, and the rate of opioid-

 related inpatient stays more than doubled as well, according to data from the Agency of Healthcare

 Research and Quality.

        587.    Ohio EMS personnel administered naloxone (or Narcan) more than 44,500 times

 in 2017 alone. This means that, on average, Ohio EMS personnel administered over 122 doses of

 naloxone every day in 2017 alone. This information, too, is likely understated, as only 72% of

 Ohio EMS agencies reported data for inclusion in the state’s summary brief.

        588.    Individuals addicted to opioids are so familiar with the potential for overdose that

 many choose to use drugs in public places, such as a Walmart bathroom, where they can be found

 and revived.

        589.    As communities have worked to save lives, the opioid epidemic has continued to

 outpace their efforts. Opioid addiction is now the primary reason that Ohioans seek substance

 abuse treatment. According to addiction programs in the County, a typical course sees addicts

 requesting more and more opioids from their doctors, who eventually cut them off. Many addicts

 then doctor-shop for additional prescriptions, and when that source runs out, turn to the streets to

 buy opioids illicitly. A significant number become heroin addicts. Addiction treatment programs,

 whose patient populations vary, reported rates of patients who had switched from prescription

 opioids to heroin ranging from half to 95%. Those addicts who do reach treatment centers often

 do so when their health, jobs, families and relationships reach the breaking point, or after turning

 to criminal activity such as prostitution and theft to sustain their addiction. Unfortunately, few are

 successful in getting and staying clean; repeated relapse is common.




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        590.    Injury and illness in Ohio extends well beyond even overdoses and emergency

 response. According to the CDC, an increase in Hepatitis C in the United States is directly tied to

 intravenous injection of opioids. Once again, Ohio is no exception to this trend. The number of

 cases of chronic Hepatitis C in Ohio nearly tripled from 2011-2015, an increase that resulted largely

 from intravenous use of drugs, including OxyContin and other prescription painkillers. The co-

 morbidity is sufficiently high that the Ohio Department of Health recommends that women of

 childbearing age who have tested positive for drug and dependence also receive screening for

 Hepatitis C and HIV.

        591.    The County also has experienced an increase in drug-related crimes and has had to

 increase its spending on drug-related treatment and prevention, as well as public-safety.

        592.    Perhaps the most profound effect, though, has been on children orphaned or

 otherwise displaced by opioids. Children also have been direct victims of opioid overdoses.

        593.    Statewide, “[c]hildren of parents addicted to opiates,” described as the “invisible

 victims of the epidemic,” are “flooding into the state’s child protection system.”137 Seventy percent

 of infants placed in Ohio's foster care system are children of parents with opioid addictions. Children

 with parents addicted to drugs tend to stay in foster care longer, and they often enter the system

 having experienced significant trauma related to their parents’ addiction, which makes their care

 more expensive and place the children at greater risk for poor mental and physical health their

 entire lives. “Child welfare agencies across the state say they’re seeing more kids in need of foster

 care or living with extended family because of opioids.”138




 137
          Public      Children      Services        Association     of      Ohio     (PCSAO),
 http://www.pcsao.org/programs/opiate-epidemic.
 138
     https://radio.wosu.org/post/what-opioid-crisis-costing-mahoning-valley#stream/0

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        594.    These figures do not account for children who are placed in kinship care or who

 receive public services without being displaced from their homes. Increasingly, relatives have

 been caring for children impacted by the opioid epidemic. As of May 2017, approximately

 124,000 children—5% of the children in the state—were being raised by relatives other than their

 parents. Even so, public agencies have struggled to find homes for children in need, and “[t]he

 system’s historic reliance on kinship families has been checked because, too often, multiple

 members of the same family are addicted.”139

        595.    According to a report by the Public Children Services Association of Ohio

 (“PCSAO”), a statewide membership organization for county children services agencies, if

 children continue to enter foster care at the current rate, by 2020, more than 20,000 Ohio children

 will be in foster care. Already, Ohio’s children’s services have reached a state of crisis. Increasing

 placement costs have sent agencies into significant deficits, at the same time they are also facing

 recruitment, training and overtime costs due to loss of staff because of burnout, with as many as 1

 in 7 caseworkers with zero performance concerns leaving children’s services.

        596.    Ohio has the heaviest reliance on local dollars for child protection services of any

 state in the nation, with counties shouldering more than half of the costs through local government

 funds and dedicated levies.

        597.    In Ohio, the number of infants born with neonatal abstinence syndrome increased

 six-fold in from 2004 to 2011. From 2009 to 2014, data from seven regional hospitals showed a

 greater-than six-fold increase in drug-exposed infants. As a whole, the State has seen an 816%

 increase in the number of infants born with NAS from 2006 to 2015, with opioids and other illegal




 139
         Public     Children      Services      Association             of      Ohio        (PCSAO),
 http://www.pcsao.org/programs/opiate-epidemic.

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 narcotics being the most commonly implicated drugs since 2009. In 2015 alone, 2,174 infants

 were admitted to inpatient settings for this painful condition, an average of six per day. NAS has

 become so prevalent in Ohio communities that the state’s Department of Health now recommends

 screening all newborns for NAS.

          598.   This dramatic rise in NAS is an epidemic within an epidemic. According to the

 Ohio Perinatal Quality Collaborative, the “NAS epidemic is steadily increasing, overwhelming

 social service systems and public payers.”140 In 2013, the average inpatient stay and bill for babies

 suffering from NAS was four times longer and four times higher than for other infants in Ohio.

 Newborns with NAS spent approximately 26,000 days in Ohio hospitals in 2014, with health care

 costs totaling $105 million. These hospitals have lacked the resources to provide a safety net for

 these families; mothers and babies often are discharged from hospitals without resources to

 transition them to addiction treatment programs.

          599.   The costs of this human tragedy cannot be calculated or adequately compensated.

 But the financial costs that are already known are staggering. These resources are diverted from

 other important uses and some agencies will likely have to increase operating levies to fund their

 services, shifting an additional burden to Lake County residents. These costs do not even

 contemplate the resources necessary to fully address the epidemic.

       J. The Defendants Conspired To Engage In The Wrongful Conduct Complained Of
          Herein and Intended To Benefit Both Independently and Jointly From Their
          Conspiracy.

          600.   In addition, and on an even broader level, all Defendants took advantage of the

 industry structure, including end-running its internal checks and balances, to their collective

 advantage. Defendants agreed among themselves to increasing the supply of opioids and


 140
     Neonatal Abstinence Syndrome Project, OPQC, Ohio Perinatal Quality Collaborative,
 available at https://opqc.net/projects/NAS.

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 fraudulently increasing the quotas that governed the manufacture and supply of prescription

 opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

        601.    The interaction and length of the relationships between and among the Defendants

 reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

 Defendants operated together as a united entity, working together on multiple fronts, to engage in

 the unlawful sale of prescription opioids.

        602.    Defendants collaborated to expand the opioid market in an interconnected and

 interrelated network in the following ways, as set forth more fully below, including, for example,

 membership in the NACDS and HDA.

        603.    Defendants utilized their membership in the NACDS and HDA and other forms of

 collaboration to form agreements about their approach to their duties under the CSA to report

 suspicious orders. The Defendants overwhelmingly agreed on the same approach—to fail to

 identify, report or halt suspicious opioid orders, and fail to prevent diversion. Defendants’

 agreement to restrict reporting provided an added layer of insulation from DEA scrutiny for the

 entire industry as Defendants were thus collectively responsible for each other’s compliance with

 their reporting obligations. Defendants were aware, both individually and collectively aware of the

 suspicious orders that flowed directly from Defendants’ facilities.

        604.    Defendants knew that their own conduct could be reported by other Defendants and

 that their failure to report suspicious orders they filled could be brought to the DEA’s attention.

 As a result, Defendants had an incentive to communicate with each other about the reporting or

 suspicious orders to ensure consistency in their dealings with DEA.

        605.    The Defendants also worked together to ensure that the opioid quotas allowed by

 the DEA remained artificially high and ensured that suspicious orders were not reported to the



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 DEA in order to ensure that the DEA had not basis for refusing to increase or decrease production

 quotas due to diversion.

        606.    The desired consistency, and collective end goal was achieved. Defendants

 achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

 opioids.

    K. Statutes Of Limitations Are Tolled and Defendants Are Estopped From Asserting
       Statutes Of Limitations As Defenses.

                    1. Continuing Conduct

        607.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

 Defendants.

        608.    The continued tortious and unlawful conduct by the Defendants causes a repeated

 or continuous injury. The damages have not occurred all at once but have continued to occur and

 have increased as time progresses. The tort is not completed nor have all the damages been

 incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

 not ceased. The public nuisance remains unabated. The conduct causing the damages remains

 unabated.

                    2. Equitable Estoppel and Fraudulent Concealment

        609.    Defendants are equitably estopped from relying upon a statute of limitations

 defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal their

 unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

 Plaintiff’s community, that they were undertaking efforts to comply with their obligations under

 the state and federal controlled substances laws, all with the goal of protecting their registered

 manufacturer or distributor status in the State and to continue generating profits. Notwithstanding




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 the allegations set forth above, the Defendants affirmatively assured the public, including the State,

 the Plaintiff, and Plaintiff’s communities, that they are working to curb the opioid epidemic.

           610.   The Defendants were deliberate in taking steps to conceal their conspiratorial

 behavior and active role in the deceptive marketing and the oversupply of opioids through

 overprescribing and suspicious sales, all of which fueled the opioid epidemic.

           611.   Defendants also concealed from the County the existence of the County’s claims

 by hiding their lack of cooperation with law enforcement and affirmatively seeking to convince

 the public that their legal duties to report suspicious sales had been satisfied through public

 assurances that they were working to curb the opioid epidemic.             They publicly portrayed

 themselves as committed to working diligently with law enforcement and others to prevent

 diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

 to change their ways insisting they were good corporate citizens.                   These repeated

 misrepresentations misled regulators, prescribers and the public, including Plaintiff, and deprived

 Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential

 claims.

           612.   The County did not discover the nature, scope and magnitude of Defendants’

 misconduct, and its full impact on the County, and could not have acquired such knowledge earlier

 through the exercise of reasonable diligence.

           613.   Further, Defendants have also concealed and prevented discovery of information,

 including data from the ARCOS database, that will confirm their identities and the extent of their

 wrongful and illegal activities. On April 11, 2018, the Northern District of Ohio Ordered the

 transactional ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the

 Court reviewed its previous decisions on this data and held that, because the transaction data had



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 not yet been produced, the Plaintiffs could not identify the potential defendants in this litigation,

 and further held that such information was “critical”:

                This means Plaintiff[s] still do[] not know: (a) which manufacturers
                (b) sold what types of pills (c) to which distributors; nor do they
                know (d) which distributors (e) sold what types of pills (f) to which
                retailers (g) in what locations. In any given case, therefore, the
                Plaintiff[s] still cannot know for sure who are the correct defendants,
                or the scope of their potential liability. For example, the ARCOS
                spreadsheets produced by DEA show the top five distributors of
                oxycodone in Ohio in 2014 were Cardinal Health,
                AmerisourceBergen, McKesson, Walmart, and Miami-Luken; but
                there is no way to know whether (or how much) any of these five
                entities distributed oxycodone into Seneca County, Ohio (or any
                other particular venue). . . . [The] DEA and [the] defendants . . .
                [have] conceded the data was relevant and necessary to
                litigation . . . . Discovery of precisely which manufacturers sent
                which drugs to which distributors, and which distributors sent which
                drugs to which pharmacies and doctors, is critical not only to all of
                plaintiff[s’] claims, but also to the Court’s understanding of the
                width and depth of this litigation.

 Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

        614.    Defendants intended that their actions and omissions would be relied upon,

 including by Plaintiff and Plaintiff’s communities. Plaintiff and Plaintiff’s community did not

 know and did not have the means to know the truth, due to Defendants’ actions and omissions.

        615.    The Plaintiff and Plaintiff’s community reasonably relied on Defendants’

 affirmative statements regarding their purported compliance with their obligations under the law

 and consent orders.

                                       CAUSES OF ACTION

                               ELEVENTH CLAIM FOR RELIEF

                             Common Law Absolute Public Nuisance
                                  (Against All Defendants)

        616.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

 set forth herein unless inconsistent with the allegations in this Count, and further alleges:

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         617.      Defendants created and maintained a public nuisance which proximately caused

 injury to Plaintiff.

         618.      A public nuisance is an unreasonable interference with a right common to the

 general public.

         619.      Defendants have created and maintained a public nuisance by marketing,

 distributing, dispensing, and selling opioids in ways that unreasonably interfere with the public

 health, welfare, and safety in Plaintiff’s community, and Plaintiff and the residents of Plaintiff’s

 community have a common right to be free from such conduct and to be free from conduct that

 creates a disturbance and reasonable apprehension of danger to person and property.

         620.      The public nuisance is an absolute public nuisance because Defendants’ nuisance-

 creating conduct was intentional and unreasonable and/or violated statutes which established

 specific legal requirements for the protection of others.

         621.      Defendants have created and maintained an absolute public nuisance through their

 ongoing conduct of marketing, distributing, dispensing, and selling opioids, which are dangerously

 addictive drugs, in a manner which caused prescriptions and sales of opioids to skyrocket in

 Plaintiff’s community, flooded Plaintiff’s community with opioids, and facilitated and encouraged

 the flow and diversion of opioids into an illegal, secondary market, resulting in devastating

 consequences to Plaintiff and the residents of Plaintiff’s community.

         622.      Defendants know, and have known, that their intentional, unreasonable, and

 unlawful conduct will cause, and has caused, opioids to be used and possessed illegally and that

 their conduct has produced an ongoing nuisance that has had, and will continue to have, a

 detrimental effect upon the public health, welfare, safety, peace, comfort, and convenience of

 Plaintiff and Plaintiff’s communities.



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        623.    Defendants’ conduct has created an ongoing, significant, unlawful, and

 unreasonable interference with rights common to the general public, including the public health,

 welfare, safety, peace, comfort, and convenience of Plaintiff and Plaintiff’s community. See

 Restatement (Second) of Torts § 821B.

 624.   The interference is unreasonable because Defendants’ nuisance-creating conduct:

        a. Involves a significant interference with the public health, the public safety, the public
           peace, the public comfort, and/or the public convenience;

        b. At all relevant times was and is proscribed by state and federal laws and regulations;
           and/or

        c. Is of a continuing nature and, as Defendants know, has had and is continuing to have
           a significant effect upon rights common to the general public, including the public
           health, the public safety, the public peace, the public comfort, and/or the public
           convenience.

        625.    The significant interference with rights common to the general public is described

 in detail throughout this Complaint and includes:

        i. The creation and fostering of an illegal, secondary market for prescription opioids;

        ii. Easy access to prescription opioids by children and teenagers;

        iii. A staggering increase in opioid abuse, addiction, overdose, injuries, and deaths;

        iv. Infants being born dependent on opioids due to prenatal exposure, causing severe
            withdrawal symptoms and lasting developmental impacts;

        v. Employers have lost the value of productive and healthy employees; and

        vi. Increased costs and expenses for Plaintiff relating to healthcare services, law
            enforcement, the criminal justice system, social services, and education systems.

        626.    Defendants intentionally and unreasonably and/or unlawfully deceptively marketed

 and pushed as many opioids onto the market as possible, fueling addiction to and diversion of these

 powerful narcotics, resulting in increased addiction and abuse, an elevated level of crime, death

 and injuries to the residents of Plaintiff’s community, a higher level of fear, discomfort and



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 inconvenience to the residents of Plaintiff’s community, and direct costs to Plaintiff and Plaintiff’s

 community.

        627.    Each Defendant is liable for creating the public nuisance because the intentional

 and unreasonable and/or unlawful conduct of each Defendant was a substantial factor in producing

 the public nuisance and harm to Plaintiff.

        628.    A violation of any rule or law controlling the sale and/or distribution of a drug of

 abuse in Plaintiff’s community constitutes an absolute public nuisance. See e.g. R.C. § 4729.35

 (“The violation by a . . . person of any laws of Ohio or of the United States of America or of any

 rule of the board of pharmacy controlling the distribution of a drug of abuse . . . constitute[s] a

 public nuisance[.]”).

        629.    In the sale distribution, and dispensation of opioids in Ohio and Plaintiff’s

 community, Defendants violated federal law, including, but not limited to, 21 U.S.C.A. § 823 and

 21 C.F.R. § 1301.74, and Ohio law, including, but not limited to, R.C. § 4729.01(F), R.C. §§

 4729.51-4729.53, and O.A.C. §§ 4729-9-12, 4729-9-16, and 4729-9-28, and 4729-9-05(A).

        630.    Defendants’ unlawful nuisance-creating conduct includes violating federal and

 Ohio statutes and regulations, including the controlled substances laws, by

                a. Distributing, dispensing, dispensing, and selling opioids in ways that facilitated
                   and encouraged their flow into the illegal, secondary market;

                b. Distributing, dispensing, and selling without maintaining effective controls
                   against the diversion of opioids;

                c. Choosing not to effectively monitor for suspicious orders;

                d. Choosing not to investigate suspicious orders;

                e. Choosing not to report suspicious orders;

                f. Choosing not to stop or suspend shipments of suspicious orders;




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                  g. Distributing, dispensing, and selling opioids prescribed by “pill mills” when
                     Defendants knew or should have known the opioids were being prescribed by
                     “pill mills;”

                  h. Defendants’ intentional and unreasonable nuisance-creating conduct, for which
                     the gravity of the harm outweighs the utility of the conduct, includes:

                  i. Distributing, dispensing, and selling opioids in ways that facilitated and
                     encouraged their flow into the illegal, secondary market;

                  j. Distributing and dispensing, opioids without maintaining effective controls
                     against the diversion of opioids;

                  k. Choosing not to effectively monitor for suspicious orders;

                  l. Choosing not to investigate suspicious orders;

                  m. Choosing not to report suspicious orders;

                  n. Choosing not to stop or suspend shipments of suspicious orders; and

                  o. Distributing, dispensing, and selling opioids prescribed by “pill mills” when
                     Defendants knew or should have known the opioids were being prescribed by
                     “pill mills.”

           631.   Defendants intentionally and unreasonably distributed, dispensed, and sold opioids

 that Defendants knew would be diverted into the illegal, secondary market and would be obtained

 by persons with criminal purposes.

           632.   In the distribution, dispensation, and sale of opioids in Ohio and Plaintiff’s

 community, Defendants violated and/or aided and abetted violations of R.C. § 2925.02(A), which

 states:

                  “No person shall knowingly do any of the following:

                  (1) By force, threat, or deception, administer to another or induce
                  or cause another to use a controlled substance; . . . or

                  (3) By any means, administer or furnish to another or induce or
                  cause another to use a controlled substance, and thereby cause
                  serious physical harm to the other person, or cause the other person
                  to become drug dependent.”



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        633.      Defendants are in the business of distributing, and/or dispensing prescription drugs,

 including opioids, which are specifically known to Defendants to be dangerous because inter alia

 these drugs are defined under federal and state law as substances posing a high potential for abuse

 and addiction.

        634.      Indeed, opioids are akin to medical-grade heroin. Defendants’ wrongful conduct of

 deceptively marketing and pushing as many opioids onto the market as possible led directly to the

 public nuisance and harm to Plaintiff—exactly as would be expected when medical-grade heroin

 in the form of prescription opioids are deceptively marketed, flood the community, and are

 diverted into an illegal, secondary market.

        635.      Defendants had control over their conduct in Plaintiff’s community and that

 conduct has had an adverse effect on rights common to the general public. Defendants had control

 over their own shipments of opioids and over their reporting, or lack thereof, of suspicious

 prescribers and orders. Each of the Defendants controlled the systems they developed to prevent

 diversion, whether they filled orders they knew or should have known were likely to be diverted

 or fuel an illegal market.

        636.      It was reasonably foreseeable that Defendants’ actions and omissions would result

 in the public nuisance and harm to Plaintiff described herein.

        637.      Because of Defendants’ special positions within the closed system of opioid

 distribution, without Defendants’ actions, opioid use would not have become so widespread, and

 the enormous public health hazard of prescription opioid and heroin overuse, abuse, and addiction

 that now exists would have been averted.




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        638.    The public nuisance created by Defendants’ actions is substantial and unreasonable.

 It has caused and continues to cause significant harm to Plaintiff’s community and the harm

 inflicted outweighs any offsetting benefit.

        639.    The externalized risks associated with Defendants’ nuisance-creating conduct as

 described herein greatly exceed the internalized benefits.

        640.    As a direct and proximate result of Defendants’ tortious conduct and the public

 nuisance created by Defendants, Plaintiff has suffered and will continue to suffer economic

 damages including, but not limited to, significant expenses for police, emergency, health,

 prosecution, corrections, rehabilitation, and other services.

        641.    As a direct and proximate result of Defendants’ tortious conduct and the public

 nuisance created by Defendants, Plaintiff has suffered and will continue to suffer stigma damage,

 non-physical property damage, and damage to its proprietary interests.

        642.    The nuisance created by Defendants’ conduct is abatable.

        643.    Defendants’ misconduct alleged in this case is ongoing and persistent.

        644.    Defendants’ misconduct alleged in this case does not concern a discrete event or

 discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

 part of the normal and expected costs of a local government’s existence. Plaintiff alleges wrongful

 acts which are neither discrete nor of the sort a local government can reasonably expect.

        645.    Plaintiff has incurred expenditures for special programs over and above Plaintiff’s

 ordinary public services.

        646.    Plaintiff seeks to abate the nuisance created by the Defendants’ unreasonable,

 unlawful, intentional, ongoing, continuing, and persistent actions and omissions and unreasonable

 interference with rights common to the general public.



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         647.    Plaintiff has suffered, and will continue to suffer, unique harms as described in this

 Complaint, which are of a different kind and degree than Ohio citizens at large. These are harms

 that can only be suffered by Plaintiff.

         648.    Plaintiff is asserting their own rights and interests and Plaintiff’s claims are not

 based upon or derivative of the rights of others.

         649.    The tortious conduct of each Defendant was a substantial factor in creating the

 absolute public nuisance.

         650.    The tortious conduct of each Defendant was a substantial factor in producing harm

 to Plaintiff.

         651.    Plaintiff has suffered an indivisible injury as a result of the tortious conduct of

 Defendants.

         652.    Defendants acted with actual malice because Defendants acted with a conscious

 disregard for the rights and safety of other persons, and said actions had a great probability of

 causing substantial harm.

         653.    Plaintiff asserts this Cause of Action as a common law tort claim for absolute public

 nuisance and not as a "product liability claim" as defined in R.C. § 2307.71. In this Count, Plaintiff

 does not seek damages for death, physical injury to person, emotional distress, or physical damages

 to property, as defined under the Ohio Product Liability Act.

         654.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

 injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and all

 damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre and post-

 judgment interest.




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                                       PRAYER FOR RELIEF

          655.   Plaintiff respectfully requests that this Court enter an order of judgment granting

 all relief requested in this complaint, and/or allowed at law or in equity, including:

                 p. abatement of the nuisance;

                 q. equitable and injunctive relief in the form of Court-enforced corrective action;

                 r. attorneys’ fees;

                 s. costs and expenses of suit;

                 t. pre- and post-judgment interest; and

                 u. such other and further relief as this Court deems appropriate.

                                          JURY DEMAND

 Plaintiff requests a jury be seated to try all issues of fact and law presented herein.

                                                        By: /s/ Hunter Shkolnik

 Dated: May 15, 2020



                                                        PLEVIN, & GALLUCCI COMPANY,

 L.P.A.

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                                                                -and-

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 15th day of May, 2020, I electronically filed the

 foregoing as a Sealed Document with the Clerk of Court by using the CM/ECF System. The

 foregoing will be served on counsel of record subject to the applicable Protective and

 Confidentiality Orders. A redacted version of the foregoing will be filed in the CM/ECF system

 and will be served upon counsel of record.


                                                    By: /s/ Hunter J. Shkolnik




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